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                   Exhibit
                     2
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                                    CHICAGO
                                               SUITE 400
                                                           29 E MADISON ST.
                                                                              TRAVEL ZAP INC




                                                                                               CHICAGO
                                                                                                         835 W WEBSTER AVE

                                                                                                                             LISA BERENS

                                                                                                                                           PRODUCER#: 08 22 09 32K
                                    IL 60602




                                                                                               IL
                                                                                               60614




60548-58-54
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R8686
AUTOMATIC-RENEWAL
** REPRINT REQUEST **

CM057EP5
08




  ADDIMANFLT
     Case: 1:22-cv-00089 Document #: 1-2 Filed: 01/06/22 Page 4 of 157 PageID #:91




PRODUCER#: 08 22 09 32K

LISA BERENS

835 W WEBSTER AVE

CHICAGO                 IL   60614




                              TRAVEL ZAP INC
                              29 E MADISON ST.
                              SUITE 400
                              CHICAGO     IL 60602




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AUTOMATIC-RENEWAL
** REPRINT REQUEST **

CM057EP5
08




  ADDIMANFLT
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                ®
Dear Farmers        Customer,


Thank you for choosing Farmers for your Business Insurance needs.


In today's business environment, we understand that your business needs may change during the year. For
example, you may acquire new equipment, adjust your staffing, add a new location, create electronic ordering
and/or billing for your customers or begin offering new services.


These changes may require updated insurance coverage for your business.


Farmers and its agents want to help make you smarter about your insurance. To do that, we offer special services
at no additional cost to you to help you ensure your business has the coverage it needs.


For example:

                                                                     ®
   Your agent will be happy to schedule a Farmers Friendly Review        with you. During this review, your agent can
   talk to you about available insurance discounts,     potential coverage gaps, and new products that may be
   available to you. In addition, if there have been changes in your business since your last policy review, your
   premium may be eligible for additional pricing consideration.


   MysafetyPoint.com makes safety and loss control information available that may help you avoid workplace
   injuries and other losses.


   To access this information, log onto www.mysafetypoint.com, then register with your policy number and
   email address to find safety and loss control information that is specific to your type of business.


ENCLOSED YOU WILL FIND YOUR POLICY DOCUMENTS. PLEASE REVIEW YOUR COVERAGES TO ENSURE THEY
MEET YOUR NEEDS.


If you have any questions, please contact your Farmers agent.



Lisa Berens

Email: lberens@farmersagent.com

773-857-3500




25-9230, 2-18                                                                                             Page 1 of 1
25-9230ED3                                                                                                  A9230301
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Notice To Policyholders




Dear Farmers® Customer,



We are interested in providing you with the best insurance service possible. If you have any service
problems or complaints, please contact the Farmers agent shown on your policy. Your agent will be
happy to answer your questions. If, for any reason, you wish to contact one of our companies directly,
please write or call our Service Center:



Farmers Insurance Group of Companies
Commercial Lines Customer Service
PO Box 2248
Grand Rapids, MI 49501-2248
(877) 411-4249



Inquiries to the State Department of Insurance should be addressed as follows:


Illinois Department of Insurance
Customer Service Section
320 W. Washington St.
Springfield, IL 62767-0001




                                                                                             PAGE 1 of 1

25-5635 06-21                                                                                 A5635401
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                                                     Farmers Insurance Group of Companies
                                                     Privacy Notice

In the course of our business relationship with you, we collect information about you that is necessary to provide
you with our products and services. We treat this information as confidential and recognize the importance of
protecting it. We value your confidence in us.


You trust us with an important part of your financial life. We are proud of our privacy policies and procedures and
encourage you to review them carefully.


This notice from the member companies of the Farmers Insurance Group of Companies listed on the back of this
notice* describes our privacy practices regarding information about our customers and former customers that
obtain financial products or services from us for personal, family or household purposes.** When state law is
more protective of individuals than federal privacy law, we will protect information in accordance with state law
consistent with the requirements of federal preemption.


Information We Collect

We collect and maintain information about you to provide you with the coverage, product or service you request
and to service your account.


We collect certain information ("nonpublic personal information") about you and the members of your
household ("you") from the following sources:


       Information we receive on applications or other forms, such as social security number, assets, income and
       property information;

       Information about your transactions with us, our affiliates or others, such as your policy coverage,
       premiums and payment history;


       Information we receive from a consumer reporting agency or insurance support organization, such as
       motor vehicle records, credit report information and claims history; and

       If you obtain a life, long-term care or disability product, information we receive from you, medical
       professionals who have provided care to you and insurance support organizations regarding your health.


How we protect your information
At Farmers, our customers are our most valued assets. Protecting your privacy is important to us. We restrict
access to personal information about you to those individuals, such as our employees and agents, who provide
you with our products and services. We require those individuals to whom we permit access to your customer
information to protect it and keep it confidential. We maintain physical, electronic, and procedural safeguards
that comply with applicable regulatory standards to guard your nonpublic personal information.


We do not disclose any nonpublic personal information about you, as our customer or former customer, except
as described in this notice.


Information we disclose
We may disclose the nonpublic personal information we collect about you, as described above, to companies
that perform marketing services on our behalf or to other financial institutions with which we have joint
marketing agreements and to other third parties, all as permitted by law.

Many employers, benefit plans or plan sponsors restrict the information that can be shared about their
employees or members by companies that provide them with products or services. If you have a relationship
with Farmers or one of its affiliates as a result of products or services provided through an employer, benefit plan
or plan sponsor, we will abide by the privacy restrictions imposed by that organization.

We are permitted to disclose personal health information (1) to process your transaction with us, for instance, to
determine eligibility for coverage, to process claims or to prevent fraud; (2) with your written authorization, and
(3) otherwise as permitted by law.




25-9200 8-16                                                                                               Page 1 of 3

                                                                                                            A9200101
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Sharing information with affiliates

The Farmers family encompasses various affiliates that offer a variety of financial products and services in
addition to insurance. Sharing information enables our affiliates to offer you a more complete range of products
and services.


We may disclose nonpublic personal information, as described under Information we collect, to our affiliates,
which include:

       Financial service providers such       as insurance companies     and reciprocals, investment companies,
       underwriters and brokers/dealers; and

       Non-financial   service   providers,   such   as   management   companies,    attorneys-in-fact   and    billing
       companies.

We are permitted by law to share with our affiliates information about our transactions and experiences with
you.


In addition, we may share with our affiliates consumer report information, such as information from credit
reports and certain application information, that we have received from you and from third parties, such as
consumer reporting agencies and insurance support organizations.



Your choice

If it is your decision not to opt-out and to allow sharing of your information with our affiliates, you do not need to
respond to us in any way.


If you prefer that we not share consumer report information with our affiliates, except as otherwise permitted by
law, you may by calling toll free, 1-877-411-4249, (please have all of your policy numbers available). We will
implement your request within a reasonable time after hearing from you.



Modifications to our privacy policy

We reserve the right to change our privacy practices in the future, which may include sharing nonpublic
personal information about you with nonaffiliated third parties. Before we do that, we will provide you with a
revised privacy notice and give you the opportunity to opt-out of that type of information sharing.


Website

Our website privacy notices, such as the one located at http://www.farmers.com/disclaimer/privacy-policy
and http://cp.foremost.com/general/privacy-policy.htm, contain additional information particular to website
use. Please pay careful attention to those notices if you transmit personal information to Farmers over the
Internet.


Recipients of this notice

We are providing this notice to the named policyholder at the mailing address to which we send your policy
information. If there is more than one policyholder on a policy, only the named policyholder on that policy will
receive this notice, though any policyholder may request a copy of this notice. You may receive more than one
copy of this notice if you have more than one policy with Farmers. You also may receive notices from affiliates,
other than those listed below. Please read those notices carefully to determine your rights with respect to those
affiliates' privacy practices.




25-9200 8-16                                                                                                 Page 2 of 3

                                                                                                               A9200102
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Signed:

Farmers Insurance Exchange, Foremost Insurance Company Grand Rapids, Michigan**, Foremost Signature
Insurance Company**, Foremost Property and Casualty Insurance Company **, Fire Insurance Exchange, Truck
Insurance Exchange, Mid-Century Insurance Company, Farmers Insurance Company, Inc. (A Kansas Corp.);
Farmers Insurance Company of Arizona, Farmers Insurance Company of Idaho, Farmers Insurance Company of
Oregon, Farmers Insurance Company of Washington, Farmers Insurance of Columbus, Inc.; Farmers New
Century Insurance Company, Farmers Group, Inc.; Farmers Reinsurance Company, Farmers Services Insurance
Agency,    Farmers   Services   Corporation,   Farmers   Texas   County   Mutual   Insurance   Company,   Farmers
Underwriters Association, Farmers Value Added, Inc.; Farmers Financial Solutions, LLC member FINRA &
SIPC***; FFS Holding, LLC; Farmers Services, LLC; ZFUS Services, LLC;, FIG Holding Company, FIG Leasing Co.,
Inc.; Fire Underwriters Association, Illinois Farmers Insurance Company, Mid-Century Insurance Company of
Texas, Texas Farmers Insurance Company, Farmers New World Life Insurance Company, Truck Underwriters
Association, Civic Property and Casualty Company, Exact Property and Casualty Company and Neighborhood
Spirit Property and Casualty Company.


   *The above is a list of the affiliates on whose behalf this privacy notice is being provided. It is not a
    comprehensive list of all affiliates of the Farmers Insurance Group of Companies.


 * *This notice does not apply to personal insurance policies issued by Foremost Insurance Company Grand
    Rapids, Michigan, Foremost Signature Insurance Company and Foremost Property and Casualty Insurance
    Company, but only to commercial insurance policies issued by these companies for business purposes. If
    you have obtained an insurance policy from these companies for personal, family or household purposes,
    you should refer to the privacy notice that you received with that policy.


* * * You may obtain more information about the Securities Investor Protection Corporation (SIPC) including the
    SIPC brochure by contacting SIPC at (202) 371-8300 or via the internet at www.sipc.org. For information
    about FINRA and Broker Check you may call the FINRA Broker Check hotline at (800) 289-9999 or access the
    FINRA website




25-9200 8-16                                                                                              Page 3 of 3

                                                                                                          A9200103
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                            Notice to Policyholders Ô New Marijuana           Exclusion




As you review the enclosed renewal policy, you will notice that an endorsement entitled        Marijuana Exclusion
has been added to your policy contract.       Marijuana has historically been excluded from coverage due to its
classification as contraband. Due to changes in the legal status of marijuana and marijuana-related products at
the state level, this new endorsement clarifies that your policy does not provide coverage for loss, damage or
injury related to the ownership, sale or distribution of marijuana.

This notice is for informational purposes only; it is not a part of your insurance contract. It is not a substitute for
reviewing your policy and the endorsements included with your policy. Please take a moment to carefully review
your policy to better understand the terms and conditions of your coverage.

                                                                                                          ®
If you have any questions about this change to your insurance coverage, please contact your Farmers agent.




25-9319E D1     2-19                                                                                          Page 1 of 1

25-931 9                                                                                                        A93191 01
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Important Notice - Regarding Supplementary Payments Coverage


Dear Farmers Customer,




                                  ®
Thank you for choosing Farmers        for your insurance needs.      We appreciate your business and want to keep you

informed of an update relating to your policy.



Your commercial insurance policy now contains endorsement J7230-ED1 Supplementary Payments.



This   endorsement   provides   updated   policy   language   in   line   with   current   industry   standards   as   provided   by

Insurance Office Service (ISO) forms.   This change may result in a reduction of coverage on your policy with regard to

coverage for opposing party's attorney fees.



This notice is not a substitute for   reviewing your policy   and the endorsements included             with your policy.   Please

review your policy to better understand the terms and conditions of your coverage.



If you have questions, please contact your Farmers agent.




25-9342 12-18                                                                                                           Page 1 of 1

25-9342-ED1                                                                                                               A93421 01
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                                                                   Mid-Century Insurance Company (A Stock Company)

                                                                   Member Of The Farmers Insurance Group Of Companies

                                                                   Home Office: 6301 Owensmouth Ave., Woodland Hills, CA 91367




                                     COMMON POLICY DECLARATIONS

                                                                                                 F003873657-001-00001
Named          TRAVEL ZAP INC

Insured                                                                                            Account No.              Prod. Count


                                                                                                    22-09-32K               60548-58-54
               29 E MADISON ST.
Mailing
               SUITE 400                                                                           Agent No.                Policy Number
Address
               CHICAGO, IL 60602




                                                                                             Business Description:
Form of              Individual         Joint Venture         Limited Liability Co.
                                                                                             Travel Agencies
Business         X
                     Corporation        Partnership           Other Organization




                                  09-16-2019
Policy          From                                           (not prior to time applied for)

Period          To                09-16-2020                  12:01 A.M. Standard time at your mailing address shown above.




If this policy replaces other coverage that ends at noon standard time of the same day this policy begins, this policy will not take effect

until the other coverage ends. This policy will continue for successive policy periods as follows: If we elect to continue this

insurance, we will renew this policy if you pay the required renewal premium for each successive policy period subject to our

premiums, rules and forms then in effect.




This policy consists of the following coverage parts listed below and for which a premium is indicated. This premium may be subject to

change.



Coverage Parts                                                                        Premium After Discount And Modification

Businessowners                                                                          $623.00



 Employment Practices Liability                                                         $35.00


 Cyber Liability And Data Breach Expense Coverage                                       $130.00


 Certified Acts Of Terrorism - See Disclosure Endorsement                               Included




                                                                                        $788.00
                                   Total (See Additional Fee Information Below)




56-2406 1-17                                                                                                     C2406201   Page 1 of   3

56-2406-ED2
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 Policy Number: 60548-58-54                                                Effective Date: 09-16-2019




Forms Applicable To    25-9230ED3           Reminder-Review Your Coverages


All Coverage Parts:    56-5166ED5           Additional Policy Conditions

                       IL00030498           Calculation Of Premium End

                       IL00171198           Common Policy Conditions




   Your Agent
                       Lisa Berens

                       835 W Webster Ave

                       Chicago, IL 60614

                       (773) 857-3500




Countersigned (Date)                       By Authorized Representative




56-2406 1-17                                                                               C2406202   Page 2 of   3
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Policy Number: 60548-58-54                                                              Effective Date: 09-16-2019



Additional Fee Information


The following additional fees apply on an account, not a per-policy, basis.


  A service fee will be assessed on every installment invoice and will be included in the minimum amount due.

  However, if you choose to pay the entire account balance in full upon receipt of the first installment, the fee will be

  waived. In addition, for accounts fully enrolled in online billing and scheduled for recurring Electronic Funds Transfer

  (EFT) payments the fee will be waived.



                                        State                                                        Installment Fee


      All states except Alaska, Florida, Maryland, New Jersey And West Virginia                         $6.00


      Alaska and Maryland                                                                           Not applicable


      Florida                                                                                           $3.00



      New Jersey                                                                                        $7.00



      West Virginia                                                                                     $5.00




  A returned payment fee applies per check, electronic transaction or other remittance which is not honored by your

  financial institution for any reason including but not limited to insufficient funds or a closed account. NOTE: If the

  returned payment is in response to a Notice of Cancellation, coverage still cancels on the cancellation effective
  date set forth in the notice.




                                        State                                                           NSF Fee


      All States Except Alaska, Florida, Indiana, Maine, Nebraska, New Jersey,                          $30.00

      North Dakota, Oklahoma, Virginia And West Virginia


      North Dakota And Oklahoma                                                                         $25.00


      Nebraska And Indiana                                                                              $20.00



      Florida And West Virginia                                                                         $15.00


      Maine                                                                                             $10.00


      Alaska, New Jersey And Virginia                                                                Not applicable




  A late fee will be assessed on each Notice of Cancellation that is issued and will be included in the minimum amount

  due.



                                        State                                                           Late Fee

      All   States   Except   Alaska,   Florida,   Maryland,   Missouri,   Nebraska,   New              $20.00

      Jersey, Rhode Island, Virginia, South Carolina And West Virginia


      Nebraska, Rhode Island And South Carolina                                                         $10.00


      Alaska, Florida, Maryland, Missouri, New Jersey, Virginia And West Virginia                    Not applicable




The following applies on a per-policy basis.



  A reinstatement fee of $25.00 will be assessed if the policy is reinstated over 30 days but under 6 months from the

  cancellation date. This fee does not apply to Florida, Indiana & Maryland or to Workers Compensation policies.



One or more of the fees or charges described above may be deemed a part of premium under applicable state law.




56-2406 1-17                                                                                                       C2406203   Page 3 of   3
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Dear Valued Customer:



THIS POLICY DOES NOT PROVIDE WORKERS' COMPENSATION COVERAGE FOR JOB RELATED INJURIES TO YOUR EMPLOYEES.


State law may require such coverage.   Be sure you are in compliance with the state law.




FARMERS INSURANCE GROUP OF COMPANIES




25-2110   3-98                                                                                 A2110101   PAGE   1   OF   1
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                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                                            E2010
                                                                                                                                3rd Edition




                           CONDITIONAL EXCLUSION OF TERRORISM
            (RELATING TO DISPOSITION OF FEDERAL TERRORISM RISK INSURANCE ACT)


This endorsement modifies insurance provided under the following:


BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

BUSINESSOWNERS LIABILITY COVERAGE FORM


                                                               SCHEDULE



 The Exception Covering Certain Fire Losses (Paragraph B.2.) applies to property located in the following
 state(s):


              California                                                                  Oregon
              Illinois                                                                    Virginia
              Iowa                                                                        Washington
              Missouri                                                                    Wisconsin
              North Carolina




 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Coverage is amended as follows:


   1. Applicability Of The Provisions Of This Endorsement

       a. The provisions of this endorsement become applicable commencing on the date when any
            one or more of the following first occurs. But if your policy (meaning the policy period in
            which this endorsement applies) begins after such date, then the provisions of this
            endorsement become applicable on the date your policy begins.


            (1) The federal Terrorism Risk Insurance Program ("Program"), established by the
               Terrorism Risk Insurance Act, has terminated with respect to the type of insurance
               provided under this Coverage Form; or

            (2) A renewal, extension or replacement of the Program has become effective without a
               requirement to make terrorism coverage available to you and with revisions that:

               (a) Increase our statutory percentage deductible under the Program for terrorism
                   losses. (That deductible determines the amount of all certified terrorism losses we
                   must pay in a calendar year, before the federal government shares in subsequent
                   payment of certified terrorism losses.); or

               (b) Decrease        the    federal      government's           statutory       percentage          share in      potential
                   terrorism losses above such deductible; or

               (c) Redefine terrorism or make insurance coverage for terrorism subject to provisions
                   or requirements that differ from those that apply to other types of events or
                   occurrences under this policy.

       b. If the provisions of this endorsement become applicable, such provisions:

            (1) Supersede any terrorism endorsement already endorsed to this policy that addresses
               "certified acts of terrorism" and/or "other acts of terrorism", but only with respect to
               loss or injury or damage from an incident(s) of terrorism (however defined) that occurs
               on or after the date when the provisions of this endorsement become applicable; and




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            (2) Remain applicable unless we notify you of changes in these provisions, in response to
                  federal law.

       c. If   the    provisions        of   this   endorsement            do    NOT      become        applicable,       any   terrorism
            endorsement already endorsed to this policy, that addresses "certified acts of terrorism"
            and/or "other acts of terrorism", will continue in effect unless we notify you of changes to
            that endorsement in response to federal law.

   2. The following definition is added and applies under this endorsement wherever the term terrorism
       is enclosed in quotation marks.

       "Terrorism" means activities against persons, organizations or property of any nature:

       a. That involve the following or preparation for the following:

            (1) Use or threat of force or violence; or

            (2) Commission or threat of a dangerous act; or

            (3) Commission         or   threat      of   an    act    that    interferes       with     or   disrupts     an    electronic,
                  communication, information, or mechanical system; and

       b. When one or both of the following applies:

            (1) The effect is to intimidate or coerce a government or the civilian population or any segment
                  thereof, or to disrupt any segment of the economy; or

            (2) It appears that the intent is to intimidate or coerce a government, or to further political,
                  ideological, religious, social or economic objectives or to express (or express opposition to)
                  a philosophy or ideology.


B. The Businessowners Special Property Coverage Form is amended as follows:

   1. The following exclusion is added:

       EXCLUSION OF TERRORISM

       We will not pay for loss or damage caused directly or indirectly by "terrorism", including action in
       hindering or defending against an actual or expected incident of "terrorism". Such loss or damage
       is excluded regardless of any other cause or event that contributes concurrently or in any
       sequence to the loss. But this exclusion applies only when one or more of the following are
       attributed to an incident of "terrorism":


       a. The "terrorism" is carried out by means of the dispersal or application of radioactive material, or
            through the use of a nuclear weapon or device that involves or produces a nuclear reaction,
            nuclear radiation or radioactive contamination; or

       b. Radioactive material is released, and it appears that one purpose of the "terrorism" was to
            release such material; or

       c. The "terrorism" is carried out by means of the dispersal or application of pathogenic or
            poisonous biological or chemical materials; or

       d. Pathogenic or poisonous biological or chemical materials are released, and it appears that one
            purpose of the "terrorism" was to release such materials; or

       e. The total of insured damage to all types of property in the United States, its territories and
            possessions, Puerto Rico and Canada exceeds $25,000,000. In determining whether                                            the
            $25,000,000 threshold is exceeded, we will include all insured damage sustained by property of
            all persons and entities affected by the "terrorism" and business interruption losses sustained by
            owners or occupants of the damaged property. For the purpose of this provision, insured
            damage means damage that is covered by any insurance plus damage that would be covered by
            any    insurance but        for the application of any               terrorism exclusions. Multiple incidents of
            "terrorism" which occur within a 72-hour period and appear to be carried out in concert or to
            have a related purpose or common leadership will be deemed to be one incident, for the purpose
            of determining whether the threshold is exceeded.




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            With respect to this Item 1.e., the immediately preceding paragraph describes the threshold
            used to measure the magnitude of an incident of "terrorism" and the circumstances in which the
            threshold will apply, for the purpose of determining whether this Exclusion will apply to that
            incident. When the Exclusion applies to an incident of "terrorism", there is no coverage under
            this Coverage Form.


   2. Exception Covering Certain Fire Losses

       The following exception to the Exclusion Of Terrorism applies only if indicated and as indicated in
       the Schedule of this endorsement.


       If "terrorism" results in fire, we will pay for the loss or damage caused by that fire, subject to all
       applicable policy provisions including the Limit of Insurance on the affected property. Such
       coverage for fire applies only to direct loss or damage by fire to Covered Property. Therefore, for
       example, the coverage does not apply to insurance provided under Business Income and/or Extra
       Expense coverages or endorsements that apply to those coverages.


   3. Application Of Other Exclusions

      When the Exclusion Of Terrorism applies in accordance with the terms of Paragraph 1.a. or 1.b.,
      such exclusion applies without regard to the Nuclear Hazard Exclusion in this Coverage Form.


C. The Businessowners Liability Coverage Form is amended as follows:

   1. The following definition is added and applies under this endorsement wherever the phrase any
       injury or damage, is enclosed in quotation marks:


       "Any injury or damage" means any injury or damage covered under this Coverage Form or any
       applicable endorsement, and includes but is not limited to "bodily injury", "property damage" or
       "personal and advertising injury", as may be defined under this Coverage Form or any applicable
       endorsement.


   2. The following exclusion is added:


       EXCLUSION OF TERRORISM

       We will not pay for "any injury or damage" caused directly or indirectly by "terrorism", including
       action in hindering or defending against an actual or expected incident of "terrorism". "Any injury
       or damage" is excluded regardless of any other cause or event that contributes concurrently or in
       any sequence to such injury or damage. But this exclusion applies only when one or more of the
       following are attributed to an incident of "terrorism":


       a. The "terrorism" is carried out by means of the dispersal or application of radioactive material, or
            through the use of a nuclear weapon or device that involves or produces a nuclear reaction,
            nuclear radiation or radioactive contamination; or


       b. Radioactive material is released, and it appears that one purpose of the "terrorism" was to
            release such material; or


       c. The "terrorism" is carried out by means of the dispersal or application of pathogenic or
            poisonous biological or chemical materials; or


       d. Pathogenic or poisonous biological or chemical materials are released, and it appears that one
            purpose of the "terrorism" was to release such materials; or


       e. The total of insured damage to all types of property exceeds $25,000,000. In determining
            whether the $25,000,000 threshold is exceeded, we will include all insured damage sustained
            by property of all persons and entities affected by the "terrorism" and business interruption
            losses sustained by owners or occupants of the damaged property. For the purpose of this
            provision, insured damage means damage that is covered by any insurance plus damage that
            would be covered by any insurance but for the application of any terrorism exclusions; or




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       f. Fifty or more persons sustain death or serious physical injury. For the purposes of this provision,
            serious physical injury means:


            (1) Physical injury that involves a substantial risk of death; or

            (2) Protracted and obvious physical disfigurement; or

            (3) Protracted loss of or impairment of the function of a bodily member or organ.

       Multiple incidents of "terrorism" which occur within a 72-hour period and appear to be carried out
       in concert or to have a related purpose or common leadership will be deemed to be one incident,
       for the purpose of determining whether the thresholds in Paragraph 2.e. or 2.f. are exceeded.


       With respect to this Exclusion, Paragraphs 2.e. and 2.f. describe the threshold used to measure
       the magnitude of an incident of "terrorism" and the circumstances in which the threshold will
       apply, for the purpose of determining whether this Exclusion will apply to that incident. When the
       Exclusion applies to an incident of "terrorism", there is no coverage under this Coverage Form.


D. The following provision is added to the applicable Coverage Form:

   The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism
   exclusion, do not serve to create coverage for loss or injury or damage that is otherwise excluded
   under this Policy.




This endorsement is part of your policy. It supersedes and controls anything to the contrary. It is
otherwise subject to all the terms of the policy.



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E2010-ED3
   Case: 1:22-cv-00089 Document #: 1-2 Filed: 01/06/22 Page 20 of 157 PageID #:107
THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN RESPONSE TO THE DISCLOSURE
   REQUIREMENTS OF THE TERRORISM RISK INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY
            COVERAGE OR CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.




                                                                                                                         J6300
                                                                                                                             3rd Edition




                    DISCLOSURE PURSUANT TO TERRORISM RISK INSURANCE ACT


                                                            SCHEDULE



  SCHEDULE - PART I


 Terrorism Premium (Certified Acts) $                       23.00

 Additional information, if any, concerning the terrorism premium:




  SCHEDULE - PART II

  Federal share of terrorism losses        81      % Year: 20     19
  (Refer to Paragraph B. in this endorsement)




  Federal share of terrorism losses        80      % Year: 20     20
  (Refer to Paragraph B. in this endorsement)


 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.



A. Disclosure Of Premium
   In accordance with the federal Terrorism Risk Insurance Act, we are required to provide you with a
   notice disclosing the portion of your premium, if any, attributable to coverage for terrorist acts
   certified under the Terrorism Risk Insurance Act. The portion of your premium attributable to such
   coverage is shown in the Schedule of this endorsement or in the policy Declarations.


B. Disclosure Of Federal Participation In Payment Of Terrorism Losses

   The United States Government, Department of the Treasury, will pay a share of terrorism losses
   insured under the federal program. The federal share equals a percentage (as shown in Part II of the
   Schedule of this endorsement or in the policy Declarations) of that portion of the amount of such
   insured losses that exceeds the applicable insurer retention. However, if aggregate insured losses
   attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100 billion in a
   calendar year the Treasury shall not make any payment for any portion of the amount of such losses
   that exceeds $100 billion.


C. Cap On Insurer Participation In Payment Of Terrorism Losses

   If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance
   Act exceed $100 billion in a calendar year and we have met our insurer deductible under the
   Terrorism Risk Insurance Act, we shall not be liable for the payment of any portion of the amount of
   such losses that exceeds $100 billion, and in such case insured losses up to that amount are subject
   to pro rata allocation in accordance with procedures established by the Secretary of the Treasury.




93-6300 3RD EDITION   1-15   Includes Copyright Material of Insurance Services Office, Inc., with its permission   J6300301 PAGE 1 OF 1
J6300-ED3
  Case: 1:22-cv-00089 Document #: 1-2 Filed: 01/06/22 Page 21 of 157 PageID #:108
                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                                          J7110
                                                                                                                              1st Edition




                     EXCLUSION - ACCESS OR DISCLOSURE OF CONFIDENTIAL
                    OR PERSONAL INFORMATION AND DATA-RELATED LIABILITY


This endorsement modifies insurance provided under the following:


BUSINESSOWNERS COVERAGE FORM

BUSINESSOWNERS LIABILITY COVERAGE FORM
APARTMENT OWNERS LIABILITY COVERAGE FORM
CONDOMINIUM LIABILITY COVERAGE FORM




A. The following exclusion is added to Section B. Exclusions:

    Access Or Disclosure Of Confidential Or Personal Information And Data-Related Liability

    This insurance does not apply to damages, including but not limited to, "bodily injury" or "property
    damage" arising out of:

    1. Any access to or disclosure of any person's or organization's confidential or personal information,
        including patents, trade secrets, processing methods, customer lists, financial information,
        credit card information, health information or any other type of nonpublic information; or

    2. The loss of, loss of use of, damage to, corruption of, inability to access, or inability to manipulate
        electronic data.


    This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses,
    forensic expenses, public relations expenses or any other loss, cost or expense incurred by you or
    others arising out of that which is described in Paragraph 1. or 2. above.


    As used in this exclusion, electronic data means information, facts, recordings, images or computer
    programs stored as or on, created or used on, or transmitted to or from computer software,
    (including systems and applications software), on hard or floppy disks, CD-ROMs, tapes, drives, cells,
    data processing devices or any other repositories of computer software which are used with
    electronically controlled equipment. The term computer programs, referred to in the foregoing
    description of electronic data, means a set of related electronic instructions which direct the
    operations and functions of a computer or device connected to it, which enable the computer or
    device to receive, process, store, retrieve or send data.


B. The following is added to Paragraph B.1.p. Personal And Advertising Injury Exclusion of the
    Businessowners Coverage Form and Businessowners Liability Coverage form and to Paragraph
    B.1.q. Personal And Advertising Injury Exclusion of the Apartment Owners Liability Coverage
    Form and Condominium Liability Coverage Form:

        Personal And Advertising Injury

        This insurance does not apply to damages, including but not limited to, "personal and advertising
        injury" arising out of any access to or disclosure of any person's or organization's confidential or
        personal information, including patents, trade secrets, processing methods, customer lists,
        financial information, credit card information, health information or any other type of nonpublic
        information.

        This exclusion applies even if damages are claimed for notification costs, credit monitoring
        expenses, forensic expenses, public relations expenses or any other loss, cost or expense incurred
        by you or others arising out of any access to or disclosure of any person's or organization's
        confidential or personal information.


This endorsement is part of your policy. It supersedes and controls anything to the contrary. It is
otherwise subject to all the terms of the policy.



93-7110 1ST EDITION 8-15   Includes copyrighted material of Insurance Services Office, Inc., with its permission.   J7110101 PAGE 1 OF 1
J7110-ED1
        Case: 1:22-cv-00089 Document #: 1-2 Filed: 01/06/22 Page 22 of 157 PageID #:109
                                               Mid-Century Insurance Company (A Stock Company)
                                                                Member Of The Farmers Insurance Group Of Companies


                                                                Home Office: 6301 Owensmouth Ave., Woodland Hills, CA 91367




                    POLICY DECLARATIONS - SERVICE OR OFFICE
                                             PRIMARY POLICY
Named          TRAVEL ZAP INC
Insured


Mailing        29 E MADISON ST.
Address        SUITE 400
               CHICAGO, IL 60602




Policy Number 60548-58-54                                                                   Auditable




                             09-16-2019
Policy         From

Period         To
                             09-16-2020                     12:01 A.M. Standard time at your mailing address shown above.




In return for the payment of premium and subject to all the terms of this policy, we agree with you to provide insurance as stated in

this policy. We provide insurance only for those Coverages described and for which a specific limit of insurance is shown.




Your Agent
                    Lisa Berens

                    835 W Webster Ave
                    Chicago, IL 60614
                    (773) 857-3500




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                                                                                                                     Page    1 of   8
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  Policy Number: 60548-58-54                                                                               Effective Date:    09-16-2019


 PROPERTY, INLAND MARINE AND CRIME COVERAGES AND LIMITS                                                                       BUILDING


 The following coverages apply to the described building. Please refer to the Base Coverages And Extensions section
 for other coverages and extensions applying at the policy level and to the individual location (premises) section for
 coverages and limits specific to the location (premises).



 Option:               BV - Blanket Value (see Base Coverage & Extensions for the total limit)

 Valuation:            ACV - Actual Cash Value; AV - Agreed Value; RC - Replacement Cost;

                       ERC - Extended RC; FRC- Functional RC; GRC - Guaranteed RC

 Abbreviation:         ALS = Actual Loss Sustained; BI = Business Income; EE = Extra Expense


 Premises        Bldg.
 Number          No.     Covered Premises Address                              Mortgagee Name And Address


   001           001     29 E Madison St
                         Suite 400

                         Chicago, IL 60602




                                                                                                                          Deductible/

                               Coverage                                       Option Valuation    Limit Of Insurance      Waiting Period



  Business Personal Property (BPP)                                                         RC    $25,400                     $500




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                                                                                                                   Page   2 of   8
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  Policy Number: 60548-58-54                                                                            Effective Date:   09-16-2019


 PROPERTY, INLAND MARINE AND CRIME COVERAGES AND LIMITS CONTINUED                                                         PREMISES

 The following coverages apply to the described location (premises). Please refer to the Base Coverages And Extensions
 section for other coverages and extensions applying at the policy level and to the individual building section for
 coverages and limits specific to the building.

 Premises        Bldg.
 Number          No.      Covered Premises Address


     001            All   29 E Madison St Suite 400, Chicago, IL 60602




                          Coverage                                                 Limit Of Insurance              Deductible /
                                                                                                                   Waiting Period


 Accounts Receivables - On-Premises                                      $5,000                                    $500

 Debris Removal                                                          25% Of Loss + 10,000

 Personal Effects                                                        $2,500                                    $500

 Pollutant Clean Up And Removal Aggregate                                $10,000                                   $500

 Valuable Paper And Records - On-Premises                                $5,000                                    $500




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562407-E1B                                                                                                      Page   3 of   8
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 Policy Number: 60548-58-54                                                                    Effective Date:   09-16-2019


                      PROPERTY, INLAND MARINE AND CRIME COVERAGES AND LIMITS OF INSURANCE


 The following Coverages and Extensions apply to all covered locations (premises) and/or buildings. Please refer to the
 individual location (premises) and/or building section for coverages and limits specific to such location (premises)
 and/or building.


 Base Coverages And Extensions                                                Limit Of Insurance           Deductible/
                                                                                                           Waiting Period


 Accounts Receivables - Off-Premises                               $2,500                                 $500

 Arson Conviction Reward                                           $5,000                                 None

 Business Income & Extra Expense - Civil Authority                 3 Weeks                                72 Hours - BI

 Business Income (BI) & Extra Expense (EE)                         18 Months - ALS                        72 Hours

 BPP Seasonal Increase                                             25%

 Drone Aircraft - Direct Damage (per occurrence)                   $10,000                                $500

 Drone Aircraft - Direct Damage (per item)                         $2,500                                 $500

 Drone Aircraft - BI & EE                                          $10,000                                72 Hours

 Electronic Data Processing Equipment                              $10,000                                $500

 Electronic Data Processing Media And Records                      $2,500                                 $500

 Employee Dishonesty                                               $5,000                                 $5,000

 Extended Business Income                                          30 Days

 Fire Department Service Charge                                    $1,000                                 None

 Fire Extinguisher Systems Recharge Expense                        $2,500                                 None

 Forgery And Alteration                                            $2,500                                 $500

 Limited Cov. - Fungi Wet Rot Dry Rot & Bacteria - Aggregate       $15,000                                $500

 Money And Securities - Inside Premises                            $5,000                                 $5,000

 Money And Securities - Outside Premises                           $5,000                                 $5,000

 Money Orders And Counterfeit Paper Currency                       $1,000                                 $500

 Newly Acquired Or Constructed Building                            $250,000                               $500

 Outdoor Property                                                  $2,500                                 $500

 Outdoor Property - Trees, Shrubs & Plants (Per Item)              $500                                   $500

 Outdoor Signs                                                     $2,500                                 $500

 Personal Property At Newly Acquired Premises                      $100,000                               $500

 Personal Property Off Premises                                    $5,000                                 $500

 Premises Boundary                                                 100 Feet

 Preservation Of Property                                          30 days

 Valuable Paper And Records - Off-Premises                         $2,500                                 $500




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                                                                                                       Page   4 of   8
562407-E1C
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 Policy Number:      60548-58-54                                                                            Effective Date:     09-16-2019



                                               LIABILITY AND MEDICAL EXPENSES
                                             COVERAGE AND LIMITS OF INSURANCE


 Each paid claim for the following coverage reduces the amount of insurance we provide during the applicable policy
 period. Please refer to the policy.




 Premium Basis:       (A) Area; (C) Total Cost; (P) Payroll; (S) Sales/Receipts; (U) Each Unit

                      (M) Public Area Square Feet

                      (O) Other:



 Covered Premises And Operations



           Address                                 Classification /Exposure                Class   Prem. Annual                         Advance
                                                                                           Code    Basis   Exposure      Rate           Premium


29 E Madison St                       Travel Agencies                                      4724    Incl    Included   Included          Included
Suite 400
Chicago, IL 60602




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                                                                                                                      Page   5 of   8
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  Policy Number:     60548-58-54                                              Effective Date:      09-16-2019



 LIABILITY AND MEDICAL EXPENSES COVERAGE AND LIMITS OF INSURANCE CONTINUED



 Coverage                                                                                Amount /Date


  General Aggregate (Other Than Products & Completed Operations)                       $4,000,000
  Products And Completed Operations Aggregate                                          $2,000,000
  Personal And Advertising Injury                                                      Included
  Each Occurrence                                                                      $2,000,000
  Tenants Liability (Each Occurrence)                                                  $75,000
  Medical Expense (Each Person)                                                        $5,000
  Pollution Exclusion - Hostile Fire Exception                                         Included


  Per Location General Aggregate Limit                                                 Included




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562407-E1E                                                                           Page   6 of    8
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Policy Number:        60548-58-54                                                Effective Date:    09-16-2019

Policy Forms And Endorsements Attached At Inception



             Number                                                      Title


     25-2110                    Work Comp Exclusion

     25-5635                    Dear Valued Customer-Doi Address

     25-9200                    Farmers Privacy Notice

     56-6191                    Cyber Liability & Data Breach Dec

     562377-ED1                 EPLI Dec

     BP00021299                 Special Property Covg Form

     BP00060197                 Businessowners Liab Covg Form

     BP00090197                 Businessowners Common Policy Conditions

     BP04170196                 Employment-Related Practices Excl

     BP04340197                 Businessowners Computer Covg

     BP04550197                 Business Liab Covg-Tenants Liab

     BP05140103                 War Liability Exclusion

     E2010-ED3                  Conditional Exclusion Of Terrorism

     E2042-ED2                  Multiple Damages Excl

     E3342-ED2                  Pers And Advert Injury Cov

     E3451-ED1                  Retail Service Primary Pckg

     E4288-ED1                  Excl-Travel Agts & Related Op

     E6036-ED1                  Lead Poisoning & Contamination Excl

     E6289-ED1                  Business Income & Extra Expense-18 Mos

     J6300-ED3                  Discl Of Prem-Cert Acts Of Terror

     J6316-ED1                  Excl Of Loss Due To Virus Or Bact

     J6345-ED1                  Excl-Violation Of Statutes

     J6351-ED2                  Limited Terrorism Exclusion

     J6353-ED1                  Change To Limits Of Insurance

     J6577-ED1                  EPLI - Standard

     J6740-ED1                  Two Or More Coverage Forms

     J6828-ED1                  Ltd Covg For Fungi, Wet/Dry Rot

     J6847-ED1                  Limitation Of EPLI Covg

     J6849-ED2                  Deductible Provisions

     J7110-ED1                  Exclusion Confidential Info

     J7115-ED1                  Asbestos Exclusion

     J7122-ED1                  Loss Pay Cond-Proft Ovrhd Inc Fees

     J7136-ED1                  Pollution Excl-Expanded Except

     J7138-ED1                  Bus Inc And Extr Exp-Prt Slwdwn Cov

     J7157-ED1                  Damage To Property Excl-Revised

     J7182-ED1                  Drone Aircraft Coverage

     J7230-ED1                  Supplementary Payments

     S2269-ED1                  Marijuana Exclusion

     S2274-ED4                  Mold & Microorganism Excl

     S2294-ED3                  Illinois Amendatory Endorsement

     S2297-ED1                  Illinois Changes-Defense Costs


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Policy Number:        60548-58-54                                          Effective Date:    09-16-2019

Policy Forms And Endorsements Attached At Inception



             Number                                       Title


     W1228-ED2                  Illinois Changes




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                                                      DECLARATIONS
                 EMPLOYMENT PRACTICES INSURANCE COVERAGE - STANDARD


THIS IS A CLAIMS MADE AND REPORTED POLICY. SUBJECT TO ITS TERMS, THIS POLICY APPLIES ONLY TO ANY CLAIM
FIRST MADE AGAINST THE INSUREDS DURING THE POLICY PERIOD OR THE EXTENDED REPORTING PERIOD, IF
APPLICABLE, PROVIDED SUCH CLAIM IS REPORTED IN WRITING TO THE INSURER AS SOON AS PRACTICABLE.
WITHOUT NEGATING THE FOREGOING REQUIREMENTS, SUCH NOTICE OF CLAIM MUST ALSO BE REPORTED NO LATER
THAN 30 DAYS AFTER THE END OF THE POLICY PERIOD OR, IF APPLICABLE, THE EXTENDED REPORTING PERIOD.
AMOUNTS INCURRED AS DEFENSE COSTS SHALL REDUCE AND MAY EXHAUST THE LIMIT OF LIABILITY AND ARE
SUBJECT TO THE RETENTIONS. THE INSURER SHALL NOT BE LIABLE FOR ANY DEFENSE COSTS OR FOR ANY JUDGMENT
OR SETTLEMENT AFTER THE LIMIT OF LIABILITY HAS BEEN EXHAUSTED. PLEASE READ THIS POLICY CAREFULLY AND
DISCUSS THE COVERAGE WITH YOUR INSURANCE AGENT.


Policy Number:    60548-58-54
1.   Named Insured:      TRAVEL ZAP INC
           Individual       Partnership X      Corporation      Joint Venture   Other


2.   Policy Period:     09/16/19      to   09/16/20    at 12:01 A.M.
                                                       (Standard Time at Your address shown below).


3.   Address:   29 E MADISON ST.
                CHICAGO                     IL 60602




4.   Limit Of Liability: (Includes Cost Of Defense)


     (a)   Each Insured Event Limit                            $50,000
     (b) Aggregate Limit of Liability                          $50,000
5.   Self Insured Retention (Includes Cost Of Defense):


     Any One Insured Event                                     $2,500
6.   Prior Knowledge Date:      11/14/17
7.   Retroactive Date:     11/14/17
8.   Premium:                   $35.00
9.   Authorized Representatives:


            Farmers Insurance
            4450 Rosewood Drive
            Suite 400
            Pleasanton, CA 94588
            800-580-0115


10. Endorsements At Inception:
     Refer to Policy Declaration, Policy forms and Endorsements section
     for applicable Employment Practice Liability Insurance Coverage Form.




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                                                                                                       C2377101
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                                        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                                                             S2294
                                                                                                                                                    ILLINOIS

                                                                                                                                                 3rd Edition




                                                      ILLINOIS AMENDATORY ENDORSEMENT


This endorsement modifies insurance provided under the following:


EMPLOYMENT PRACTICES LIABILITY INSURANCE POLICY - STANDARD



1. The term spouse is replaced by the following:


   Spouse or party to a civil union recognized under Illinois law.


2. The first sentence of paragraph                   J. of Clause II. DEFINITIONS is deleted and replaced with the following:




   Loss means damages, judgments, settlements, we authorize or agree to, statutory attorney fees and Defense

   Costs.


3. The first            two    sentences      of   Clause    III. WHEN COVERAGE IS PROVIDED D. Extended Reporting

   Period are deleted and replaced with the following:

   If either you or we cancel or non-renew this Policy, you shall have the right to buy an Extended Reporting

   Period Endorsement providing an extended reporting period of up to twelve (12) months from the end of

   the Policy Period, or the effective                     date of cancellation, whichever        is earlier, in exchange        for your payment

   of an additional premium.


   The third paragraph                  of Clause III. WHEN COVERAGE IS PROVIDED D. Extended Reporting Period

   is deleted and replaced with the following:


4. However, if other insurance you buy covers you for any Claim or would cover you if its limits of coverage

   had not been                exhausted,      then the Extended         Reporting    Period     will apply to such         Claim only as excess

   coverage over such other insurance.


5. Clause V. WHO IS AN INSURED F. Mergers and Acquisitions is amended by deleting the phrase "nor

   for Loss covered under any other insurance" from the last sentence of the first paragraph thereof.

6. The second sentence of Clause VIII. CONDITIONS D. Other Insurance is deleted and replaced with the

   following:

   In connection with any other covered Claim, this Policy shall apply in excess of all indemnity rights of an

   Insured         and        shall   share    proportionately      with   any   other   valid   or   collectible    insurance,         based       on    the

   proportion            the    applicable         LIMIT    OF    LIABILITY      under   this    Policy   bears    to the    applicable          limits    of

   liability of all such other insurance.


7. The second             sentence       of Clause        VIII. CONDITIONS F. Cancellation is deleted                      and   replaced        with the

   following:

   If this policy has been in effect                      for sixty (60)   days or less, we may cancel         this policy       for    any reason by

   mailing written notice of cancellation                        to the last known mailing        address of      the Named Insured not less

   than thirty (30) days prior to the effective                     date of cancellation,       except for a cancellation         for non-payment

   of premium, in which case notice                         of cancellation   will be mailed      to the Named Insured at least ten (10)

   days prior to the effective date of cancellation.


   If     this policy          has    been    in effect    more   than   sixty (60)   days,   we may      cancel    this   policy      for   any of the

   following reasons:

   1. nonpayment of a premium;

   2. this policy was obtained through a material misrepresentation;

   3. any Insured violated any of the terms and conditions of this policy;

   4. the risk originally accepted has measurably increased;

   5. we certify to the Director of Insurance of the loss of reinsurance by us for all or a substantial part of the

          underlying risk insured; or




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    6. a determination                   is made by the Director of Insurance that the continuation of the policy could place us

          in violation of the insurance laws of Illinois.


     If we cancel this policy for the reason set forth in 1. above, we will mail a written notice of cancellation to

     the last known mailing address of the Named Insured at least ten (10)                                            days prior to the effective                 date of

     cancellation. If we cancel this policy for any of the reasons set forth in 2., 3., 4., 5., or 6. above, we will

     mail a written notice of cancellation to the last known mailing address of the Named Insured at least sixty

     (60)     days      prior       to    the   effective    date   of   cancellation.          Notice     of    cancellation      shall       also   be   sent to the

     producer of record, if applicable,                     provided that the producer of record is not our employee. The notice of

     cancellation shall include the specific                      reason for the cancellation.                 If the cancellation         is for a reason other

     than non-payment                    of premium,         the notice       shall advise       the Named Insured of the right to appeal the

     reasons for cancellation by mailing or delivering to the Director of Insurance, at least 20 days prior to the

     effective      date of         cancellation,        a written request for a hearing                  which     shall clearly state the basis for the

     appeal. We shall maintain                     proof of mailing of such notice on a recognized                           U.S. Post Office               form or a

     form acceptable to the U.S. Post Office or other commercial mail                                          delivery service.


 8. Paragraph           1.     of   Clause       VIII.    CONDITIONS              G.     Representations            is   deleted    and        replaced      with      the

     following:


     1. all statements in the Application and any attachments                                    as well as all other information                     provided      to us

           are true and complete;


 9. Paragraph           4.     of   Clause       VIII.    CONDITIONS              G.     Representations            is   deleted    and        replaced      with      the

     following:


     4. in the event that any statement or representation in the Application is untrue, this policy in its entirety

           shall be void at inception and of no effect whatsoever if:


           (a) the statement or representation shall have been made with the actual                                       intent to deceive; or

           (b) the statement               or representation        materially        affects    either   the acceptance           of the risk or the hazard

                assumed by us.


10. The first paragraph of Clause VIII. CONDITIONS H. When We Do Not Renew is deleted and replaced

     with the following.


     If we decide not to renew this policy, if we increase the renewal premium on this policy by thirty percent

     (30%) or more, or if we impose                          changes in the Self-Insured              Retention or coverage                that materially alter

     this policy, we shall mail written notice to the last known address of the Named Insured at least sixty (60)

     days before the end of the Policy Period. A copy of such notice shall be sent to the producer of record, if

     applicable,          provided          that   the producer          of   record    is   not our       employee.       A notice        of    nonrenewal shall

     provide a specific              explanation       of the reasons for nonrenewal. A notice of increase in premium                                       shall state

     the     specific        dollar       amount     of     the   premium.       If    the   policy       is    nonrenewed         for     a    reason     other than

     non-payment of premium, the notice shall advise the                                 Named Insured of the right to appeal the reasons for

     nonrenewal by mailing                      or delivering     to the Director of Insurance, at least 20 days prior to the effective

     date of nonrenewal, a                 written request for a hearing which shall clearly state the basis for the appeal.


     An assignment or transfer of the policy by us to an insurer in the same holding company system, or under

     common control and management with us, or as a result of a merger, acquisition or restructuring, is not a

     nonrenewal for purposes of this section; however, notice of an assignment or transfer shall be provided at

     least sixty (60) days prior to the renewal date, with a copy sent to the producer                                              of record, if applicable,

     provided that the              producer of record is not our employee.


11. Clause VIII. CONDITIONS K. False Or Fraudulent Claims is deleted and replaced with the following:




     If any Insured shall proffer                   any Claim knowing the same to be false or fraudulent as regards amount or

     otherwise, there will be no coverage for such                            Claim under this Policy.



This endorsement                is part of your policy. It supersedes and controls anything to the contrary. It is otherwise

subject to all the terms of the policy.




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                                                                                                               J6577
                                                                                                                   1st Edition




                                    EMPLOYMENT PRACTICES LIABILITY INSURANCE - STANDARD




THIS IS A CLAIMS MADE AND REPORTED POLICY. AMOUNTS INCURRED AS DEFENSE COST SHALL REDUCE AND MAY

EXHAUST THE LIMIT OF LIABILITY AND ARE SUBJECT TO THE RETENTIONS. THE INSURER SHALL NOT BE LIABLE FOR

ANY DEFENSE COST OR FOR ANY JUDGEMENT OR SETTLEMENT AFTER THE LIMIT OF LIABILITY HAS BEEN EXHAUSTED.


The consideration for our issuing this policy is the payment of Premium; in issuing the policy, we have relied

upon all statements made to us in the Application and any attachments and all other information provided to us.




Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations.


Under this policy the words "we", "us" and "our" refer to the Underwriters providing this insurance.


The word "Insured" means any person or organization qualifying as such under WHO IS INSURED.



READ THIS POLICY CAREFULLY TO DETERMINE THE EXTENT OF COVERAGE. IMPORTANT: THIS IS A CLAIMS FIRST

MADE AND REPORTED POLICY WHICH INCLUDES COSTS OF DEFENSE WITHIN THE LIMIT OF LIABILITY.



I. COVERAGE: WHAT IS COVERED



    A. We will pay Loss amounts that an Insured is legally obligated to pay on account of a Claim because of an

            Insured Event to which this policy applies. However, the amount we will pay is limited as described in the

            LIMIT OF LIABILITY and SELF INSURED RETENTION sections of this policy.



    B. This policy applies only if:


               (1) A Claim is first made against an Insured in accordance with WHEN COVERAGE IS PROVIDED;


               (2) The Claim is reported in accordance with WHEN COVERAGE IS PROVIDED and CONDITIONS section

                       VIII.A. Duties in the event of a Claim;


               (3) A Claim is first made against an Insured in accordance with WHERE COVERAGE IS PROVIDED; and


               (4) A Claim is first made against an Insured based upon an Insured Event that first occurred after the

                       Retroactive Date set forth in the Declarations.


    C. Defense. We have the right and duty to defend any Claim for an Insured Event made or brought against any

            Insured to which this policy applies. We have the right to choose counsel to defend a Claim that we are

            covering. We have no duty to provide other services or take other actions. Our duty to defend any Claim

            ends when the LIMIT OF LIABILITY that applies has been exhausted, and in such event, the Named Insured

            shall, upon notice from us, promptly take over control of the defense.


            We have the right to investigate and to settle any Claim for an Insured Event in the manner and to the extent

            that we believe is proper, contingent upon the consent of the Named Insured as defined in this policy. This

            includes the right to agree to post a notice of compliance, provided such notice does not contain an

            admission of liability.


            You may take over control of any outstanding Claim previously reported to us only if we both agree that you

            should, if required under law or if a court orders you to do so.



            If your LIMIT OF LIABILITY is exhausted, we will notify you of all outstanding Claims so that you can take over

            control of their defense. We will help to transfer control to you.




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    D. During the transfer of control. We agree to take whatever steps are necessary to continued the defense of any

         outstanding Claim and avoid a default judgment during the transfer of control to you. If we do so, you agree

         to pay reasonable expenses that we incur for taking such steps after the             LIMIT OF LIABILITY is exhausted.




    E. Duty to pay. We have the duty to pay any Loss (after you pay the applicable self-insured retention) that

         results from any Claim for an Insured Event made or brought against any Insured to which this policy applies.

         Our duty to pay ends when the applicable LIMIT OF LIABILITY has been exhausted. We will not pay more

         than the applicable LIMIT OF LIABILITY .

         We have the duty to pay Defense Costs incurred (after you pay the applicable self-insured retention) for the

         defense of any Claim that is controlled by us. Any payment of Defense Costs is included in the LIMIT OF

         LIABILITY, it is not in addition to the    LIMIT OF LIABILITY.


    F. Recommended Settlements. As respects any Claim for which we recommend that a settlement offer be accepted

         but you do not give your consent to such settlement, and the Claim later results in a judgment or settlement

         in excess of the recommended settlement, our liability for Loss on account of such Claim shall not exceed the

         recommended         settlement    amount    plus   Defense   Costs   incurred   as   of   the   date   we   recommended         the

         settlement. This provision shall not apply unless the total Loss, including the recommended settlement,

         would exceed the applicable Retention amount.


II. DEFINITIONS


    A. Application means each and every signed Application, any attachments to such Applications, other materials

         submitted therewith and incorporated therein and any other such documents submitted in connection with

         the underwriting of this policy or the underwriting of any other employment practices liability policy issued

         by us, or any of our affiliates, of which this policy is a renewal, replacement or which succeed it in time.




    B. Claim(s) means a written complaint or written charge made against an Insured or a written demand made

         against an Insured in which damages are alleged or where specific charges of Discrimination, Harassment,

         Inappropriate Employment Conduct are brought.


         Claim includes a civil action, suit or administrative proceeding, to which any Insured must submit or to

         which any Insured submits with our consent.


         But Claim shall not mean any labor or grievance arbitration subject to a collective bargaining agreement; or

         any complaint, writ or other proceeding in which an Insured is alleged to have committed or engaged in a

         criminal offense or violation of a federal, state of local penal law.


    C. Defense Costs means those reasonable and necessary expenses that result from the investigation, settlement

         or defense of a specific Claim including attorney fees and expenses, the cost of legal proceedings, the cost of

         appeal bonds, the cost of bonds to release property being used to secure a legal obligation (but only for

         bond amounts within the          LIMIT OF LIABILITY that applies). We have no obligation to furnish any bonds.




         The following are not Defense Costs: costs incurred by any Insured before notice is provided to us; salaries

         and expenses of your employees, including in-house and/or coverage attorneys, salaries and expenses of our

         employees, or our in-house or coverage attorneys or the fees and expenses of independent adjusters we hire.




    D. Discrimination means termination of the employment relationship, a demotion, a failure or refusal to hire or

         promote, denial of an employment benefit or the taking of any adverse or differential employment action

         because of race, color, religion, age, sex, disability, pregnancy, sexual orientation, national origin, or any

         other basis prohibited by federal, state or local law occurring on or after the Retroactive Date as shown in

         the Declarations.




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         This policy covers retaliation claims based on unlawful discrimination occurring on or after the Retroactive

         Date as shown on the Declarations Page, except as excluded in EXCLUSIONS: WHAT IS NOT COVERED section

         IX.


    E. Employee means an individual whose labor or service is engaged by and directed by the Named Insured, or

         any covered entity. This includes volunteers, part time, seasonal and temporary Employees as well as any

         individual employed in a supervisory, managerial or confidential position. Independent contractors and sub

         contractors are not Employees unless they are dedicated agents or representatives of an Insured. Employees

         who are leased to another employer are not                   Employees.


    F. Harassment means unwelcome sexual or non-sexual advances, requests for sexual or non-sexual favors or

         other verbal, visual or physical conduct of a sexual or non-sexual nature, where such harassment occurs on

         or after the Retroactive Date as shown in the Declarations and is based on a factor or category prohibited by

         law (including sex, race, age, national origin, disability, etc.), that (1) explicitly or implicitly are made a

         condition            of   employment,     (2)   are   used   as   a    basis   for   employment   decisions,     or    (3)   create   a    work

         environment that interferes with performance.


    G. Inappropriate Employment Conduct means any of the following occurring on or after the Retroactive Date as

         shown in the Declarations:


         1. actual or constructive termination of an employment relationship in a manner which is alleged to have

             been against the law or wrongful or in breach of an implied employment contract or breach of the

             covenant of good faith and fair dealing in the employment contract;

         2. allegations of wrongful demotion, or wrongful discipline;

         3. allegations of misrepresentation made by an Employee, a former Employee or an applicant for employment

             which arise from an           Insured's employment decision to hire, fire, promote or demote;

         4. allegations of infliction of emotional distress, mental injury, mental anguish, shock, sickness, disease or

             disability made by an Employee, a former Employee or an applicant for employment which arise from an

             Insured's employment decision to hire, fire, promote or demote;


         5. allegations of false imprisonment, detention or malicious prosecution made by an Employee, a former

             Employee or an applicant for employment which arise from the Insured's an employment decision to hire,

             fire, promote or demote;

         6. allegations of libel, slander, defamation of character or any invasion of right of privacy made by an

             Employee, a former Employee or an applicant for employment which arise from an Insured's employment

             decision to hire, fire, promote or demote; or

         7. other            personal   injury   allegations   made        by   an   Employee,    a   former   Employee    or    an    applicant       for

             employment which arise from an                Insured's employment decision to hire, fire, promote or demote.


         Inappropriate Employment Conduct shall not include any allegations other than those set forth above.


    H. Insured Event means actual or alleged acts of Discrimination, Harassment, and/or Inappropriate Employment

         Conduct, by an Insured against an Employee or former Employee or applicant for employment with an Insured

         entity occurring on or after the Retroactive Date as shown in the Declarations. Insured Event shall not

         include Claims for actual or alleged violation of any federal, state or local wage and hour laws or regulations.




    I.   Laundry List Notification means any attempt by an Insured to report multiple matters under this policy in a

         summary fashion that does not comply with CONDITIONS section VIII. A. or B. By way of example, a Laundry

         List Notification may consist of a report by an Insured that lists purported potential claimants, either in the

         absence of a Claim, or in the absence of an oral complaint.

    J.   Loss means damages, judgments (including prejudgment and post judgment interest awarded against an

         Insured on that part of any judgment paid by us), settlements, we authorize or agree to, statutory attorney

         fees and Defense Costs .




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              However, Loss does not include anything specifically excluded in EXCLUSIONS: WHAT IS NOT COVERED

              section IX, or any of the following:


                 1. salary or wages of the        Insured;

                 2. non-monetary relief (this provision does not apply to Defense Costs where non-monetary relief is

                       sought for alleged Harassment, Discrimination, Inappropriate Employment Conduct ;


                 3. payment of insurance plan benefits by or on behalf of retired Employees, or that to which a claimant

                       would have been entitled as an Employee had any Insured provided the claimant with a continuation

                       of insurance;

                 4. liquidated damages where there is a finding of wilfulness;


                 5. costs incurred by an Insured to modify or adapt any building or property in order to make such

                       building or property more accessible or accommodating to any disabled person; costs associated with

                       eliminating non-essential duties from the job description of a disabled person; costs associated with

                       providing a disabled person with reasonable workplace accommodations; and costs associated with

                       lost productivity by an employer as the result of making a reasonable workplace accommodation for a

                       disabled person;

                 6. matters which may be deemed uninsurable according to the law under which this policy is construed;




                 7. amounts owed under federal, state or local wage and hour laws;

                 8. amounts owed under a contract of employment;

                 9. commissions, bonuses, profit sharing or benefits pursuant to a contract of employment, including

                       but not limited to vacation, holiday, and/or sick pay;

               10. severance payments or obligations to make payments;

               11. amounts       that are      sought or     deemed    to   be   owed    under   partnership,     stock or other      ownership

                       agreements;

               12. fines, penalties and taxes; or

               13. punitive or exemplary damages.


          K. One         Insured Event    means    (1)   one   or   more    covered    allegations   of   Discrimination,   Harassment     and/or

              Inappropriate Employment Conduct which are related by an unbroken chain of events or (2) class action or

              multiple claimant or multiple plaintiff suits arising out of related               Insured Events .


          L. Subsidiary       means      any   organization     more   than      50%    owned    by   the   Named     Insured    listed    in   the

              Application.


    III. WHEN COVERAGE IS PROVIDED


          A. This policy applies only to Claims arising out of an Insured Event first made or brought during the Policy

              Period and which are reported to us in accordance with the policy's notice provisions as set forth in

              CONDITIONS section VIII. A. Duties in the Event of a Claim. Claims are considered to be first made when it is

              first served or received by the        Insured.

          B. All Claims because of One Insured Event will be considered to have been made or brought on the date that

              the first of those       Claims was first made or brought.

          C. Limited Reporting Period: means the thirty (30) day period after the policy ends, during which Claims

              because of Insured Events which happen or commence during the Policy Period and are reported in

              accordance with section          I. and VIII. of the policy can be made.


          D. Extended Reporting Period. If you cancel this Policy or this Policy is non-renewed, you shall have the

              right to buy an Extended Reporting Period Endorsement providing an extended reporting period of up

              to twelve (12) months from the end of the Policy Period, or the effective date of cancellation, whichever

              is earlier, in exchange for your payment of an additional premium. You do not have this right, however,

              if we cancel for non payment of premium.




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              The Extended Reporting Period Endorsement will not be issued unless we receive a written request for

              it within thirty (30) days after this policy is cancelled or non-renewed, nor will it take effect unless the

              additional Premium is paid within thirty (30) days after this policy is cancelled or non-renewed. Once

              that Premium is paid the endorsement may not be cancelled and the additional Premium will be fully

              earned.

              The additional premium for a 12 month Extended Reporting Period will be one hundred percent

              (100%) of the premium charged for the last Policy Period.


              However, the Extended Reporting Period will not apply to any Claim if other insurance you buy covers

              you or would cover you if its limits of coverage had not been exhausted.


              Coverage under the Extended Reporting Period is with respect to Claims first made against an Insured

              during the Policy Period or Extended Reporting Period and first reported by an Insured during the

              Extended Reporting Period, provided always that Claims reported during the Extended Reported Period

              are limited to Insured Events which happen or commence before the original Policy Period ends by either

              cancellation or non-renewal and which are otherwise covered by this policy.


              The LIMIT OF LIABILITY that applies at the end of the Policy Period is not renewed or increased and the

              Limits, as shown in the Declarations, shall not be increased in any way by the Limited Reporting Period

              or the addition of the Extended Reporting Period.


          E. If, during the Policy Period, any of the following changes occur:


              1. the acquisition of an Insured, or of all or substantially all of its assets, by another entity, or the merger

                      or consolidation of an Insured into or with another entity such that the Insured is not the surviving

                      entity; or

              2. the obtaining by any person, entity or affiliated group of persons or entities of the right to elect,

                      appoint or designate over fifty percent (50%) of the directors of an                  Insured.


              coverage under this policy with respect to such Insured will continue in full force and effect with respect

              to Claims for Insured Events committed before such change, but coverage with respect to such Insured will

              cease with respect to Claims for Insured Events committed after such change.                           After any such change, this

              policy         may not     be cancelled,      regardless of CONDITIONS            section   VIII.F. Cancellation, and     the entire

              Premium for the policy will be deemed fully earned.


    IV. WHERE COVERAGE IS PROVIDED


          This policy covers Claims made and Insured Events occurring anywhere in the United States of America or its

          territories.


     V. WHO IS INSURED


          A. Individual. If you are shown in the Declarations as an individual, you and your spouse are Insureds but

              only for the conduct of a business of which you are the sole owner.

          B. Corporation.          If   you   are   shown    in   the   Declarations   as   a    corporation    or   organization   other    than      a

              partnership or joint venture, you are an Insured. Your stockholders are also Insureds, but only with

              respect to their liability as your stockholders.

          C. Partnership or Joint Venture. If you are shown in the Declarations as a partnership or joint venture, you

              are an Insured. Your partners or co-venturers and their spouses are also Insureds, but only for the conduct

              of your business.

              However, no person nor organization is covered for the conduct of any current or past partnership or

              joint venture not named in the Declarations.


          D. Other. If you are a Limited Liability Corporation (LLC), or a Limited Liability Partnership ('LLP') of the

              Named Insured and you are shown in the Declarations as 'Other' you are an Insured. Your members,

              partners and shareholders are also             Insureds but only with respect to the conduct of your business.




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          E. Employees. Your Employees, executive          officers, directors and your trustees are    Insureds only for the

              conduct of your business within the scope of their employment. Your Employee's status as an Insured will

              be determined as of the date of the Discrimination, Harassment, Inappropriate Employment Conduct, which

              caused an Insured Event .


          F. Mergers and Acquisitions. Any organization that you newly acquire, form or merge with while this policy

              is in effect that has less than 10% of the total number of your Employees as of the inception date of this

              policy shall be an Insured at the time of such acquisition, merger or formation if you own at least fifty

              one percent (51%) of it. Within thirty (30) days prior to the expiration of the policy, the Insured shall

              give us written notice as to all such organizations. If you acquire, form or merge with any organization

              that has more than 10% of the total number of your Employees as of the inception date of this policy,

              such organization is also an Insured if you own at least fifty one (51%) of it; provided, however, no such

              organization is     covered for more than forty five       (45) days or the remainder of the      Policy Period,

              whichever is less, from the date acquired, merged or formed unless we agree to cover such acquisition or

              newly formed organization within such forty five (45) day period in consideration of an additional

              Premium to be determined by us. Notwithstanding the foregoing, any acquired or formed organization

              is neither covered for    Loss that results from an   Insured Event that happened or first commenced before the

              Insured acquired or formed it; nor for     Loss covered under any other insurance.




              This provision does not apply to a partnership or joint venture. Nor does it apply to any organization

              once it is shown in the Declarations of this policy.


          G. Subsidiary. Any organization more than 50% owned by the Named Insured and listed in the Application

              shall be an    Insured.


    VI. LIMIT OF LIABILITY


          A. The amount shown at Item 4 (a) in the Declarations as the "Each Insured Event Limit" is the most we

              will pay for Claims first made or brought during the Policy Period for Loss that results from any One

              Insured Event regardless of the number of      Claims.

          B. The amount shown at Item 4 (b) in the Declarations as the "Aggregate Limit of Liability" is the most we

              will pay for the combined total of all Claims first made or brought during the Policy Period for Loss that

              result from all   Insured Events .


          If this Policy Period is extended, the Limits, as shown in the Declarations shall not in any way increase. For

          purposes of the LIMIT OF LIABILITY, any policy extension is considered to be part of and not in addition to

          the former Policy Period.


   VII. SELF INSURED RETENTION


          Our obligation to pay under this policy applies only to covered amounts in excess of any Self Insured

          Retention amount that the insured must pay, as shown in the Declarations, and the LIMIT OF LIABILITY will

          not be reduced by the amount of such Self Insured Retention.


          The Self Insured Retention amount will apply separately to each Claim made, however, it will only apply

          once to all Claims arising out of any One Insured Event regardless of the number of claimants who allege

          damages.

          If, prior to terminating or demoting an Employee the Insured consults with and follows the advice of a labor

          law attorney approved by our Authorized Representatives, as shown in Item 9 of the Declarations, then the

          Insured's Self Insured Retention is reduced by 50% in the event the Insured faces a Claim involving such

          termination or demotion.


  VIII. CONDITIONS


          We have no duty to provide coverage under this policy unless there has been full compliance with all the

          conditions contained in this policy.




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          A. Duties in the event of a Claim


              1. You must see to it that we or our Authorized Representatives, as shown in the Declarations, are

                      notified as soon as practicable but in no event more than thirty days (30) after any Insured who is a

                      principal,    partner,     officer,   director,    trustee,   in house    counsel,    Employee(s)      within   the    HR       Risk

                      Management          department        or   Employee(s)     with   personnel    and    risk   management      responsibilities,

                      becomes aware that a        Claim has been made. Your notification should include:


                      (a) the identity of the person(s) alleging           Discrimination, Harassment, Inappropriate Employment Conduct ;




                      (b) the     identity   of    any      Insured(s)     who      allegedly   committed      the    Discrimination,     Harassment,

                             Inappropriate Employment Conduct ;


                      (c) the identity of any witnesses to the alleged Discrimination, Harassment, Inappropriate Employment

                             Conduct; and


                      (d) the date(s) an     Insured Event took place.


              2. You and any other             Insured must:


                      (a) immediately send us or our Authorized Representatives, as shown in the Declarations, copies of

                             any demands, notices, summonses or legal papers received in connection with the                      Claim:

                      (b) authorize     us   or    our    Authorized      Representatives,      as   shown    in   the    Declarations,      to    obtain

                             statements, records and other information;

                      (c) co-operate      with    us or     our Authorized       Representatives, as       shown     in   the Declarations,       in    the

                             investigation or defense of the       Claim; and

                      (d) assist us or our Authorized Representatives, as shown in the Declarations, in the enforcement of

                             any right against any person or organization which may be liable to an Insured because of Loss to

                             which this policy may also apply.


              3. No Insured will, except at their own cost, voluntarily make a payment, assume any obligation, or incur

                      any expense without our consent. Subsequent payments                           that are deemed by us         as having been

                      prejudiced by any such voluntary payment will also be the sole responsibility of the                      Insured.


          B. Report of a Potential Claim


              Solely at an Insured's option, an Insured may within the Policy Period report an oral complaint by an

              Employee,          former     Employee or       applicant    for   employment      alleging    Discrimination,   Harassment         and/or

              Inappropriate Employment Conduct. If such report is received by us or our Authorized Representatives, as

              shown in the Declarations, within the Policy Period then any Claim subsequently arising from such oral

              complaint will be deemed to be made on the date such report was received. Such report must include the

              identity of the person(s) making the oral complaint. In no event, however, is an Insured entitled to

              coverage under this policy based on a Laundry List Notification.


          C. Legal Action Against Us


              1. No person or organization has the right under this policy:


                      (a) to join us as a party or otherwise bring us into a suit asking for damages from an                     Insured; or

                      (b) to sue us on this policy unless all of its terms have been fully complied with.


              2. A person or organization may sue us to recover on an agreed settlement or on final judgment against

                      an Insured obtained after an actual trial, but we will not be liable for damages that are not payable

                      under the terms of this policy or that are in excess of the applicable LIMIT OF LIABILITY. An agreed

                      settlement means a settlement and release of liability signed by us, an Insured and the claimant's legal

                      representative.




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          D. Other Insurance


               This policy shall be deemed primary insurance in connection with covered Claims by Employees against

               an Insured because of an Insured Event. In connection with any other covered Claim, this Policy shall

               apply in excess of all indemnity rights of an Insured and in excess of any other valid or collectible

               insurance available to any Insured. Nothing herein is intended to make this policy subject to the terms,

               conditions and limitations of any other insurance, and nothing herein is intended to limit our or any

               Insured's right to contribution or indemnity from any other party, insurer or indemnitor.




          E. Premium


               The Premium shown in the Declarations is for the Policy Period shown in the Declarations.


          F. Cancellation


               You may only cancel this policy by mailing to us written notice stating when, not less than thirty (30)

               days thereafter such cancellation shall be effective. We may cancel this policy for any reason, including

               non-payment of Premium, by mailing to the Named Insured at the address shown in the Declarations,

               written notice stating when, not less than ten (10) days thereafter, such cancellation shall be effective.

               The mailing of notice as aforesaid shall be sufficient proof of notice. The effective date and hour of

               cancellation as stated in the notice shall become the end of the Policy Period. Delivery of such written

               notice shall be equivalent to mailing.


               If this policy is cancelled, we will send the first Named Insured any unearned premium refund due. If

               we      cancel,   the   refund   will   be   pro   rata.   Refund   Premium   adjustments   may   be   made   at    the    time

               cancellation becomes effective, but payment or tender of unearned Premium is not a condition of

               cancellation.

               If you cancel, the refund may be less than pro rata. The cancellation will be effective even if we have not

               made or offered a refund. However, Premium shall be deemed fully earned if any Claim under this policy

               is reported to us on or before the date of cancellation.


          G. Representations


               By accepting this policy you agree:

               1. all statements in the Application and any attachments as well as all other information provided to us

                      are true and complete and shall be deemed material to the acceptance of the risk or the hazard

                      assumed by us under this policy;

               2. those statements are based upon representations you made to us;

               3. we have issued this policy in reliance upon your representations;

               4. in the event that any statement or representation in the Application is untrue, this Policy in its entirety

                      shall be void at inception and of no effect whatsoever; and

               5. to disclose any material facts you become aware of between the time that the Application for this policy

                      is signed and the policy inception date.


               The truth of any statement or representation in the Application shall be determined without regard to

               whether any Insured knew the Application contained such untrue statement or representation.


          H. When We Do Not Renew


               If we decide not to renew this policy, we will mail or deliver to the Named Insured shown in the

               Declarations, written notice of the non-renewal not less than sixty (60) days before the expiration date.




               If notice is mailed, proof of mailing will be sufficient notice of non-renewal.


          I.   Transfer Of Rights Of Recovery Against Others to Us


               If any Insured has rights to recover all or part of any payments we have made under this policy, those

               rights are transferred to us; the Insured must do nothing after a Loss to impair them. At our request, any

               Insured will bring suit or transfer those rights to us and help us to enforce them.




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          J. Bankruptcy

              Bankruptcy or insolvency of any Insured or of an Insured's estate will not relieve us of our obligations

              under this policy, except as excluded in             EXCLUSIONS: WHAT IS NOT COVERED          section IX.


          K. False Or Fraudulent Claims


              If any Insured shall proffer any Claim knowing the same to be false or fraudulent as regards amount or

              otherwise, this policy will become void in its entirety and all coverage hereunder shall be forfeited.


    IX. EXCLUSIONS: WHAT IS NOT COVERED


          A. Workers' Compensation/ERISA/FLSA/NRLA/WARN/COBRA/OSHA. This policy does not cover any Loss

              arising        out of any     Claim alleging     violation of   any:   i)   worker's compensation,    disability     benefits       or

              unemployment compensation law, social security and other employment benefits law; ii) the Employee

              Retirement Income Security Act of 1974 Public Law 93-406; iii) the Fair Labor Standards Act (except

              the Equal Pay Act); (iv) the National Labor Relations Act; (v) the Worker Adjustment and Retraining

              Notification         Act;    (vi)   the   Consolidated   Omnibus       Budget    Reconciliation    Act     of   1985;    (vii)    the

              Occupational Safety and Health Act; (viii) any other federal, state or local statute or law similar to any

              statute or law described in (i) through (vii) of this exclusion; provided, however, this exclusion shall not

              apply to any Claim for any actual or alleged retaliatory treatment of the claimant on account of the

              claimant's exercise of rights pursuant to such statute, law, rule or regulation.




          B. Contractual Liability. This policy does not cover any Loss based upon, arising out of, directly or indirectly

              in connection with, related to, or in any way involving any Claim any Insured is obligated to pay by

              reason of the assumption of another's liability for an Insured Event in a contract or agreement. This

              exclusion will not apply to liability for damages because of an Insured Event that any Insured would have

              without the contract or agreement.

          C. Consequential Loss. This policy does not cover any Loss resulting from or attributable to any allegations

              made by or solely for the benefit of a claimant's domestic partner, spouse, child, parent, brother or sister.




          D. Wage and Hour Law. This policy does not cover any Loss arising out of a claim based upon, arising out of,

              directly or indirectly in connection with, related to or in any way alleging violation of any state or local

              wage and hour law, however, in the event such Claim also alleges an Insured Event otherwise covered by

              this       policy, notwithstanding the provisions of section I.D.               Defense, and subject       to all other      terms,

              conditions and exclusion contained in this policy, we agree to pay loss solely for that portion of the

              claim involving such           Insured Event .


          E. Stock Options. This policy does not cover any Loss resulting from or attributable to stock options,

              including, without limitation, 1) the failure to grant stock options and/or 2) amounts attributable to

              unvested stock options which options did not vest because of the actual or alleged wrongful termination

              of an Employee.

          F. Fraud and Collusion. This policy does not cover any Loss based upon, arising out of, directly or indirectly

              in connection with, related to, or in any way involving any Claim alleging fraud, collusion, dishonest,

              criminal or malicious acts by or at the direction of an Insured. Without limiting the foregoing, we will

              pay Defense Costs incurred relating to allegations of fraud, collusion, dishonest, criminal or malicious

              acts to defend an innocent Insured named in such Claim so long as such Claim also contains allegations

              against that innocent          Insured involving an Insured Event otherwise covered by this policy.




          G. Prior Knowledge. This policy does not cover any Loss arising out of Insured Events of which any Insured

              who is a principal, partner, officer, director, trustee, in-house counsel, Employee(s) within the HR or

              Risk Management department or Employee(s) with personnel and risk management responsibilities was

              aware          by actual    knowledge     of the   facts or   circumstances of    such   Insured   Event   prior   to the      Prior

              Knowledge Date, as shown in the Declarations.




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          H. Prior Notice. This policy does not cover any Loss arising out of Insured Events that have been the subject

               of any notice given under any other policy prior to the inception date of this policy.


          I.   Punitive Damages. This endorsement does not cover any Loss arising out of any fines, penalties, punitive

               damages,       exemplary      damages   or    any   additional    damages     resulting    from      the   multiplication          of

               compensatory damages (referred to herein collectively as "Punitive Damages"), except that if a suit is

               brought       against   the   Named   Insured   on   a   Claim   falling   within   the   coverage    hereof,    seeking       both

               compensatory and Punitive Damages, then we will afford a defense to such action, without liability,

               however, for such Punitive Damages; provided further, that our obligation to provide such defense for

               Punitive      Damages     shall   terminate   when    the   Claim   for    compensatory     damages        in   such   action       is

               terminated or paid through judgment or settlement and, in no event, shall we afford a defense for

               Punitive Damages after the Limit of Liability for compensatory damages has been paid.


          J. Retroactive Date. This policy does not cover any Loss arising out of any Insured Events that first occurred

               on or before the Retroactive Date as set forth in the Declarations. For the purposes of this exclusion,

               related Insured Events are excluded if the first related Insured Event took place or is alleged to have taken

               place prior to the Retroactive Date.




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                                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



POLICY NUMBER:                     60548-58-54

                                                                                                                                                        J  6847
                                                                                                                                                            1st Edition




                                           LIMITATION OF EMPLOYMENT PRACTICES LIABILITY

                                                                             COVERAGE



This endorsement modifies insurance provided under the following:


EMPLOYMENT PRACTICES LIABILITY INSURANCE - STANDARD

EMPLOYMENT PRACTICES LIABILITY INSURANCE - PREFERRED



                                                                           SCHEDULE


  Description And Location Of Premises:


  LOC 00001 SUB LOC 001
  29 E MADISON ST
  CHICAGO IL 60602
  Annual Aggregate Limit                                                                 $             50,000

A. The following               are added   to Section IX. EXCLUSIONS: WHAT IS NOT COVERED, with respect to

    Employment Practices Liability Coverage:


    This insurance does not apply to any                      Insured Event or Third Party Insured Event arising out of:


    1. The ownership, maintenance, management, use, or any other operations of any premises not described

            in the Schedule above; or


    2. The ownership, maintenance, management or use of any premises or operations insured under a policy

            number other than the one listed above                          and on the Declarations                       for Employment        Practices Liability

            Insurance coverage.



B. The following is added to Section                    VIII. CONDITIONS and supersedes any provision to the contrary:


    L. Two Or More Coverage Forms


            If   this    Employment        Practices      Liability         Insurance           and      any      other       Employment       Practices    Liability

            Insurance coverage form or policy issued by us or any company affiliated                                                 with us provide coverage to

            anyone who qualifies as an Insured under the policies and apply to the same Insured Event or Third

            Party Insured Event, the aggregate                     maximum             Limit of Insurance                   under all the Coverage         Forms        or

            policies      shall   not exceed    the     highest        applicable          Limit       of    Insurance           under   one   Coverage     Form        or

            policy.
C. The annual aggregate maximum Limit of Insurance shown on the Schedule above is the most we will pay

    for all Insured Events or Third Party Insured Events, regardless of the number of Insureds, claims made

    or persons making              claims during the Policy Period.




93-6847   1ST EDITION   1-12                 Includes Copyrighted Material of Insurance Services Office, Inc. with its permission.                  J6847101   Page 1   of 1


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                                                       Mid-Century Insurance Company (A Stock Company)
                                                       Member Of The Farmers Insurance Group Of Companies
                                                                                                         ®


                                                       Home Office: 6301 Owensmouth Ave., Woodland Hills, CA 91367




                                    DECLARATIONS
                CYBER LIABILITY AND DATA BREACH RESPONSE COVERAGE
THIS COVERAGE INCLUDES CLAIMS MADE AND REPORTED COVERAGES. SUBJECT TO ITS TERMS, THIS
COVERAGE FORM'S CLAIMS MADE COVERAGES APPLY ONLY TO ANY CLAIM FIRST MADE AGAINST THE
INSURED DURING THE POLICY PERIOD OR THE OPTIONAL EXTENDED REPORTING PERIOD, IF APPLICABLE,
PROVIDED SUCH CLAIM IS REPORTED IN WRITING TO THE COMPANY AS SOON AS PRACTICABLE.
WITHOUT NEGATING          THE FOREGOING REQUIREMENTS, SUCH                NOTICE OF CLAIM MUST ALSO                BE
REPORTED NO LATER THAN 30 DAYS AFTER THE END OF THE POLICY PERIOD OR, IF APPLICABLE, DURING
THE OPTIONAL EXTENDED REPORTING PERIOD. AMOUNTS INCURRED AS CLAIMS EXPENSES, WHICH
INCLUDES DEFENSE COSTS, SHALL REDUCE AND MAY EXHAUST THE LIMIT OF LIABILITY AND ARE SUBJECT
TO THE RETENTIONS. THE COMPANY SHALL NOT BE LIABLE FOR ANY CLAIMS EXPENSES OR FOR ANY
JUDGMENT OR SETTLEMENT AFTER THE LIMIT OF LIABILITY HAS BEEN EXHAUSTED. PLEASE READ THE
COVERAGE FORM CAREFULLY AND DISCUSS THE COVERAGE WITH YOUR INSURANCE AGENT.


Named       TRAVEL ZAP INC                                           Policy Number     60548-58-54

Insured




Mailing     29 E MADISON ST.

Address     SUITE 400
           CHICAGO, IL 60602




          From:    09-16-2019
Policy
Period    To:     09-16-2020      12:01 A.M. Standard time at your mailing address shown above.



Retroactive Date: 09/16/2014


Continuity Date:     11/14/2017




Optional Extension Period:

Length of optional extension period:


If no time period is stated, optional extension period coverage is not provided.




Cyber Extortion Hot Line:       1-800-435-7764




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                                                                                                            C6191101
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Policy Number:    60548-58-54                                                           Effective Date: 09-16-2019


                                                                                               Retention/Waiting
                    Coverage                                          Limit Of Insurance
                                                                                                         Period

Aggregate Limit of Liability                                          $100,000


Insuring Agreement A - Information Security & Privacy Liability       $100,000                 $2,500


Insuring Agreement B - Privacy Breach Response Services               $100,000/                $2,500/


                                                                      10,000 Notified          100 Notified

                                                                      Individuals               Individuals




Insuring Agreement C - Regulatory Defense & Penalties                 $50,000                  $2,500



Insuring Agreement D - Website Media Content Liability                $100,000                 $2,500



Insuring Agreement E - PCI Fines, Expenses And Costs                  $20,000                  $2,500


Insuring Agreement F - Cyber Extortion                                $50,000                  $2,500


Insuring Agreement G - First Party Data Protection                    $50,000                   $2,500


Insuring Agreement H - First Party Network Business Interruption                               $2,500
                                                                      $50,000
Income Loss/Extra Expense

Waiting Period                                                                                 12 hours



Policy Forms And Endorsements Attached At Inception


     Number                                                   Title

  J7155-ED1        Cyber Liability Coverage Form

  W1234-ED1        Cyber Liab - IL Amendatory Endor




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                                                                                                              C6191102
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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                         w1234
                                                                                                             1st Edition




                                    ILLINOIS AMENDATORY ENDORSEMENT

This endorsement modifies insurance provided under the:


CYBER LIABILITY AND DATA BREACH RESPONSE COVERAGE FORM


A. Section I. INSURING AGREEMENTS is amended to delete Paragraph C. Regulatory Defense and
   Penalties and replace it with the following:

   C.     Regulatory Defense and Penalties

          We shall pay "claims expenses" on behalf of the "insured" in excess of the retention, which the
          "insured" shall become legally obligated to pay because of any "claim" in the form of a
          "regulatory proceeding", caused by an incident described in Paragraphs 1., 2., and 3. of Section
          I. INSURING AGREEMENTS, A. Information Security And Privacy Liability that first takes place
          on or after the "retroactive date" and before the end of the "policy period". We shall also pay on
          behalf of the insured for "penalties" that do not result from willful, intentional or criminal acts
          committed by an "insured", as permissible under Illinois law.


B. Section IV. EXCLUSIONS is amended to add the following:

   Q.     Any "claim" brought under Section I. INSURING AGREEMENTS, E. PCI Fines, Expenses and
          Costs arising out of or resulting from a willful, intentional or criminal act committed by an
          "insured".

C. The following paragraphs are added to SECTION II. DEFENSE AND SETTLEMENTS OF CLAIMS:

   D.     If we initially defend an "insured" or pay for an "insured's" defense but later determine that the
          "claim(s)" is (are) not covered under this insurance, we will have the right to reimbursement for
          the defense costs "claims expenses" we have incurred.

   E.     The right to reimbursement for the "claims expenses" under this provision will only apply to
          "claims expenses" we have incurred after we notify you in writing that there may not be
          coverage, and that we are reserving our rights to terminate the defense and seek reimbursement
          for "claims expenses".


D. Section VII. EXTENSION PERIODS is amended as follows:

   1.     The first sentence of Paragraph A. Automatic Extension Period is deleted and replaced with the
          following:

          We will provide a 14 day "automatic extension period" in the event of termination of this
          Coverage Form for any reason.

   2.     The first sentence of Paragraph B.1. Optional Extension Period is deleted and replaced with the
          following:

          In the event of the termination of this Coverage Form for any reason, you have the right to
          purchase an endorsement providing an "optional extension period" of 12 or 24 months for
          "claims" first made against any "insured" and reported to us during the "optional extension
          period".

   3.     The first sentence of Paragraph B.4. Optional Extension Period does not apply.


E. Section IX. OTHER INSURANCE is deleted and replaced with the following:

   IX. OTHER INSURANCE

          The insurance under this Coverage Form shall apply on a primary basis with any other valid and
          collectible   insurance   available   to   any   "insured",   including   any   self-insured   retention    or
          deductible portion thereof if such other insurance is written only as specific excess insurance over
          the Aggregate Limit of Liability or any other applicable Limit of Liability of this Coverage Form.
          Otherwise, we will pay our share of covered "claims". Our share is the proportion that the
          applicable Limit of Insurance bears to the Limits of Insurance of all insurance providing coverage
          on the same basis.


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F. Section XI. DEFINITIONS is amended to delete the last paragraph of Definition A.7. and replace it
   with the following:

   "Claims expenses" do not include any salary, overhead, or other charges by the "insured" for any
   time spent in cooperating in the defense and investigation of any "claim" or circumstance that might
   lead to a "claim" notified under this Coverage Form, costs to comply with any regulatory orders,
   settlements or judgments, or any of the Company's routine ongoing expenses, such as salaries for its
   personnel or staff attorneys.


G. Section XVI. CANCELLATION is amended as follows:

   1. Paragraph B. is deleted and replaced with the following:

          B. This policy may be canceled by us or on our behalf:

             1. Ten (10) days after the mailing to the last mailing address of the "named insured" known to
                us written notice of cancellation for nonpayment of premium;

             2. 30 days after the mailing to the last mailing address of the "named insured" known to us
                written notice of cancellation for any other reason provided the policy has been in effect for
                less than 60 days; or

             3. 60 days after the mailing to the last mailing address of the "named insured" known to us
                written notice of cancellation, however, such written notice shall contain an explanation of
                the reason for cancellation and such reason must be one of the following:

                a. The policy was obtained through a material misrepresentation;

                b. The "named insured" violated any of the terms and conditions of the policy;

                c. The original risk has measurably increased;

                d. The Company has certified to the Illinois Director of Insurance that the Company has lost
                   reinsurance which provided coverage for a substantial part of the underlying risk
                   assumed; or

                e. The Illinois Director of Insurance has determined that the continuation of the policy could
                   place us in violation of the insurance laws of Illinois.


                The time of surrender or the effective date and hour of cancellation stated in the notice shall
                become the end of the "Policy Period".


H. The unnumbered paragraphs in Section XVII. NONRENEWAL are deleted and replaced with the
   following:

   A. In the event we intend not to renew this policy upon expiration of the "Policy Period", we shall mail
          written notice of nonrenewal to the "named insured" at the last mailing address known to us at least
          60 days prior to the expiration of the "Policy Period". Such nonrenewal notice shall contain an
          explanation of the reason(s) for nonrenewal.

   B. Proof of mailing of any such notice of cancellation or nonrenewal will be maintained by us on a
          recognized U.S Post Office form or a form acceptable to the U.S. Post Office or other commercial
          mail delivery service. A copy of any notice of cancellation or nonrenewal mailed to the "named
          "insured" by us shall also be mailed to the "named insured's" agent of record at the address last
          known to us.




This endorsement is part of your policy. It supersedes and controls anything to the contrary. It is
otherwise subject to all the terms of the policy.




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                                                                                                J71551st Edition




                    CYBER LIABILITY AND DATA BREACH RESPONSE COVERAGE FORM


THIS COVERAGE FORM INCLUDES CLAIMS MADE AND REPORTED COVERAGES. SUBJECT TO ITS
TERMS, THIS COVERAGE FORM'S CLAIMS MADE COVERAGES APPLY ONLY TO ANY CLAIM FIRST
MADE AGAINST THE INSURED DURING THE POLICY PERIOD OR THE OPTIONAL EXTENDED
REPORTING PERIOD, IF APPLICABLE, PROVIDED SUCH CLAIM IS REPORTED IN WRITING TO THE
COMPANY DURING THE POLICY PERIOD OR THE OPTIONAL EXTENDED REPORTING PERIOD, IF
APPLICABLE. AMOUNTS INCURRED AS CLAIMS EXPENSES, WHICH INCLUDES DEFENSE COSTS,
SHALL      REDUCE    AND    MAY   EXHAUST     THE   LIMIT   OF     LIABILITY   AND   ARE SUBJECT      TO   THE
RETENTIONS. THE COMPANY SHALL NOT BE LIABLE FOR ANY CLAIMS EXPENSES OR FOR ANY
JUDGMENT OR SETTLEMENT AFTER THE LIMIT OF LIABILITY HAS BEEN EXHAUSTED. READ THIS
COVERAGE FORM CAREFULLY TO DETERMINE THE EXTENT OF COVERAGE.


Except as specifically set forth herein, the provisions of the policy to which this coverage form is attached
shall not apply to this Coverage Form. Throughout this Coverage Form, the words "you" and "your" refer
to the "named insured(s)" shown in the Declarations of this Coverage Form and any other person(s) or
organization(s) qualifying as a "named insured" under this Coverage Form. The words "we", "us", and
"our" refer to the company providing this insurance.

Any words or phrases that appear in "quotations" have special meaning applicable to this Coverage
Form only. Refer to Section XI. DEFINITIONS.


Paragraphs A., C., D., and E. of Section I. INSURING AGREEMENTS provide coverage on a claims made
and reported basis and apply only to "claims" first made against the "insured" and reported to us during
the policy period, the "automatic extension period", or the "optional extension period" (if applicable)


Paragraphs B., F., G., and H. of Section I. INSURING AGREEMENTS provide first party coverage on an
incident discovered and reported basis and apply only to incidents first discovered and reported to us
during the policy period.


The Company agrees with the "Named Insured":

I. INSURING AGREEMENTS

  A. Information Security And Privacy Liability

      We shall pay on behalf of the "insured", "damages" and "claims expenses", in excess of the
      retention, which the "insured" shall become legally obligated to pay because of any "claim",

      including a "claim" for violation of a "privacy law", for:

      1.   Theft, loss, or "unauthorized disclosure" of "personally identifiable information" or "third
           party information" that is in the care, custody or control of the "insured organization", or a
           third party for whose theft, loss or "unauthorized disclosure" of "personally identifiable
           information" or "third party information" the "insured organization" is legally liable;


      2.   One or more of the following acts or incidents that directly result from a failure of "computer
           security" to prevent a "security breach":


           a. The alteration, corruption, destruction, deletion, or damage to data stored on "computer
              systems";


           b. The failure to prevent transmission of malicious code from "computer systems" to
              computer or network systems that are not owned, operated or controlled by an "insured";
              or

           c. The participation by the "insured organization's" "computer system" in a denial of service
              attack directed against computer or network systems that are not owned, operated or
              controlled by an "insured";




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      3.   The "insured organization's" failure to timely disclose an incident described in paragraphs
           A.1. or A.2. in violation of any "breach notice law";


      4.   Failure by the "insured" to comply with that part of a "privacy policy" that specifically:


           a. Prohibits or restricts the "insured organization's" disclosure, sharing or selling of a
              person's "personally identifiable information";


           b. Requires   the   "insured   organization"   to     provide   access   to   "personally   identifiable
              information" or to correct incomplete or inaccurate "personally identifiable information"
              after a request is made by a person; or


           c. Mandates procedures and requirements to prevent the loss of "personally identifiable
              information";


           Provided the "insured organization" must, at the time of such acts, errors or omissions have in
           force a "privacy policy" that addresses subsections 4.a. - 4.c. above that are relevant to such
           "claim"; or


      5.   Failure by the "insured" to administer:

           a. An identity theft prevention program required by regulations and guidelines promulgated
              pursuant to 15 U.S.C. §1681m(e), as amended; or


           b. An information disposal program required by regulations and guidelines promulgated
              pursuant to 15 U.S.C §1681W, as amended.


      All acts, incidents, failures to timely disclose, failures to comply, thefts, losses, errors or omissions
      described in Section I. INSURING AGREEMENTS, A. Information Security And Privacy Liability
      must first take place on or after the "retroactive date" and before the end of the "policy period" to
      be eligible for coverage under Section I. INSURING AGREEMENTS, A. Information Security And
      Privacy Liability.


  B. Privacy Breach Response Services

      We shall provide to the "insured organization" "privacy breach response services" in excess of the
      retention because of an incident described in Paragraphs 1. and 2. of Section I. INSURING
      AGREEMENTS, A. Information Security And Privacy Liability.

      "Privacy breach response services" means:

      1.   "Computer expert services";

      2.   "Legal services";

      3.   "Public relations and crisis management expenses";

      4.   "Notification services" to provide notification to:


           a. Individuals residing in the United States who are required to be notified by the "insured
              organization" under the applicable "breach notice law". However, we may also provide
              "notification services" to individuals, who at our discretion, have been affected by an
              incident in which their "personally identifiable information" has been subject to theft, loss,
              or "unauthorized disclosure" in a manner which compromises the security or privacy of
              such individual by posing a significant risk of financial, reputational or other harm to the
              individual.


           b. For incidents involving more than 100 "notified individuals" "Privacy Breach Response"
              Services also means:


              (1)   "Call center services" to "notified individuals"; and




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              (2)   To be covered, such offer must be provided in a mailed notification provided pursuant
                    to Insuring Agreement I.B.4. above. However, if the Insured uses an attorney and
                    other    service providers recommended            by the   Company      for all "Privacy Breach
                    Response Services", then the threshold of 100 "notified individuals" set forth above
                    shall not apply to the "call center services", but the self-insured retention shall
                    continue to apply as set forth in the Declarations.


      5.   "Call center services"; and

      6.   "Breach resolution and mitigation services".


      "Privacy breach response services" also includes assistance from the breach response services
      team and access to education and loss control information at no charge.


      "Privacy breach response services" will be provided subject to the terms and conditions of this
      Coverage Form and shall not include any internal salary or overhead expenses of the "insured
      organization".


  C. Regulatory Defense And Penalties


      We shall pay on behalf of the "insured", "claims expenses" and "penalties" in excess of the
      retention, which the "insured" shall become legally obligated to pay because of any "claim" in the
      form of a "regulatory proceeding", caused by an incident described in Paragraphs 1., 2., and 3. of
      Section I. INSURING AGREEMENTS, A. Information Security And Privacy Liability that first
      takes place on or after the "retroactive date" and before the end of the "policy period".


  D. Website Media Content Liability

      We shall pay on behalf of the "insured", "damages" and "claims expenses", in excess of the
      retention, which the "insured" becomes legally obligated to pay for one or more of the following
      acts first committed on or after the "retroactive date" and before the end of the "policy period" in
      the course of the "insured organization's" display of "media material" on its web site or on social
      media web pages created and maintained by or on behalf of the "insured organization":


      1.   Invasion   or    interference   with   an   individual's   right   of   publicity,   including   commercial
           appropriation of name, persona, voice or likeness;


      2.   Misappropriation of ideas under implied contract;


      3.   Plagiarism and piracy;


      4.   Infringement of copyright;

      5.   Infringement of domain name, trademark, trade name, logo, title, metatags, or service mark,
           or service name; or


      6.   Improper deep-linking or framing within electronic content.



  E. PCI Fines, Expenses And Costs

      We shall indemnify the "insured" for "PCI Fines, Expenses, and Costs", in excess of the retention,
      which the "insured" shall become legally obligated to pay on or after the "retroactive date" and
      before the end of the "policy period". Coverage under Section I. INSURING AGREEMENTS, E. PCI
      Fines, Expenses And Costs is sublimited to the amount set forth in the Declarations. We have no
      duty to defend any "claim" or to pay any "claims expenses" associated with a "claim" brought
      under Section I. INSURING AGREEMENTS, E. PCI Fines, Expenses And Costs.




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  F. Cyber Extortion


      We shall reimburse the "insured" for "cyber extortion loss", in excess of the retention, which the
      "insured" pays as a direct result of an "extortion threat" first made against the "insured" on or after
      the "retroactive date" and before the end of the "policy period" by a person, other than the
      "insured's" employees, directors, officers, principals, trustees, governors, managers, members,
      management committee members, members of the management board, partners, contractors,
      outsourcers, or any person in collusion with any of the foregoing. Coverage under this Insuring
      Agreement is subject to the applicable conditions and reporting requirements, including those set
      forth in Section XV. OBLIGATIONS IN THE EVENT OF AN EXTORTION THREAT.


  G. First Party Data Protection

      We shall indemnify the "insured" for "data protection loss" in excess of the retention, which the
      "insured" becomes obligated to pay as a direct result of one or more of the following that first takes
      place on or after the "retroactive date" and before the end of the "policy period":


      1. alteration, corruption, destruction, deletion or damage to a "data asset"; or

      2. inability to access a "data asset";


      and is directly caused by a failure of "computer security" to prevent a "security breach"; provided
      that such "security breach" must take place on or after the "retroactive date" and before the end of
      the "policy period".


  H. First Party Network Business Interruption

      We shall indemnify the "insured", for "business interruption loss", in excess of the retention,
      incurred by the "insured" during the "period of restoration" or the "extended interruption period"
      (if applicable) as a direct result of the actual and necessary interruption or suspension of
      "computer systems" that first takes place during the "policy period" and is directly caused by a
      failure of "computer security" to prevent a "security breach"; provided that such "security breach"
      must first take place on or after the "retroactive date" and before the end of the "policy period".



II. DEFENSE AND SETTLEMENT OF CLAIMS

  A. We shall have the right and duty to defend:


      1. Any "claim" against the "insured" seeking "damages" even if any of the allegations of the
          "claim" are groundless, false or fraudulent; or


      2. Under Section I. INSURING AGREEMENTS, C. Regulatory Defense And Penalties, any "claim"
          in the form of a "regulatory proceeding".


      Selection of defense counsel shall be mutually agreed upon between us and the "named insured",
      but in the absence of such agreement, our decision shall be final.


  B. We will pay "claims expenses" incurred. The Aggregate Limit of Liability available to pay
      "damages" and "penalties" shall be reduced and may be completely exhausted by payment of
      "claims expenses". "Damages", "penalties", and "claims expenses" shall be applied against the
      each claim retention payable by the "insured".


  C. If the "insured" refuses to consent to any settlement or compromise recommended by us and
      acceptable to the claimant and elects to contest the "claim", our liability for any "damages",
      "penalties", and "claims expenses" shall not exceed the lesser of:


      1. The amount for which the "claim" could have been settled, less the remaining retention, plus
          the "claims expenses" incurred up to the time of such refusal; or




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       2.   The applicable Limit of Liability whichever is less, and we have the right to withdraw from
            further defense by tendering control of said defense to the "insured". The portion of any
            proposed settlement or compromise that requires the "insured" to cease, limit or refrain from
            actual or alleged infringing or otherwise injurious activity or is attributable to future royalties
            or other amounts that are not "damages" (or "penalties" for "claims" covered under Section I.
            INSURING AGREEMENTS, C. Regulatory Defense And Penalties) shall not be considered in
            determining the amount for which a "claim" could have been settled.


III. WHO IS AN INSURED


   A. Whether expressed in singular or plural, "insured" shall mean:

       1.   The "named insured" and any "subsidiaries" of the "named insured" (together the "insured
            organization");


       2.   A director, manager of a limited liability company or officer of the "insured organization", but
            only with respect to the performance of their duties as such on behalf of the "insured
            organization";


       3.   An employee of the "insured organization", but only for work done while acting within the
            scope of their employment and related to the conduct of the "insured organization's"
            business;

       4.   A principal if the "named insured" is a sole proprietorship, or a partner if the "named insured"
            is a partnership, but only with respect to the performance of their duties as such on behalf of
            the "insured organization";

       5.   Any person previously qualified as an "insured" under Paragraphs A2., A3., or A4. of Section
            III. WHO IS AN INSURED prior to the termination of the required relationship with the
            "insured organization", but only with respect to the performance of their duties as such on
            behalf of the "insured organization".


   B. "Named insured" means the entity or individual shown in the Declarations of this Coverage Form.



IV. EXCLUSIONS


   This insurance does not apply to any "claim" or "loss":

   A. Arising out of or resulting from any contractual liability or obligation, or arising out of or resulting
       from breach of contract or agreement either oral or written. However, this exclusion will not apply:


       1.   Only with respect to the coverage provided pursuant to Paragraph 1. of Section I. INSURING
            AGREEMENTS, A. Information Security And Privacy Liability, to any obligation of the
            "insured organization" to maintain the confidentiality or security of "personally identifiable
            information" or of "third party information";


       2.   Only with respect to Paragraph 4. of Section I. INSURING AGREEMENTS, D. Website Media
            Content Liability, for misappropriation of ideas under implied contract; or

       3.   To the extent the "insured" would have been liable in the absence of such contract or
            agreement.


   B. Arising out of or resulting from any liability or obligation under a "merchant services agreement"
       except this exclusion does not apply to "PCI Fines, Expenses, and Costs" covered under Section I.
       INSURING AGREEMENTS, E. PCI Fines, Expenses, and Costs , or to "computer expert services"
       or "legal services" covered under Section I. INSURING AGREEMENTS, B. Privacy Breach
       Response Services.


   C. Arising out of or resulting from any actual or alleged false, deceptive or unfair trade practices;
       however, this exclusion does not apply to:




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      1.   Any "claim" covered under Paragraphs 1., 2., or 3. of Section I. INSURING AGREEMENTS, A.
           Information Security And Privacy Liability or Section I. INSURING AGREEMENTS, C.
           Regulatory Defense and Penalties; or


      2.   The providing of "privacy breach response services" covered under Section I. INSURING
           AGREEMENTS, B. Privacy Breach Response Services.

  D. Arising out of or resulting from the actual or alleged unlawful collection, acquisition or retention of
      "personally identifiable information" (except as otherwise covered under Paragraph 5. of Section
      I. INSURING AGREEMENTS, A. Information Security And Privacy Liability) or other personal
      information by, on behalf of, or with the consent or cooperation of the "insured organization"; or
      the failure to comply with a legal requirement to provide individuals with the ability to assent to or
      withhold assent (e.g. opt-in or opt-out) from the collection, disclosure or use of "personally
      identifiable   information". This   exclusion   shall not   apply to   the actual   or alleged   unlawful
      collection, acquisition or retention of "personally identifiable information" by a person or entity
      that is not a "related party" and without the knowledge of the "insured organization".


  E. Arising out of or resulting from any act, error, omission, incident, failure of "computer security", or
      "security breach" committed or occurring prior to the "continuity date" of this Coverage Form:


      1.   If any member of the "control group" on or before the "continuity date" knew or could have
           reasonably foreseen that such act, error or omission, incident, failure of "computer security",
           or "security breach" might be expected to be the basis of a "claim" or "loss"; or


      2.   In respect of which any "insured" has given notice of a circumstance, which might lead to a
           "claim" or "loss", to the insurer of any other policy in force prior to the inception date of this
           Coverage Form.


  F. Arising out of or resulting from any related or continuing acts, errors, omissions, incidents or
      events, where the first such act, error, omission, incident or event was committed or occurred prior
      to the "retroactive date."


  G. For, arising out of or resulting from any actual or alleged:


      1.   Infringement of patent or patent rights or misuse or abuse of patent;


      2.   Infringement of copyright arising from or related to software code or software products other
           than infringement resulting from a theft or "unauthorized access or use" of software code by a
           person who is not a "related party";


      3.   Use or misappropriation of any ideas, trade secrets or "third party corporate information" (i)
           by, or on behalf of, the "insured organization", or (ii) by any other person or entity if such use or
           misappropriation is done with the knowledge, consent or acquiescence of a member of the
           Control Group;


      4.   Disclosure, misuse or misappropriation of any ideas, trade secrets or confidential information
           that came into the possession of any person or entity prior to the date the person or entity
           became an employee, officer, director, manager of a limited liability company, principal,
           partner or "subsidiary" of the "insured"; or


      5.   Under Paragraph 2. of Section I. INSURING AGREEMENTS, A. Information Security And
           Privacy Liability, theft of or "unauthorized disclosure" of a "data asset."

  H. In connection with or resulting from a "claim" brought by or on behalf of the Federal Trade
      Commission, the Federal Communications Commission, or any other state, federal, local or foreign
      governmental entity, in such entity's regulatory or official capacity; provided, this exclusion shall
      not apply to an otherwise covered "claim" under Section I. INSURING AGREEMENTS, C.
      Regulatory Defense and Penalties or to the providing of "privacy breach response services"
      under Section I. INSURING AGREEMENTS, B. Privacy Breach Response Services to the extent
      such services are legally required to comply with a "breach notice law";




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  I.   Arising out of or resulting from a "claim" by or on behalf of one or more "insureds" under this
       coverage against any other "insured" or "insureds" under this coverage; provided this exclusion
       shall not apply to an otherwise covered "claim" under Paragraphs 1., 2., or 3. of Section I.
       INSURING AGREEMENTS, A. Information Security And Privacy Liability made by a current or
       former employee of the "insured organization";


  J.   Arising out of or resulting from:


       1.   Any "claim" made by any business enterprise in which any "insured" has greater than a 15
            percent (15%) ownership interest or made by any parent company or other entity which owns
            more than 15 percent (15%) of the "named insured"; or


       2.   The "insured's" activities as a trustee, partner, member, manager of a limited liability
            company, officer, director or employee of any employee trust, charitable organization,
            corporation, company or business other than that of the "insured organization";


  K. Arising out of or resulting from:

       1.   The actual or alleged obligation to make licensing fee or royalty payments;

       2.   Any costs or expenses incurred or to be incurred by the "insured" or others for the reprinting,
            reposting, recall, removal or disposal of any "media material" or any other information,
            content or media, including any media or products containing such "media material",
            information, content or media;


       3.   Any   "claim"   brought   by   or   on   behalf of   any intellectual   property   licensing   bodies   or
            organizations;


       4.   The actual or alleged inaccurate, inadequate or incomplete description of the price of goods,
            products or services, cost guarantees, cost representations, or contract price estimates, the
            authenticity of any goods, products or services, or the failure of any goods or services to
            conform with any represented quality or performance;


       5.   Any actual or alleged gambling, contest, lottery, promotional game or other game of chance;
            or


       6.   Any "claim" made by or on behalf of any independent contractor, joint venture or venture
            partner arising out of or resulting from disputes over ownership of rights in "media material"
            or services provided by such independent contractor, joint venture or venture partner;


  L. With respect to Section I. INSURING AGREEMENTS F. Cyber Extortion, G. Data Protection Loss
       and H. Business Interruption Loss arising out of or resulting from any criminal, dishonest,
       fraudulent, or malicious act, error or omission, any "security breach", "extortion threat", or
       intentional or knowing violation of the law, if committed by any member of the "control group" or
       any person in participation or collusion with any member of the "control group";


 M. With respect to Section I. INSURING AGREEMENTS G. Data Protection Loss and H. Business
       Interruption Loss arising out of or resulting from:

       1.   Any failure or malfunction of electrical or telecommunications infrastructure or services,
            provided that this exclusion shall not apply to any otherwise covered "claim" or "loss" arising
            out of failure of "computer security" to prevent a "security breach" that was solely caused by a
            failure or malfunction of telecommunications infrastructure or services under the "insured's"
            direct operational control;




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       2.   Fire, flood, earthquake, volcanic eruption, explosion, lighting, wind, hail, tidal wave, landslide,
            act of God or other physical event; or


       3.   Any satellite failures.


  N. With respect to Section I. INSURING AGREEMENTS F. Cyber Extortion arising out of or resulting
       from:


       1.   Any threat to physically harm or kidnap any person; or

       2.   Any threat to harm, take, or transfer property other than any "data asset", even if such threat is
            made in conjunction with a threat to a "data asset" or by carrying out such threat to, harm,
            theft, or transfer, a "data asset" may be damaged, corrupted, altered, taken, disseminated or
            transferred;


  O. Arising out of or resulting from any seizure, nationalization, confiscation, or destruction of
       "computer systems" or "data assets" by order of any governmental or public authority;


  P. Arising out of or resulting from, directly or indirectly occasioned by, happening through or in
       consequence of: war, invasion, acts of foreign enemies, hostilities (whether war be declared or
       not), civil war, rebellion, revolution, insurrection, military or usurped power or confiscation or
       nationalization or requisition or destruction of or damage to property by or under the order of any
       government or public or local authority.


V. LIMIT OF LIABILITY AND COVERAGE


  A. The Aggregate Limit of Liability set forth in the Declarations is our combined total limit of liability
       for all "damages", "penalties", "PCI Fines, Expenses, and Costs", "public relations and crisis
       management expenses", "cyber extortion loss", "data protection loss", "business interruption
       loss" and "claims expenses" payable under this Coverage Form.


       Neither the inclusion of more than one "insured" under this Coverage Form, nor the making of
       "claims" by more than one person or entity, shall increase the Limit of Liability.


  B. The Limit of Liability for the "automatic extension period" and the "optional extension period" shall
       be part of and not in addition to the Aggregate Limit of Liability.


  C.   The "Notified Individuals" limit stated in the Declarations is the maximum total number of "notified
       individuals" to whom notification will be provided or attempted for all incidents or series of related
       incidents giving rise to an obligation to provide "notification services", "call center services" or
       "breach resolution and mitigation services".


  D.   We shall not be obligated to pay any "damages", "penalties", or "claims expenses", or to
       undertake or continue defense of any suit or proceeding after the Aggregate Limit of Liability has
       been exhausted by payment of "damages", "penalties" or "claims expenses", or after deposit of
       the Aggregate Limit of Liability in a court of competent jurisdiction. Upon such payment, we shall
       have the right to withdraw from further defense of any "claim" under this Coverage Form by
       tendering control of said defense to the "insured".


  E.   Unless otherwise specified in this Coverage Form, "privacy breach response services" will be
       provided by a service provider selected by us from the service providers listed in the "information
       packet".


  F.   To the extent that costs to provide "privacy breach response services" are covered pursuant to a
       "claim" described in Paragraph D.4. of Section XI. DEFINITIONS , such costs shall be covered
       solely under Section I. INSURING AGREEMENTS, A. Information Security and Privacy Liability.


  G.   In the event that this Coverage Form is accompanied by an application, then only Paragraphs B. -
       E., of this Section V. LIMIT OF LIABILITY AND COVERAGE apply and limits of liability shall be as
       follows:




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      1.   The Aggregate Limit of Liability shall include all items as set forth in the Declarations and
           Paragraph A. except "public relations and crisis management expenses".


      2.   The Regulatory Defense and Penalties sublimit of liability stated in the Declarations is the
           aggregate      sublimit   of   liability   payable   under   Section   I. INSURING AGREEMENTS,            C.
           Regulatory Defense and Penalties of this Coverage Form and is part of and not in addition to
           the Aggregate Limit of Liability.


      3.   The PCI Fines, Expenses, and Costs sublimit of liability stated in the Declarations is the
           aggregate sublimit of liability payable under Section I. INSURING AGREEMENTS, E. PCI
           Fines, Expenses, and Costs of this Coverage Form and is part of and not in addition to the
           Aggregate Limit of Liability.


      4.   The Cyber Extortion sublimit of liability stated in the Declarations is the sublimit of liability
           payable under Section I. INSURING AGREEMENTS, F. Cyber Extortion of this Coverage Form
           and is part of and not in addition to the Aggregate Limit of Liability.


      5.   The First Party Data Protection sublimit of liability stated in the Declarations is the sublimit of
           liability payable under Section I. INSURING AGREEMENTS, G. First Party Data Protection of
           this Coverage Form and is part of and not in addition to the Aggregate Limit of Liability.


      6.   The First Party Network Business Interruption sublimit of liability stated in the Declarations is
           the sublimit of liability payable under Section I. INSURING AGREEMENTS, H. First Party
           Network Business Interruption of this Coverage Form and is part of and not in addition to the
           Aggregate Limit of Liability.


      7.   There shall be a separate aggregate limit of coverage as stated in the Declarations for
           "computer expert services", "legal services, and "public relations and crisis management
           expenses". The aggregate limit stated in the Declarations is the aggregate limit of coverage for
           all "computer expert services", "legal services" and "public relations and crisis management
           expenses" combined.



VI. RETENTION


  A. The retention(s) set forth in the Declarations apply(ies) separately to each incident, event or
      related incidents or events, giving rise to a "claim". The retention(s) shall be satisfied by monetary
      payments by the "named insured" of "damages", "claims expenses", "penalties" "public relations
      and crisis management", "cyber extortion loss", "data protection loss", "business interruption
      loss", or "PCI Fines, Expenses and Costs".


  B. For all "notification services", "call center services" and "breach resolution and mitigation
      services" for each incident, the notified individuals sublimit set forth in the Declarations applies
      separately to each incident, event or related incidents or events, giving rise to an obligation to
      provide such services.


 C.   With      respect   to   Section    I.   INSURING    AGREEMENTS       H.    First   Party   Network    Business
      Interruption, the retention set forth in the Declarations applies separately to each "security
      breach". The "retention" shall be satisfied by covered "business interruption loss" retained by the
      "insured organization". The "retention" for Section I. INSURING AGREEMENTS H. First Party
      Network Business Interruption, shall be as follows:

      1.   with respect to covered "business interruption loss", the "retention" shall be the greater of:

           a.    the "retention" amount set forth in the Declarations; or

           b.    the amount of "business interruption loss" during the "waiting period";




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   D. Satisfaction of the applicable retention is a condition precedent to our payment of any amounts
       hereunder, and we shall be liable only for the amounts in excess of such retention subject to our
       total liability not exceeding the Aggregate Limit of Liability. The "named insured" shall be
       responsible for all payments within the retention and shall make all such payments directly to the
       other parties designated by us.


VII. EXTENSION PERIODS

   A. Automatic Extension Period

       We will provide a 14 day "automatic extension period" in the event of termination of this Coverage
       Form for any reason except the non-payment of premium. The "automatic extension period" does
       not apply to Section I. INSURING AGREEMENTS, B. Privacy Breach Response Services, F. Cyber
       Extortion, G. First Party Data Protection and H. First Party Network Business Interruption.


   B. Optional Extension Period


       1.   In the event of the termination of this Coverage Form for any reason except the non-payment of
            premium, you have the right to purchase an endorsement providing an "optional extension
            period" of 12 or 24 months for "claims" first made against any "insured" and reported to us
            during the "optional extension period". You must submit a written request for the "optional
            extension period" to us within 30 days of the termination of this Coverage Form. Payment of
            the full additional premium for the "optional extension period" endorsement is due within 30
            days of the termination of this Coverage Form. If notice of election and payment for the
            "optional extension period" is not given to us within such 30 day period, there shall be no right
            to purchase the "optional extension period".


       2.   The Limit of Liability for the "optional extension period" shall be part of, and not in addition to,
            the applicable Limit of Liability for the "policy period". The purchase of the "optional extension
            period" does not in any way increase the Aggregate Limit of Liability or any sublimit of liability.
            The "optional extension period" does not extend the "policy period" or change the scope of the
            coverage provided. The "optional extension period" only extends the "claims" reporting
            period. A "claim" first made against any "insured" and reported to us during the "optional
            extension period" will be deemed to have been made on the last day of the "policy period"
            provided that the "claim" is for any act, error, or omission committed on or after the
            "retroactive date" and before the end of the "policy period".


       3.   The additional premium for a 12 month "optional extension period" will be 100% of the
            premium charged for the last "policy period". The additional premium for a 24 month
            "optional extension period" will be 200% of the premium charged for the last "policy period".
            At the commencement of the "optional extension period" the entire premium shall be deemed
            earned, and in the event the "named insured" terminates the "optional extension period" for
            any reason prior to its natural expiration; we will not be liable to return any premium paid for
            the "optional extension period".


       4.   The right to purchase an "optional extension period" shall not be available to you if the
            premium for the policy to which this coverage form is attached has not been paid in full, or if we
            have cancelled or not renewed it due to non-payment of premium or your failure to pay
            amounts in excess of the applicable limit of liability or within the amount of the retention. The
            "optional extension period" does not apply to Section I. INSURING AGREEMENTS, B. Privacy
            Breach Response Services, F. Cyber Extortion, G. First Party Data Protection and H. First
            Party Network Business Interruption.



VIII. NOTICE OF CLAIM, LOSS OR CIRCUMSTANCE THAT MIGHT LEAD TO A CLAIM


   A. If any "claim" is made against the "insured" the "insured" shall forward as soon as practicable to us
       written notice of such "claim" in the form of a facsimile, email, through our web or mobile app
       portals, or express or certified mail together with every demand, notice, summons or other process
       received by the "insured" or the "insured's" representative.



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     B. With respect to Section I. INSURING AGREEMENTS, B. Privacy Breach Response Services, for a
          legal obligation to comply with a "breach notice law" because of an incident described in
          Paragraph 1. or 2. of Section I. INSURING AGREEMENTS, A. Information Security And Privacy
          Liability, such incident or reasonably suspected incident must be reported as soon as practicable
          during the "policy period" after discovery by the "insured".


     C.    If during the "policy period", the "insured" becomes aware of any circumstance that could
          reasonably be the basis for a "claim" it may give written notice to us in the form of a facsimile,
          through our web or mobile app portals, email or express or certified mail as soon as practicable
          during the "policy period". Such a notice must include:

          1.   The specific details of the act, error, omission, or "security breach" that could reasonably be
               the basis for a "claim";


          2.   The injury or damage which may result or has resulted from the circumstance; and


          3.   The facts by which the "insured" first became aware of the act, error, omission or "security
               breach".

          Any subsequent "claim" made against the "insured" arising out of such circumstance which is the
          subject of the written notice will be deemed to have been made at the time written notice
          complying with the above requirements was first given to us.

          An incident or reasonably suspected incident reported to us during the "policy period" and in
          conformance with Paragraph B. of Section VIII. NOTICE OF CLAIM, LOSS OR CIRCUMSTANCE
          THAT MIGHT LEAD TO A CLAIM shall also constitute notice of a circumstance under this
          Paragraph C.


     D. A "claim" or legal obligation under Paragraphs A. or B. of Section VIII. NOTICE OF CLAIM, LOSS
          OR CIRCUMSTANCE THAT MIGHT LEAD TO A CLAIM shall be considered to be reported to us
          when written notice is first received by us in the form of a facsimile, email, through our web or
          mobile app portals, or express or certified mail or email of the "claim" or legal obligation, or of an
          act, error, or omission, which could reasonably be expected to give rise to a "claim" if provided in
          compliance with Paragraph C. of Section VIII. NOTICE OF CLAIM, LOSS OR CIRCUMSTANCE
          THAT MIGHT LEAD TO A CLAIM.


     E. With respect to Section I. INSURING AGREEMENTS, H. Business Interruption Loss, the
          "insured" shall forward immediately to us, written notice of the interruption or suspension of
          "computer systems" to which this Coverage Form applies in the form of a facsimile, email, through
          our web or mobile app portals or express mail. Such notice must be provided during the "policy
          period", or no later than ten days after the end of the "policy period" for interruptions or
          suspensions occurring within ten days of the end of the "policy period"; provided, all covered
          "business interruption loss" must be reported to us (in accordance with Section XIII. Proof of Loss
          and Appraisal) no later than six (6) months after the end of the "policy period".


IX. OTHER INSURANCE

     The insurance under this Coverage Form shall apply in excess of any other valid and collectible
     insurance available to any "insured", including any self-insured retention or deductible portion
     thereof unless such other insurance is written only as specific excess insurance over the Aggregate
     Limit of Liability or any other applicable Limit of Liability of this Coverage Form.


X.   NAMED INSURED AS AGENT

     The "named insured" shall be considered the agent of all "insureds" and shall act on behalf of all
     "insureds" with respect to the giving of or receipt of all notices pertaining to this Coverage Form and
     the acceptance of any endorsements to this Coverage Form. With respect to Section I. INSURING
     AGREEMENT F. Cyber Extortion , in the event of an "extortion threat" to which this insurance applies,
     the "insured" shall notify us by calling the phone number for the Cyber Extortion Threat hotline shown
     in the Declarations immediately upon receipt of any "extortion threat", and shall thereafter also
     provide written notice by facsimile, email, through our web or mobile app portals, or express mail
     within five days following the "extortion threat".




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XI. DEFINITIONS

   A. The following definitions apply to the provisions of this coverage form:

       1. "Automatic extension period" means the period described in Section VII. EXTENSION
           PERIODS, Paragraph A. Automatic Extension Period, wherein this Coverage Form provides
           extra days after the end of this "policy period" for an "insured" to report a "claim" that occurred
           during the "policy period".


       2. "Breach notice law" means any statute or regulation that requires notice to persons whose
           "personally identifiable information" was accessed or reasonably may have been accessed by
           an unauthorized person.


       3. "Breach resolution and mitigation services" means a credit monitoring, identity monitoring or
           other solution selected from the products listed in "information pack" and offered to "notified
           individuals". The product offered to "notified individuals" will be selected by us in consultation
           with the "insured organization" and in accordance with the "information pack".

           The product offer will be included in the communication provided pursuant to Paragraph 3. of
           Section I. INSURING AGREEMENTS, B. Privacy Breach Response Services.


       4. "Business interruption loss" means the total of:

           a. "Income loss" and "extra expense" during the "period of restoration"; and

           b. "Extended income loss" if the "income loss" during the "period of restoration" is in excess of
              the applicable retention.


           Provided     that   "business   interruption   loss"   shall   not   mean   and   Section   I.    INSURING
           AGREEMENTS, H. Business Interruption Loss shall not cover any of the following: "loss"
           arising out of any liability to any third party for whatever reason; legal costs or legal expenses of
           any type; "loss" incurred as a result of unfavorable business conditions, loss of market or any
           other consequential loss; or costs or expenses the "insured organization" incurs to identify and
           remove software program errors or vulnerabilities.


           All "business interruption loss" resulting from multiple covered interruptions or suspensions of
           "computer systems" that arise out of the same or a continuing "security breach", from related
           or repeated "security breaches", or from multiple "security breaches" resulting from a failure of
           "computer security" shall be deemed to be a single "business interruption loss"; provided,
           however, that a separate "waiting period" shall apply to each "period of restoration".


       5. "Call center services" means the provision of a call center to answer calls during standard
           business hours for a period of 90 days following notification (or longer if required by applicable
           law or regulation) of an incident for which notice is provided pursuant to Paragraph 3. of
           Section I. INSURING AGREEMENTS, B. Privacy Breach Response Services (Notification
           Services).


           "Call center services" will be provided by a service provider selected by us in consultation with
           the "insured organization" from the list of service providers in the "information packet".


       6. "Claim" means:


           a. A written demand received by any "insured" for money or services; including service of a suit
              or institution of regulatory or arbitration proceedings;


           b. With    respect    to   coverage   provided   under    Section    I.   INSURING   AGREEMENTS,           C.
              Regulatory Defense And Penalties only, institution of a "regulatory proceeding" against
              any "insured";


           c. A written request or agreement to toll or waive a statute of limitations relating to a potential
              "claim" described in Paragraph 1. above; and




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          d. With    respect   to   coverage    provided      under    Paragraph   1.    of    Section   I.    INSURING
             AGREEMENTS, A. Information Security And Privacy Liability only, a demand received by
             any "insured" to fulfill the "insured organization's" contractual obligation to provide notice
             of an incident (or reasonably suspected incident) described in Paragraph 1. of Section I.
             INSURING AGREEMENTS, A. Information Security And Privacy Liability pursuant to a
             "breach notice law".


          Multiple "claims" arising from the same or a series of related or repeated acts, errors, or
          omissions, or from any continuing acts, errors, omissions, or from multiple "security breaches"
          arising from a failure of "computer security", shall be considered a single "claim" for the
          purposes of this Coverage Form, irrespective of the number of claimants or "insureds" involved
          in the "claim". All such "claims" shall be deemed to have been made at the time of the first such
          "claim".


      7. "Claim expenses" means:

          a. Reasonable and necessary fees charged by an attorney designated pursuant to Paragraph A.
             of Section II. DEFENSE AND SETTLEMENT OF CLAIMS;


          b. All other legal costs and expenses resulting from the investigation, adjustment, defense and
             appeal of a "claim", suit, or proceeding arising in connection therewith, or circumstance
             which might lead to a "claim", if incurred by us, or by the "insured" with the prior written
             consent of us; and

          c. The premium cost for appeal bonds for covered judgments or bonds to release property
             used to secure a legal obligation, if required in any "claim" against an "insured" provided
             that we shall have no obligation to appeal or to obtain bonds.

          "Claims expenses" do not include any salary, overhead, or other charges by the "insured" for
          any time spent in cooperating in the defense and investigation of any "claim" or circumstance
          that might lead to a "claim" notified under this Coverage Form, or costs to comply with any
          regulatory orders, settlements or judgments.


      8. "Computer expert services" means costs for:

          a. A computer security expert to determine the existence and cause of an actual or suspected
             electronic data breach which may require the "insured organization" to comply with a
             "breach notice law" and to determine the extent to which such information was accessed by
             an unauthorized person or persons;


          b. A Payment Card Industry (PCI) Forensic Investigator that is approved by the PCI Security
             Standards Council and is retained by the "insured organization" in order to comply with the
             terms of a "merchant services agreement" to investigate the existence and extent of an
             actual or suspect compromise or credit card data; and within our discretion, where a
             computer security expert described in Paragraph 8.a. above has not been retained, for a
             computer    security    expert    to   provide   advice   and   oversight    in   connection       with   the
             investigation conducted by the PCI Forensic Investigator; and


          c. A computer security expert which amount is part of and not in addition to the combined
             aggregate limit of coverage for all "computer expert services", "legal services", and "public
             relations and crisis management expenses" stated in the Declarations to demonstrate the
             "insureds" ability to prevent a future electronic data breach as required by a "merchant
             services agreement".


          "Computer expert services" will be provided in accordance with the terms and conditions set
          forth in this Coverage Form and will be provided by a service provider selected by the "insured
          organization" in consultation with us from the list of service providers in the "information
          packet".




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      9. "Computer security" means software, computer or network hardware devices, as well as the
          "insured organization's" written information security policies and procedures, the function or
          purpose of which is to prevent "unauthorized access or use", a denial of service attack against
          "computer systems", infection of "computer systems" by malicious code or transmission of
          malicious    code   from     "computer   systems". "Computer          security"   includes   anti-virus   and
          intrusion detection software, firewalls and electronic systems that provide access control to
          "computer systems" through the use of passwords, biometric or similar identification of
          authorized users.


    10. "Computer systems" means computers and associated input and output devices, data storage
          devices, networking equipment, and back up facilities:


          a. Operated by and either owned by or leased to the "insured organization"; or

          b. With respect to Section I. INSURING AGREEMENTS A. - G., systems operated by a third
               party service provider and used for the purpose of providing hosted computer application
               services to the "insured organization" or for processing, maintaining, hosting or storing the
               "insured organization's" electronic data, pursuant to written contract with the "insured

               organization" for such services.


    11. "Continuity date" means the date stated in the Declarations that coverage was first written with
          respect to the "named insured" and any "subsidiaries" acquired before such date. Any
          litigation initiated before this date is not subject to coverage under this Coverage Form even if
          the allegations were not part of a potentially covered claim.


    12. "Control group" means the individuals holding the following positions in the "insured
          organization":


          a. President;

          b. Members of the Board of Directors;

          c. Executive Officers, including the Chief Executive Office, Chief Operating Officer, and Chief
               Financial Officer; General Counsel, Chief Information Officer, Chief Security Officer, Chief
               Privacy Officer;

          d. Staff attorneys employed by the "insured organization";

          e. Manager of a limited liability company; and

          f.   Any   individual   in   a   substantially   similar   position    or   which   substantially    similar
               responsibilities as those referenced above.


    13. "Cyber extortion loss" means:

          a. Any "extortion payment" that has been made under duress by or on behalf of the "insured"
               with our prior written consent, but solely to prevent or terminate an "extortion threat" and
               in an amount that does not exceed the covered "damages" and "claims expenses" that
               would have been incurred had the "extortion payment not been paid;

          b. An otherwise covered "extortion payment" that is lost in transit by actual destruction,
               disappearance or wrongful abstraction while being conveyed by any person authorized by
               or on behalf of the "insured" to make such conveyance; and


          c. Fees and expenses paid by or on behalf of the "insured" for security consultants retained
               with our prior written approval, but solely to prevent or terminate an "extortion threat".


    14. "Damages" means a monetary judgment, award or settlement; provided that the term
          "damages" shall not include or mean:


          a. Future profits, restitution, disgorgement of unjust enrichment or profits by an "insured", or
               the costs of complying with orders granting injunctive or equitable relief;




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          b. Return or offset of fees, charges, or commissions charged by or owed to an "insured" for
               goods or services already provided or contracted to be provided;


          c. Any damages which are a multiple of compensatory damages, fines, taxes or loss of tax
               benefits, sanctions or penalties;


          d. Punitive or exemplary damages, unless insurable by law in any applicable venue that most
               favors coverage for such punitive or exemplary damages;


          e. Discounts, coupons, prizes, awards or other incentives offered to the "insured's" customers
               or clients;


          f.   Liquidated damages to the extent that such damages exceed the amount for which the
               "insured" would have been liable in the absence of such liquidated damages agreement; or


          g. Any amounts for which the "insured" is not liable, or for which there is no legal recourse
               against the "insured".


    15. "Data asset" means any software or electronic data that exists in "computer systems" and that
          is subject to regular back up procedures, including computer programs, applications, account
          information, customer information, private or personal information, marketing information,
          financial information and any other information maintained by the "insured organization" in its
          ordinary course of business.


    16. "Data protection loss" means:

          a. With respect to any "data asset" that is altered, corrupted, destroyed, deleted or damaged
               the actual, reasonable and necessary costs and expenses incurred by the "insured" to
               restore a "data asset" from back-ups or from originals or to gather, assemble and recollect
               such   "data   asset" from     other   sources   to the   level   or condition   in which     it   existed
               immediately prior to its alteration, corruption, destruction, deletion or damage; or


          b. With respect to any "data asset" that the "insured" is unable to access, the lesser of the
               actual,   reasonable     and   necessary    costs   and    expenses    incurred    by   the    "insured
               organization" to:

               (1) Regain access to such "data asset"; or

               (2) Restore such "data asset" from back-ups or originals or gather, assemble and recollect
                   such "data asset" from other sources, to the level or condition in which it existed
                   immediately prior to the "insureds" inability to access it.

          Provided that       if   such "data asset"   cannot    reasonably      be accessed,   restored, gathered,
          assembled or recollected, then "data protection loss" means the actual, reasonable and
          necessary costs and expenses incurred by the "insured" to reach this determination.


          Provided further that "data protection loss" shall not exceed, and shall not mean, any amount
          in excess of the amount by which the net profit before income taxes of the "insured" would have
          decreased had the "insured" failed to restore, gather, assemble or recollect as set forth in
          sub-paragraphs 16.a. and 16.b. above.


          A "data protection loss" will be deemed to occur at the time such alteration, corruption,
          destruction, deletion or damage to or inability to access a "data asset" is first discovered by the
          "insured". All "data protection loss" that arises out of the same or a continuing "security
          breach", from related or repeated "security breaches", or from multiple "security breaches"
          resulting from a failure of "computer security" shall be deemed to be a single "data protection
          loss".


          "Data protection loss" shall not mean, and there shall be no coverage under Section I.
          INSURING AGREEMENTS, G. First Party Data Protection for:




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          a. Costs or expenses incurred by the "insured" to identify or remediate software program
             errors or vulnerabilities or update, replace, restore, gather, assemble, reproduce, recollect
             or enhance a "data asset" or "computer systems" to a level beyond that which existed prior
             to the alteration, corruption, destruction, deletion or damage of such "data asset";


          b. Costs or expenses to research or develop any "data asset", including but not limited to trade
             secrets or other proprietary information;


          c. The monetary value of profits, royalties, or lost market share related to a "data asset",
             including but not limited to trade secrets or other proprietary information or any other
             amount pertaining to the value of the "data asset";


          d. Loss arising out of any liability to any third party for whatever reason; or

          e. Legal costs or legal expenses of any type.


    17. "Denial of service attack" means an attack intended by the perpetrator to overwhelm the
          capacity of a "computer system" by sending an excessive volume of electronic data to such
          "computer system" in order to prevent authorized access to such "computer system".


    18. "Extended income loss" means the "income loss" during the "extended interruption period".

    19. "Extended interruption period" means the period of time that:

          a. Begins on the date and time that the "period of restoration" ends; and

          b. Terminates on the date and time the "insured" restores, or would have restored if the
             "insured" had exercised due diligence and dispatch, the net profit before income taxes that
             would have been earned by the "insured" directly through its business operations had the
             actual and necessary interruption or suspension of "computer systems" not occurred;


          Provided that in no event shall the "extended interruption period" mean more than or exceed
          30 days.


    20. "Extortion payment" means cash, marketable goods or services demanded to prevent or
          terminate an "extortion threat".


    21. "Extortion threat" means a threat to breach "computer security" in order to:

          a. Alter, destroy, damage, delete or corrupt any "data asset";

          b. Prevent access to "computer systems" or a "data asset", including a "denial of service
             attack" or encrypting a "data asset" and withholding the decryption key for such "data
             asset";


          c. Perpetrate a theft or misuse of a "data asset" on "computer systems" through external
             access;

          d. Introduce "malicious code" into "computer systems" or to third party computers and
             systems from "computer systems"; or


          e. Interrupt or suspend "computer systems";

          unless an "extortion payment" is received from or on behalf of the "insured".


          Multiple related or continuing "extortion threats" shall be considered a single "extortion
          threat" for purposes of this insurance and shall be deemed to have occurred at the time of the
          first such "extortion threat".


    22. "Extra expense" means:


          a. Reasonable and necessary expenses that are incurred by the "insured" during the "period of
             restoration" to minimize, reduce or avoid an "income loss", provided that such expenses:




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             (1) Are over and above those the "insured" would have incurred had no interruption or
                  suspension of the "computer systems" occurred; and


             (2) Do not exceed the amount by which the "income loss" in excess of the retention and
                  covered under this insurance is thereby reduced; and


          b. "Forensic expenses";

          provided that "extra expense" shall not mean, and there shall be no coverage under Section I.
          INSURING AGREEMENTS, H. Business Interruption Loss for expenses incurred by the
          "insured" to update, upgrade, enhance or replace "computer systems" to a level beyond that
          which existed prior to the actual and necessary interruption or suspension of "computer
          systems"; or the costs and expenses incurred by the "insured" to restore, reproduce, or regain
          access to any "data asset" that was altered, corrupted, destroyed, deleted, damaged or
          rendered inaccessible as a result of the failure of "computer security" to prevent a "security
          breach".


    23    "Forensic expenses" means reasonable and necessary expenses incurred by the "insured" to
          investigate the source or cause of the failure of "computer security" to prevent a "security
          breach".


    24. "Income loss" means:

          a. The net profit before income taxes that the "insured" is prevented from earning through its
             business operations or the net loss before income taxes that the "insured" is unable to avoid
             through its business operations as a direct result of the actual and necessary interruption or
             suspension of "computer systems"; and


          b. Fixed operating expenses incurred by the "insured" (including payroll), but only to the
             extent that a. such operating expenses must necessarily continue during the "period of
             restoration" (or Extended Interruption Period, if applicable); and b. such expenses would
             have been incurred by the "insured" had such interruption or suspension not occurred.


          "Income loss" shall be reduced to the extent the "insured" (if applicable) is able, with
          reasonable dispatch and due diligence, to reduce or limit such interruption or suspension of
          "computer systems" or conduct its business operations by other means.


          In determining "income loss", due consideration shall be given to the prior experience of the
          "insured's" business operations before the beginning of the "period of restoration" and to the
          probable business operations the "insured organization" could have performed had no actual
          and necessary interruption or suspension occurred as result of a failure of "computer security"
          to prevent a "security breach".


          "Income loss" will be calculated on an hourly basis based on the "insured's" net profit (or loss)
          and fixed operating expenses as set forth above.


    25. "Information packet" means the information packet that includes a list of service providers who
          provide "privacy breach response services."


    26. "Insured organization" means the "named insured" and any "subsidiaries" of the "named
          insured".


    27. "Legal services" means fees charged by an attorney:

          a. To determine the applicability of and actions necessary for the "insured organization" to
             comply with "breach notice laws" due to an actual or reasonably suspected theft, loss or
             "unauthorized disclosure" of "personally identifiable information";




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          b. To provide necessary legal advice to the "insured organization" in responding to actual or
               suspected theft, loss or "unauthorized disclosure" of "personally identifiable information";
               and


          c. To advise the "insured organization" in responding to credit card system operating
               regulation requirements for any actual or suspected compromise of credit card data that is
               required to be reported to the "insured organization's" merchant bank under the terms of a
               "merchant services agreement", but "legal services" does not include fees incurred in any
               actual or threatened legal proceeding, arbitration or mediation, or any advice in responding
               to credit card system operating regulation in connection with an assessment of "PCI Fines,
               Expenses, and Costs".


          "Legal services" will be provided in accordance with the terms and conditions set forth in this
          Coverage Form and will be provided by an attorney selected by the "insured organization" in
          consultation with us, from the list of attorneys in the "information packet".


    28. "Loss" means:


          a. "Business Interruption Loss";

          b. "Damages";

          c. "Claims Expenses";

          d. "Cyber Extortion Loss";

          e. "Data Protection Loss";

          f.   "Public Relations and Crisis Management Expenses";

          g. "Penalties";

          h. "PCI Fines, Expenses and Costs"; and

          i.   "Privacy Breach Response Services".


    29. "Malicious code" means any virus, Trojan horse, worm or any other similar software program,
          code or script intentionally designed to insert itself into computer memory or onto a computer
          disk and spread itself from one computer to another.


    30. "Management control" means:

          a. Owning, directly or indirectly, more than fifty percent (50%) of the outstanding securities,
               representing the present right to vote for the election of an entity's directors, members of
               the   board   of   managers,   management         committee members          or   persons   serving   in   a
               functionally equivalent role for such an entity operating or organization outside of the
               United States; or


          b. Having the right, pursuant to a written contract or the bylaws, charter, operating agreement
               or similar documents of an entity to elect, appoint or designate a majority of:


               (1) The Board of Directors of a corporation;

               (2) The Management Committee of a joint venture or partnership;

               (3) The Management Board of a Limited Liability Company; or

               (4) Persons serving in a functionally equivalent role for such an entity operating or
                     organized outside of the United States.


    31. "Media material" means             any     information   in   electronic   form,   including   words,   sounds,
          numbers,       images,   or   graphics   and shall     include   advertising,    video,   streaming   content,
          web-casting, online forum, bulletin board and chat room content, but does not mean computer
          software or the actual goods, products or services described, illustrated or displayed in such
          "media material".




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    32. "Merchant services agreement" means any agreement between an "insured" and a financial
          institution,     credit/debit   company,   credit/debit     card     processor   or   independent   service
          operator enabling an "insured" to accept credit card, debit card, prepaid card, or other
          payment cards for payments or donations.


    33. "Notification services" means:

          1. Notification by first class mail or e-mail to United States or Canadian residents; and

          2. Notification by first class mail or e-mail to individuals residing outside the United States or
              Canada, but only to the extent reasonably practicable.


          "Notification services" will be provided by a service provider selected by us in consultation with
          the "insured organization" from the list of service providers in the "information packet".



    34.   "Notified individual" means an individual person to whom notice is given or attempted to be
          given under Paragraph 3. of Section I.B. Privacy Breach Response Services pursuant to a
          "breach notice law" as defined in Paragraph A.2. of Section XI. DEFINITIONS.


    35. "Optional extension period" means period of time described in Section VII. EXTENSION
          PERIODS, Paragraph B. Optional Extension Period, wherein this Coverage Form provides
          extra days after the end of the "policy period" for an "insured" to report a "claim" that occurred
          during the "policy period".


    36. "PCI Fines, Expenses and Costs" means the direct monetary fines, penalties, reimbursements,
          fraud recoveries or assessments owed by the "insured organization" under the terms of a
          "merchant services agreement", but only where such fines, penalties, reimbursements, fraud
          recoveries or assessments result both from the "insured organization's" actual or alleged
          noncompliance with published Payment Card Industry (PCI) Data Security Standards and from
          a   data   breach    caused by    an   incident   (or   reasonably    suspected   incident)   described   in
          Paragraphs 1. and 2. of Section I.A. Information Security And Privacy Liability ; provided,
          that the term "PCI Fines, Expenses and Costs" shall not include, or mean any charge backs,
          interchangeable fees, discount fees or prospective service fees.


    37. "Penalties" means:

          a. Any civil fine or punitive sum of money payable to a governmental entity that was imposed in
              a "regulatory proceeding" by the Federal Trade Commission, Federal Communications
              Commission, or any other federal, state, local or foreign governmental entity, in such
              entity's regulatory or official capacity; the insurability of "penalties" shall be in accordance
              with the law in the applicable venue that most favors coverage for such "penalties"; and


          b. Amounts which the "insured" is legally obligated to deposit in a fund as equitable relief for
              the payment of consumer claims due to an adverse judgment or settlement of a "regulatory
              proceeding"; but shall not include payments to charitable organizations or disposition of
              such funds other than for payment of consumer claims for losses caused by an event covered
              pursuant to Paragraphs 1., 2., or 3. of Section I.A. Information Security And Privacy
              Liability;

          "Penalties" does not mean:


          a. Costs to remediate or improve "computer systems";

          b. Costs to establish, implement, maintain, improve or remediate security or privacy practices,
              procedures, programs or policies;


          c. Audit, assessment, compliance or reporting costs; or

          d. Costs to protect the confidentiality, integrity and/or security of "personally identifiable
              information" from theft, loss or disclosure.




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    38. "Period of restoration" means the time period that:

          a. Begins on the specific date and time that the actual and necessary interruption or
               suspension of "computer systems" first occurred; and


          b. Ends on the specific date and time that the actual and necessary interruption or suspension
               of "computer systems" ends, or would have ended had the "insured" acted with due
               diligence and dispatch;


          Provided that in no event shall the "period of restoration" mean more than or exceed 30 days;
          and provided further that restoration of "computer systems" will not end the "period of
          restoration" if such systems are actually and necessarily interrupted or suspended again within
          one hour of such restoration due to the same cause as the original interruption or suspension.


    39. "Personally identifiable information" means:

          a. Information concerning the individual that constitutes nonpublic personal information as
               defined in the Gramm-Leach Bliley Act of 1999, as amended, and regulations issued
               pursuant the Act;


          b. Medical or health care information concerning the individual, including protected health
               information as defined in the Health Insurance Portability and Accountability Act of 1996, as
               amended, and regulations issued pursuant to the Act;


          c.   Information concerning the individual that is defined as private personal information under
               statutes enacted to protect such information in foreign countries, for "claims" subject to the
               law of such jurisdiction;

          d. Information concerning the individual that is defined as private personal information under
               a "breach notice law";


          e. Education records as defined by the Family Educational Rights and Privacy Act (FERPA),
               which are directly related to an individual's attendance as a student; or


          f.   The individuals drivers' license or state identification number, social security number,
               unpublished telephone number, and credit, debit, or other financial account numbers in
               combination with associated security codes, access codes, passwords or pins;

          if such information allows an individual to be uniquely and reliably identified or contacted or
          allows access to the individuals financial account or medial record information.


          "Personally identifiable information" does not include publicly available information that is
          lawfully made available to the general public from government records


    40. "Policy     period"     means   the   period   of   time   between   the   inception    date   shown    in   the
          "declarations" and the effective date of termination, expiration or cancellation of this insurance
          and specifically excludes any "optional extension period" or any prior policy period or renewal
          period.


    41. "Privacy breach response services" means the services and coverage provided by Section I.B.
          Privacy Breach Response Services.


    42. "Privacy law" means a federal, state or foreign statute or regulation requiring the "insured
          organization"    to   protect    the   confidentiality   and/or    security   of   "personally   identifiable
          information".


    43. "Privacy policy" means the "insured organization's" public declaration of its policy for
          collection, use, disclosure, sharing, dissemination and correction or supplementation of, and
          access to "personally identifiable information".




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    44. "Public relations and crisis management expense" shall mean the following costs approved in
          advance      by     us,   and   which   are   directly   related   to   mitigating   harm   to   the   "insured
          organization's" reputation or potential "loss" covered by this Coverage Form resulting from an
          incident described in Paragraphs 1. and 2. of Section I.A. Information Security And Privacy
          Liability or from a "public relations event":

          a. Costs incurred by a public relations or crisis management consultant;

          b. Costs for media purchasing or for printing or mailing materials intended to inform the
               general public about the incident, such costs to be limited to the amount noted in the
               Schedule or Declarations Page for Section I.B. Privacy Breach Response Services;

          c. For incidents or events in which notifications services are not otherwise provided pursuant
               to   Section    I.A. Information Security And Privacy Liability and B. Privacy Breach
               Response Services, costs to provide notifications and notices via e-mail or first class mail to
               customers where such notifications are not required by law (voluntary notifications),
               including non-affected customers of the "insured organization";

          d. Costs to provide government mandated public notices related to breach events (including
               such notifications required under HITECH);

          e. Costs to provide services to restore healthcare records of "notified individuals" residing in
               the United States whose "personally identifiable information" was compromised as a result
               of theft, loss or "unauthorized disclosure"; and

          f.   Other costs approved in advance by us.

          "Public relations and crisis management expenses" must be incurred no later than 12 months
          following the reporting of such "claim" or breach event to us and, with respect to Paragraphs a.
          and b. above, within 90 days following the first publication of such "claim" or incident. If
          voluntary notifications are provided, e-mail notification will be provided in lieu of first class mail
          to the extent practicable.


    45. "Public relations event" means the publication or imminent publication in a newspaper (or
          other general circulation print publication) or on radio, television or a publically accessible
          website of a covered "claim" under this Coverage Form.


    46. "Regulatory proceeding" means a request for information, civil investigative demand or civil
          proceeding commenced by service of a complaint or similar proceeding brought by or on behalf
          of the Federal Trade Commission, Federal Communications Commission, or any federal, state,
          local or foreign governmental entity in such entity's regulatory or official capacity in connection
          with such proceeding.


    47. "Related party" means the "insured organization" and any past, present or future employees,
          directors,    officers, managers of a         limited    liability company,    partners   or   natural person
          independent contractors of the "insured organization".


    48. "Retroactive date" means the date set forth in the Declarations.

    49. "Security breach" means:

          a. "Unauthorized access or use" of "computer systems", including "unauthorized access or
               use" resulting from the theft of a password from a "computer system" or from any "insured";


          b. A denial or service attack against "computer systems" or "computer systems" that are not
               owned, operated or controlled by an "insured"; or

          c.   Infection of "computer systems" by malicious code or transmission of malicious code from
               "computer systems".

          A series of continuing "security breaches", related or repeated "security breaches", or multiple
          "security breaches" resulting from a continuing failure of "computer security" shall be
          considered a single "security breach" and be deemed to have occurred at the time of the first
          such "security breach".




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     50. "Subsidiary" means any corporation, limited liability company, joint venture or partnership
           while the "named insured" has "management control" over such entity, if the "named
           insured":

           a. had "management control" over such entity on the inception date of this Coverage Form or
              such entity was an "insured" under a policy issued by the Underwriters of which this
              Coverage Form is a renewal; or

           b. acquires "management control" after the inception date of this Coverage Form:


           provided that this Coverage Form only provides coverage for acts, errors, omissions, incidents
           or events that take place while the "named insured" has "management control" over such
           entity.


     51. "Third party information" means any trade secret, data, design, interpretation, forecast,
           formula, method, practice, credit or debit card magnetic strip information, process, record,
           report or other item of information of a third party not insured under this Coverage Form which
           is not available to the general public and is provided to the "insured" subject to a mutually
           executed written confidentiality agreement or which the "insured organization" is legally
           required to maintain in confidence; however, "third party information" shall not include
           "personally identifiable information".


     52. "Unauthorized access or use" means the gaining of access to or use of "computer systems" by
           an unauthorized person or persons or the use of "computer systems" in an unauthorized
           manner".


     53. "Unauthorized disclosure" means the disclosure of (including disclosure resulting from
           phishing) or access to information in a manner that is not authorized by the "insured
           organization" and is without knowledge of, consent, or acquiescence of any member of the
           "control group".


     54. "Waiting period" means the period of time beginning when the "period of restoration" begins
           and expiring after the lapse of the number of hours set forth in the Declarations. A "waiting
           period" shall apply to each "period of restoration".



XII. CONDITIONS APPLICABLE TO PRIVACY BREACH RESPONSE SERVICES AND COVERAGE

   A. With respect to Section I.H. First Party Network Business Interruption, the "insured" must
       forward written notice by express mail, email, through our web or mobile app portals, or facsimile
       to us immediately upon discovery of alteration, corruption, destruction, deletion or damage to or

       inability to access a "data asset" to which this insurance applies. All covered "data protection loss"
       must be discovered and reported (in accordance with Section XIII. PROOF AND APPRAISAL OF
       LOSS below) to us no later than six months after the end of the "policy period".


   B. Insuring Agreements A., C., D., G. and H. only apply if:


       1. The "insured organization" initiates the notification services described in Paragraph 3. Section
           I.B. Privacy Breach Response Services as soon as practicable after the "insured's" discovery
           of the "claim";


       2. The "claim" is made against the "insured" no later than two years after the "insured
           organization" initiates the notification services described in Paragraph 3. Section I.B. Privacy
           Breach Response Services; and


       3. The "insured" reports the "claim" to us in writing as soon as practicable.




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XIII. PROOF AND APPRAISAL OF LOSS

    A. Proof of Loss. With respect to Section I.G. First Party Data Protection and I.H. First Party
        Network Business Interruption, before coverage will apply, the "named insured" must:


        1.   Prepare and submit to us a written and detailed proof of loss sworn by an officer of the "named
             insured" within 90 days after the "insured" discovers a "data protection loss" or the "insured
             organization" sustains a "business interruption loss" (as applicable), but in no event later than
             six months following the end of the "policy period" (unless such period has been extended by
             our written consent). Such proof of loss shall include a narrative with full particulars of such
             "data protection loss" or "business interruption loss", including, the time, place and cause of
             the "data protection loss" or "business interruption loss", a detailed calculation of any "data
             protection loss" or "business interruption loss", the "insured organization's" interest and the
             interest of all others in the property, the sound value thereof and the amount of "data
             protection loss" or "business interruption loss" or damage thereto and all other insurance
             thereon; and


        2.   Upon our request, submit to an examination under oath and provide copies of the underlying
             documents, data and materials that reasonably relate to or are part of the basis of the claim for
             such "data protection loss" or "business interruption loss".


        The costs and expenses of preparing and submitting a proof of loss, and establishing or proving
        "data protection loss", "business interruption loss" or any other "loss" under this insurance shall
        be the "insured's" obligation, and are not covered under this insurance.

    B. Appraisal of Loss. If we do not agree with the "named insured" on the amount of a "loss", each
        party shall select and pay a qualified and disinterested appraiser or other qualified expert (the
        "Appraiser") to state the amount of the "loss" or reasonable expenses, and the Appraisers shall
        choose an umpire. If the Appraisers cannot agree on an umpire, the "named insured" or we may
        request a judge of a court having jurisdiction to make the selection. Each Appraiser shall submit
        the amount of the "loss" or reasonable expenses to the umpire, and agreement by the umpire and
        at least one of the Appraisers as to the amount of a "loss" shall be binding on all Insureds and us.
        The "named insured" and we will equally share the costs of the umpire and any other costs other
        than the cost of the Appraisers. This provision shall govern only the appraisal of the amount of a
        "loss", and shall not control the determination of whether such "loss" is otherwise covered by this
        insurance. We will still retain and do not waive our rights to deny coverage or enforce any
        obligation under this insurance.


XIV. RECOVERED PROPERTY

    If the "insured" or we recover any property, money or "data assets" after a loss payment is made, the

    party making the recovery must give prompt notice of the recovery to the other party. If the recovered
    property is money or other funds, the recovery shall be applied first to any costs incurred by us in
    recovering the property, second to loss payments made by us, and third to any retention payment
    made by the "named insured". If property other than money or funds is recovered, then the "named
    insured" may keep the recovered property and return the loss payment, plus any costs of recovery
    incurred by us, or keep the loss payment less the costs of recovery incurred by us and transfer all
    rights in the property to us.


XV. OBLIGATIONS IN THE EVENT OF AN EXTORTION THREAT

    A. Insured's Duty of Confidentiality

        The "insured" shall use its best efforts at all times to ensure that knowledge regarding the
        existence of this insurance for "cyber extortion loss" afforded by this insurance is kept confidential.
        We may terminate the insurance provided by this Coverage Form for "cyber extortion loss" upon
        ten days written notice to the "named insured" if the existence of insurance for "cyber extortion
        loss" provided by this insurance becomes public knowledge or is revealed to a person making an
        "extortion threat" through no fault of ours.




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     B. Insured Organization's Obligation to Investigate Extortion Threat and Avoid or Limit
         Extortion Payment

         Prior to the payment of any "extortion payment", the "insured" shall make every reasonable effort
         to determine that the "extortion threat" is not a hoax, or otherwise not credible. The "insured"
         shall take all steps reasonable and practical to avoid or limit the payment of an "extortion
         payment".


     C. Conditions Precedent

         As conditions precedent to this insurance for "cyber extortion loss" under the terms of this
         insurance:

         1.   Named Insured's Obligation to Demonstrate Duress

              The "insured" must be able to demonstrate that the "extortion payment" was surrendered
              under duress.


         2.   Notification of Police

              The "insured" shall allow us or their representative to notify the police or other responsible law
              enforcement authorities of any "extortion threat".


 XVI. CANCELLATION

     A. The "named insured" may only cancel this Coverage Form by mailing to the Company written
         notice stating when, not less than 30 days thereafter, such cancellation shall be effective.


     B. The Company may cancel this Coverage Form for any reason, except non-payment of premium, by
         mailing or delivering to "named insured" at the address shown in the Declarations, written notice
         stating when, not less than 30 days thereafter, such cancellation shall be effective. The Company
         may cancel this Coverage Form for non-payment of premium, by mailing or delivering to the
         "named insured" at the address shown in the Declarations, written notice stating when, not less
         than ten days thereafter, such cancellation shall be effective. The mailing of notice as aforesaid
         shall be sufficient proof of notice. The effective date and hour of cancellation as stated in the notice
         shall become the end of the "Policy Period". Delivery of such written notice shall be equivalent to
         mailing.

     C. If this Coverage Form is cancelled, the Company will send the "named insured" any unearned
         premium refund due. If the Company cancels, the refund will be pro rata. Refund premium
         adjustments may be made at the time cancellation becomes effective, but payment or tender of
         unearned premium is not a condition of cancellation.


         If the "named insured" cancels, the refund may be less than pro rata. The cancellation will be
         effective even if the Company has not made or offered a refund. However, premium shall be
         deemed fully earned if any "claim" under this Coverage Form is reported to the Company on or
         before the date of cancellation.



XVII. NONRENEWAL


     If the Company decides not to renew this Coverage Form, the Company will mail or deliver to the first
     "named insured" shown in the Declarations, written notice of the non-renewal not less than 60 days
     before the expiration date.

     If notice is mailed, proof of mailing will be sufficient notice of non-renewal.




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                                                                                                                       BUSINESSOWNERS

                                                                                                                              BP 00 02 12 99




                                                BUSINESSOWNERS SPECIAL
                                               PROPERTY COVERAGE FORM


Various provisions in this policy restrict coverage.                                      (c)   Floor coverings; and
Read the entire policy carefully to determine rights,
                                                                                          (d)   Appliances       used       for   refrigerating,
duties and what is and is not covered.
                                                                                                ventilating,      cooking,         dishwashing
Throughout this policy the words "you" and "your"                                               or laundering;

refer to the Named Insured shown in the Declara-
                                                                                    (6)   If not covered by other insurance:
tions. The words "we", "us" and "our" refer to the
                                                                                          (a)   Additions under construction, alter-
Company providing this insurance.
                                                                                                ations and repairs to the buildings
Other words and phrases that appear in quotation
                                                                                                or structures;
marks have special meaning. Refer to Section H -
                                                                                          (b)   Materials, equipment, supplies and
Property Definitions.
                                                                                                temporary structures, on or within
A.   Coverage
                                                                                                100 feet of the described premises,
     We will pay for direct physical loss of or damage                                          used    for    making       additions,      alter-

     to Covered Property at the premises described                                              ations or repairs to the buildings or

     in the Declarations caused by or resulting from                                            structures.

     any Covered Cause of Loss.
                                                                               b.   Business Personal Property located in or

     1.   Covered Property                                                          on the buildings at the described premises

                                                                                    or in the open (or in a vehicle) within 100
          Covered          Property,     as   used    in    this   policy,
                                                                                    feet of the described premises, including:
          means the type of property as described in

          this section, A.1., and limited in A.2., Property                         (1)   Property you own that is used in your

          Not Covered, if a Limit of Insurance is shown                                   business;
          in the Declarations for that type of property.
                                                                                    (2)   Property of others that is in your care,

          a.   Buildings,         meaning      the    buildings      and                  custody or control, except as otherwise
               structures      at   the    premises        described    in                provided        in    Loss    Payment          Property

               the Declarations, including:                                               Loss Condition E.6.d.(3)(b);

               (1)   Completed additions;                                           (3)   Tenant's              improvements                    and

                                                                                          betterments.            Improvements                  and
               (2)   Fixtures, including outdoor fixtures;
                                                                                          betterments          are    fixtures,     alterations,
               (3)   Permanently installed:
                                                                                          installations or additions:

                     (a)   Machinery; and
                                                                                          (a)   Made      a    part    of   the    building      or

                     (b)   Equipment;                                                           structure      you     occupy      but     do   not

                                                                                                own; and
               (4)   Your personal property in apartments

                     or rooms furnished by you as landlord;                               (b)   You acquired or made at your ex-

                                                                                                pense     but    cannot      legally     remove;
               (5)   Personal property owned by you that
                                                                                                and
                     is    used   to     maintain    or    service     the
                     buildings      or   structures    or    the   prem-            (4)   Leased       personal        property      for    which

                     ises, including:                                                     you    have     a    contractual        responsibility

                                                                                          to    insure,    unless      otherwise       provided
                     (a)   Fire extinguishing equipment;
                                                                                          for under Paragraph A.1.b.(2).
                     (b)   Outdoor furniture;




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   2.   Property Not Covered                                                      (2)   Hot water boilers or other water heat-
                                                                                        ing equipment caused by or resulting
        Covered Property does not include:
                                                                                        from any condition or event inside such
        a.    Aircraft,      automobiles,        motortrucks          and
                                                                                        boilers    or   equipment,         other      than    an
              other      vehicles     subject    to   motor     vehicle
                                                                                        explosion.
              registration;
                                                                                  (3)   Property that is missing, but there is
        b.    "Money"        or   "securities"       except    as     pro-
                                                                                        no     physical      evidence      to     show      what
              vided in the:
                                                                                        happened to it, such as shortage dis-

              (1)   Money and Securities Optional Cover-                                closed on taking inventory. This limita-

                    age; or                                                             tion    does    not    apply    to      the   Optional
                                                                                        Coverage for Money and Securities.
              (2)   Employee Dishonesty Optional Cover-

                    age;                                                          (4)   Property that has been transferred to
                                                                                        a person or to a place outside the de-
        c.    Contraband, or property in the course of
                                                                                        scribed premises on the basis of un-
              illegal transportation or trade;
                                                                                        authorized instructions.
        d.    Land (including land on which the prop-
                                                                             b.   With       respect    to    glass   (other      than      glass
              erty is located), water, growing crops or
                                                                                  building blocks) that is part of the interior
              lawns;
                                                                                  of    a    building   or    structure,     or   part      of an
        e.    Outdoor fences, radio or television anten-                          outdoor sign, we will not pay more than
              nas (including satellite dishes) and their                          $500 for the total of all loss or damage in
              lead-in       wiring,   masts      or    towers,      signs         any one occurrence. Subject to the $500
              (other than         signs   attached     to    buildings),          limit on all loss or damage, we will not pay
              trees, shrubs or plants, all except as pro-                         more than $100 for each plate, pane, mul-
              vided in the:                                                       tiple plate insulating unit, radiant or solar

              (1)   Outdoor Property Coverage Extension;                          heating panel, jalousie, louver or shutter.

                    or                                                            This Limitation does not apply to loss or

              (2)   Outdoor Signs Optional Coverage;                              damage by the "specified causes of loss",

                                                                                  except vandalism.
        f.    Watercraft         (including   motors,        equipment

              and accessories) while afloat.                                 c.   We will not pay for loss of or damage to

                                                                                  fragile       articles       such     as        glassware,
   3.   Covered Causes Of Loss
                                                                                  statuary,        marbles,            chinaware             and
        Risks Of Direct Physical Loss unless the loss                             porcelains,      if   broken,       unless      caused      by
        is:                                                                       the "specified causes of loss" or building

        a.    Excluded in Section B., Exclusions; or                              glass breakage. This restriction does not

                                                                                  apply to:
        b.    Limited in Paragraph A.4., Limitations;
                                                                                  (1)   Glass that is part of the interior of a
        that follow.
                                                                                        building or structure;
   4.   Limitations
                                                                                  (2)   Containers       of   property       held     for   sale;
        a.    We will not pay for loss of or damage to:                                 or

              (1)   Steam boilers, steam pipes, steam en-                         (3)   Photographic          or   scientific     instrument
                    gines or steam turbines caused by or                                lenses.
                    resulting from any condition or event
                                                                             d.   For loss or damage by theft, the following
                    inside such equipment. But we will pay
                                                                                  types of property are covered only up to
                    for loss of or damage to such equip-
                                                                                  the limits shown:
                    ment caused by or resulting from an
                                                                                  (1)   $2,500 for furs, fur garments and gar-
                    explosion of gases          or    fuel   within   the
                    furnace of any fired vessel or within the                           ments trimmed with fur.

                    flues   or    passages      through      which    the
                    gases of combustion pass.




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             (2)   $2,500      for     jewelry,       watches,         watch    b.   Preservation Of Property
                   movements,           jewels,       pearls,     precious
                                                                                     If it is necessary to move Covered Prop-
                   and     semi-precious              stones,       bullion,
                                                                                     erty from the described premises to pre-
                   gold,   silver,      platinum       and    other      pre-
                                                                                     serve it from loss or damage by a Covered
                   cious alloys or metals. This limit does
                                                                                     Cause of Loss, we will pay for any direct
                   not apply to jewelry and watches worth
                                                                                     physical loss of or damage to that prop-
                   $100 or less per item.
                                                                                     erty:

             (3)   $2,500      for    patterns,       dies,   molds      and
                                                                                     (1)   While it is being moved or while tem-
                   forms.
                                                                                           porarily stored at another location; and

   5.   Additional Coverages
                                                                                     (2)   Only        if   the     loss       or   damage          occurs
        a.   Debris Removal                                                                within 30 days after the property is first

                                                                                           moved.
             (1)   We will pay your expense to remove
                   debris of Covered Property caused by                         c.   Fire Department Service Charge

                   or resulting from a Covered Cause of
                                                                                     When the fire department is called to save
                   Loss that occurs during the policy pe-
                                                                                     or protect Covered Property from a Cov-
                   riod. The expenses will be paid only if
                                                                                     ered        Cause       of    Loss,       we     will    pay       up   to
                   they are reported to us in writing within
                                                                                     $1,000 for your liability for fire department
                   180 days of the earlier of:
                                                                                     service charges:

                   (a)   The date of direct physical loss or
                                                                                     (1)   Assumed            by     contract         or      agreement
                         damage; or
                                                                                           prior to loss; or

                   (b)   The end of the policy period.
                                                                                     (2)   Required by local ordinance.

             (2)   The most we will pay under this Addi-
                                                                                d.   Collapse
                   tional Coverage is 25% of:
                                                                                     (1)   We will pay for direct physical loss or
                   (a)   The amount we pay for the direct
                                                                                           damage to Covered Property, caused
                         physical loss of or damage to Cov-
                                                                                           by collapse of a building or any part of
                         ered Property; plus
                                                                                           a building insured under this policy, if

                   (b)   The deductible in this policy appli-                              the collapse is caused by one or more

                         cable to that loss or damage.                                     of the following:

                   But    this   limitation      does       not   apply    to              (a)   The        "specified         cause         of   loss"      or

                   any     additional         debris       removal      limit                    breakage of building glass, all only

                   provided in Paragraph (4) below.                                              as insured against in this policy;

             (3)   This Additional Coverage does not ap-                                   (b)   Hidden decay;

                   ply to costs to:
                                                                                           (c)   Hidden insect or vermin damage;

                   (a)   Extract      "pollutants"         from   land     or
                                                                                           (d)   Weight of people or personal prop-
                         water; or
                                                                                                 erty;
                   (b)   Remove,           restore    or    replace      pol-
                                                                                           (e)   Weight        of    rain      that    collects         on   a
                         luted land or water.
                                                                                                 roof;
             (4)   If:
                                                                                           (f)   Use of defective material or meth-
                   (a)   The sum of direct physical loss or                                      ods in construction, remodeling or
                         damage        and      debris      removal       ex-                    renovation             if    the   collapse        occurs

                         pense exceeds           the    Limit     of   Insur-                    during           the        course     of        the    con-
                         ance; or                                                                struction, remodeling or renovation.

                                                                                                 However, if the collapse occurs af-
                   (b)   The     debris      removal        expense       ex-
                                                                                                 ter        construction,            remodeling              or
                         ceeds       the    amount      payable        under
                                                                                                 renovation              is     complete           and       is
                         the 25% Debris Removal Coverage
                                                                                                 caused in part by a cause of loss
                         limitation in Paragraph (2) above;
                                                                                                 listed in d.(1)(a) through d.(1)(e), we
                   we will pay up to an additional $10,000
                                                                                                 will       pay    for       the    loss     or    damage
                   for   each        location    in    any    one      occur-
                                                                                                 even if use of defective material or
                   rence under the Debris Removal Addi-
                                                                                                 methods           in    construction,            remodel-
                   tional Coverage.
                                                                                                 ing or renovation, contributes to the
                                                                                                 collapse.




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           (2)   If the direct physical loss or damage                                 f.   Business Income
                 does not involve collapse of a building
                                                                                            (1)   Business Income
                 or any part of a building, we will pay for
                                                                                                  We will pay for the actual loss of Busi-
                 loss    or     damage           to    Covered           Property
                                                                                                  ness         Income     you       sustain       due     to    the
                 caused         by    the    collapse              of    personal
                                                                                                  necessary             suspension          of    your    "oper-
                 property only if:
                                                                                                  ations" during the "period of restora-
                 (a)   The      personal         property           which     col-
                                                                                                  tion". The suspension must be caused
                       lapses is inside a building insured
                                                                                                  by direct physical loss of or damage to
                       under this policy; and
                                                                                                  property          at   the    described              premises.

                 (b)   The      collapse          was         caused        by    a               The loss or damage must be caused
                       cause         of    loss        listed       in    d.(1)(a)                by or result from a Covered Cause of

                       through d.(1)(f) above.                                                    Loss. With respect to loss of or dam-
                                                                                                  age to personal property in the open
           (3)   With respect to the following property:
                                                                                                  or personal property in a vehicle, the
                 (a)   Awnings;
                                                                                                  described            premises           include       the    area

                 (b)   Gutters and downspouts;                                                    within 100 feet of the site at which the

                                                                                                  described premises are located.
                 (c)   Yard fixtures;
                                                                                                  With         respect    to   the     requirements             set
                 (d)   Outdoor swimming pools;
                                                                                                  forth in the preceding paragraph, if you
                 (e)   Piers, wharves and docks;                                                  occupy only part of the site at which

                 (f)   Beach          or     diving           platforms           or              the     described           premises           are     located,

                       appurtenances;                                                             your premises means:


                 (g)   Retaining walls; and                                                       (a)    The     portion       of   the     building          which

                                                                                                         you rent, lease or occupy; and
                 (h)   Walks, roadways                  and     other      paved

                       surfaces;                                                                  (b)    Any area within the building or on

                                                                                                         the     site    at    which        the        described
                 if the collapse is caused by a cause of
                                                                                                         premises are           located,          if   that    area
                 loss    listed      in    d.(1)(b)        through        d.(1)(f),
                                                                                                         services, or is used to gain access
                 we will pay for loss or damage to that
                                                                                                         to, the described premises.
                 property only if such loss or damage is

                 a     direct    result      of       the     collapse       of   a               We will only pay for loss of Business

                 building insured under this policy and                                           Income          that    you       sustain        during       the

                 the property is Covered Property under                                           "period of restoration" and that occurs

                 this policy.                                                                     within 12 consecutive months after the
                                                                                                  date of direct physical loss or damage.
           (4)   Collapse         does       not        include          settling,
                                                                                                  We will only            pay       for    ordinary       payroll
                 cracking, shrinkage, bulging or expan-
                                                                                                  expenses for 60 days following the date
                 sion.
                                                                                                  of direct physical loss or damage.
      e.   Water Damage, Other Liquids, Powder Or
                                                                                                  Business Income means the:
           Molten Material Damage
                                                                                                        (i)    Net     Income       (Net Profit or Loss
           If loss or damage caused by or resulting
                                                                                                               before income taxes) that would
           from covered water or other liquid, pow-
                                                                                                               have been earned or incurred if
           der or molten material damage loss oc-
                                                                                                               no physical loss or damage had
           curs, we will also pay the cost to tear out
                                                                                                               occurred, but not including any
           and       replace     any       part       of     the   building       or
                                                                                                               Net      Income       that        would        likely
           structure to repair damage to the system
                                                                                                               have been earned as a result of
           or appliance from which the water or other
                                                                                                               an      increase      in     the        volume    of
           substance escapes.
                                                                                                               business due to favorable busi-
           We will not pay the cost to repair any de-                                                          ness      conditions         caused        by    the
           fect that caused the loss or damage; but                                                            impact of the Covered Cause of
           we will pay the cost to repair or replace                                                           Loss on customers or on other
           damaged              parts       of        fire     extinguishing                                   businesses; and
           equipment if the damage:
                                                                                                        (ii)   Continuing normal operating ex-
           (1)   Results in discharge of any substance                                                         penses incurred, including pay-
                 from an automatic fire protection sys-                                                        roll.
                 tem; or

           (2)   Is directly caused by freezing.




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              Ordinary payroll expenses mean pay-                                       Loss         of       Business           Income          must      be
              roll    expenses        for   all   your   employees                      caused by direct physical loss or dam-

              except:                                                                   age at the described premises caused
                                                                                        by      or       resulting             from    any        Covered
              (a)    Officers;
                                                                                        Cause of Loss.
              (b)    Executives;
                                                                                  This Additional Coverage is not subject to
              (c)    Department Managers;
                                                                                  the Limits of Insurance.

              (d)    Employees under contract; and
                                                                             g.   Extra Expense

              (e)    Additional Exemptions shown in the
                                                                                  (1)   We will pay necessary Extra Expense
                     Declarations as:
                                                                                        you incur during the "period of resto-

                    (i)    Job Classifications; or                                      ration"          that       you    would        not       have     in-

                                                                                        curred           if    there       had       been        no     direct
                    (ii)   Employees.
                                                                                        physical loss or damage to property at
              Ordinary payroll expenses include:                                        the     described                premises.         The     loss    or

              (a)    Payroll;                                                           damage must be caused by or result

                                                                                        from         a   Covered           Cause       of    Loss. With
              (b)    Employee        benefits,      if   directly   re-
                                                                                        respect to loss of or damage to per-
                     lated to payroll;
                                                                                        sonal property in the open or personal
              (c)    FICA payments you pay;                                             property              in   a     vehicle,      the       described

              (d)    Union dues you pay; and                                            premises include the area within 100

                                                                                        feet of the site at which the described
              (e)    Workers' compensation premiums.
                                                                                        premises are located.
        (2)   Extended Business Income
                                                                                        With         respect        to    the       requirements          set
              If    the    necessary        suspension       of    your                 forth in the preceding paragraph, if you
              "operations" produces a Business In-                                      occupy only part of the site at which
              come loss          payable      under      this   policy,                 the     described                premises          are    located,
              we will pay for the actual loss of Busi-                                  your premises means:
              ness Income you incur during the pe-
                                                                                        (a)    The        portion         of    the   building        which
              riod that:
                                                                                               you rent, lease or occupy; and
              (a)    Begins on the date property except
                                                                                        (b)    Any area within the building or on
                     finished stock is actually repaired,
                                                                                               the       site       at    which        the       described
                     rebuilt or replaced and "operations"
                                                                                               premises are                located,         if   that    area
                     are resumed; and
                                                                                               services, or is used to gain access
              (b)    Ends on the earlier of:                                                   to, the described premises.

                    (i)    The date you could restore your                        (2)   Extra            Expense          means            expense         in-
                           "operations",          with   reasonable                     curred:
                           speed, to the level which would
                                                                                        (a)    To     avoid         or minimize the suspen-
                           generate     the    Business         Income
                                                                                               sion       of       business          and    to    continue
                           amount that would have existed
                                                                                               "operations":
                           if   no   direct    physical      loss    or
                                                                                              (i)    At the described premises; or
                           damage had occurred; or

                    (ii)   30   consecutive        days    after    the                       (ii)   At       replacement             premises          or at
                                                                                                     temporary                 locations,        including
                           date determined in (2)(a) above.
                                                                                                     relocation            expenses,             and costs
              However,           Extended      Business         Income
                                                                                                     to       equip       and        operate       the     re-
              does not apply to loss of Business In-
                                                                                                     placement                 or     temporary            lo-
              come incurred as a result of unfavora-
                                                                                                     cations.
              ble business conditions caused by the
                                                                                        (b)    To        minimize              the    suspension            of
              impact of the Covered Cause of Loss
              in the area where the described prem-                                            business             if    you        cannot       continue
                                                                                               "operations".
              ises are located.




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                  (c)    To:                                                                  (1)   3 consecutive weeks after the time of
                                                                                                    that action; or
                         (i)    Repair or replace any property;

                                or                                                            (2)   When your Business Income coverage
                                                                                                    ends;
                        (ii)    Research, replace or restore the

                                lost    information              on    damaged                whichever is later.
                                "valuable papers and records":
                                                                                              The    definitions       of   Business         Income       and

                         to the extent it reduces the amount                                  Extra Expense contained in the Business
                         of loss that otherwise would                         have            Income        and   Extra          Expense       Additional

                         been payable under this Additional                                   Coverages also apply to this Civil Author-
                         Coverage or Additional Coverage f.                                   ity Additional Coverage. The Civil Author-
                         Business Income.                                                     ity Additional Coverage is not subject to

                                                                                              the Limits of Insurance.
            We will            only    pay    for   Extra Expense that
            occurs within 12 consecutive months after                                    j.   Money Orders And Counterfeit Paper Cur-

            the date of direct physical loss or damage.                                       rency
            This Additional Coverage is not subject to
                                                                                              We will pay for loss due to the good faith
            the Limits of Insurance.
                                                                                              acceptance of:
      h.    Pollutant Clean Up And Removal
                                                                                              (1)   Any U.S. or Canadian post office, ex-

            We      will        pay     your       expense            to    extract                 press company, or national or state (or
            "pollutants" from land or water at the de-                                              Canadian)     chartered           bank    money or-

            scribed            premises       if    the    discharge,            dis-               der that is not paid upon presentation

            persal,            seepage,       migration,              release      or               to the issuer; or

            escape of the "pollutants" is caused by or
                                                                                              (2)   Counterfeit United States or Canadian
            results from a Covered Cause of Loss that
                                                                                                    paper currency;
            occurs during the policy period. The ex-
                                                                                              in exchange for merchandise, "money" or
            penses will be                  paid    only    if   they      are    re-
                                                                                              services or as part of a normal business
            ported to us in writing within 180 days of
                                                                                              transaction.
            the earlier of:

                                                                                              The most we will pay for any loss under
            (1)   The       date       of    direct   physical             loss    or
                                                                                              this Additional Coverage is $1,000.
                  damage; or

                                                                                         k.   Forgery And Alteration
            (2)   The end of the policy period.

                                                                                              (1)   We will pay for loss resulting directly
            The     most         we    will    pay    for        each      location
                                                                                                    from     forgery        or    alteration        of,   any
            under this Additional Coverage is $10,000
                                                                                                    check,    draft,    promissory           note,    bill   of
            for the sum of all such expenses arising
                                                                                                    exchange or similar written promise of
            out of Covered Causes of Loss occurring
                                                                                                    payment in "money", that you or your
            during each separate 12 month period of
                                                                                                    agent has issued, or that was issued
            this policy.
                                                                                                    by someone who impersonates you or
       i.   Civil Authority
                                                                                                    your agent.

            We will pay for the actual loss of Business
                                                                                              (2)   If you are sued for refusing to pay the
            Income you sustain and necessary Extra
                                                                                                    check,    draft,    promissory           note,    bill   of
            Expense caused by action of civil authority
                                                                                                    exchange or similar written promise of
            that        prohibits       access        to    the        described
                                                                                                    payment in "money", on the basis that
            premises due to direct physical loss of or
                                                                                                    it has been forged or altered, and you
            damage to property, other than at the de-
                                                                                                    have    our   written        consent       to    defend
            scribed premises, caused by or resulting
                                                                                                    against   the   suit,        we   will   pay    for   any
            from any Covered Cause of Loss.
                                                                                                    reasonable      legal        expenses       that      you
            The     coverage            for    Business           Income          will              incur in that defense.

            begin 72 hours after the time of that action
                                                                                              (3)   The most we will pay for any loss, in-
            and will apply for a period of up to three
                                                                                                    cluding legal expenses, under this Ad-
            consecutive weeks after coverage begins.
                                                                                                    ditional Coverage is $2,500.
            The coverage for necessary Extra Expense
                                                                                         l.   Increased Cost Of Construction
            will    begin        immediately          after       the      time    of
                                                                                              (1)   This Additional Coverage applies only
            that action and ends:
                                                                                                    to buildings insured on a replacement

                                                                                                    cost basis.




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        (2)   In the event of damage by a Covered                                              (b)   If   the    building        is     repaired         or    re-
              Cause         of    Loss     to       a    building      that    is                    placed at the same premises, of if

              Covered Property, we will pay the in-                                                  you        elect      to   rebuild        at      another
              creased costs incurred to comply with                                                  premises, the most we will pay for
              enforcement of an ordinance or law in                                                  the Increased Cost of Construction

              the course of repair, rebuilding or re-                                                is the increased cost of construction
              placement            of    damaged              parts    of   that                     at the same premises.

              property,           subject       to       the        limitations
                                                                                               (c)   If the ordinance or law requires re-
              stated in l.(3) through l.(9) of this Addi-
                                                                                                     location         to   another       premises,            the
              tional Coverage.
                                                                                                     most we will pay for the Increased
        (3)   The ordinance or law referred to in l.(2)                                              Cost        of    Construction               is    the    in-
              of this Additional Coverage is an ordi-                                                creased cost of construction at the

              nance        or     law    that regulates the con-                                     new premises.
              struction           or     repair         of     buildings       or
                                                                                         (8)   This Additional Coverage is not subject
              establishes              zoning       or       land     use     re-
                                                                                               to the terms of the Ordinance or Law
              quirements at the described premises,
                                                                                               Exclusion, to the extent that such Ex-
              and is in force at the time of loss.
                                                                                               clusion          would       conflict     with          the    pro-

        (4)   Under         this       Additional            Coverage,        we               visions of this Additional Coverage.

              will not pay any costs due to an ordi-
                                                                                         (9)   The costs addressed in the Loss Pay-
              nance or law that:
                                                                                               ment       Property          Loss      Condition         in    this

              (a)    You were required to comply with                                          Coverage Form do not include the in-

                     before        the    loss,         even        when      the              creased          cost       attributable        to      enforce-
                     building was undamaged; and                                               ment        of    an     ordinance            or     law.      The

                                                                                               amount payable under this Additional
              (b)    You failed to comply with.
                                                                                               Coverage, as stated in l.(6) of this Ad-
        (5)   Under         this       Additional            Coverage,        we
                                                                                               ditional         Coverage,          is   not       subject       to
              will not pay any costs associated with
                                                                                               such limitation.
              the enforcement of an ordinance or law
                                                                                    m.   Exterior Building Glass
              which requires any insured or others

              to test for, monitor, clean up, remove,                                    (1)   We will pay for direct physical loss of

              contain, treat, detoxify or neutralize, or                                       or damage to glass, including lettering

              in any way respond to, or assess the                                             or    ornamentation,              that    is    part      of   the
              effects of "pollutants".                                                         exterior of a covered building or struc-

                                                                                               ture       at   the    described          premises.            The
        (6)   The most we will pay under this Addi-
                                                                                               glass must be owned by you, or owned
              tional       Coverage,           for       each       described
                                                                                               by others but in your care, custody or
              building insured under                         this   Coverage
                                                                                               control. We will also pay for necessary:
              Form, is $5,000.

                                                                                               (a)   Expenses           incurred        to    put      up    tem-
              The amount payable under this Addi-
                                                                                                     porary plates or board up openings;
              tional       Coverage            is       additional      insur-
              ance.                                                                            (b)   Repair or replacement of encasing

                                                                                                     frames; and
        (7)   With respect to this Additional Cover-
              age:                                                                             (c)   Expenses incurred to remove or re-

                                                                                                     place obstructions.
              (a)    We will not          pay       for      the    Increased
                     Cost of Construction:                                               (2)   Paragraph              A.3.,     Covered        Causes          Of

                                                                                               Loss and Section B., Exclusions do not
                    (i)    Until the property is actually re-
                                                                                               apply to this Additional Coverage, ex-
                           paired or replaced, at the same
                                                                                               cept for:
                           or another premises; and
                                                                                               (a)   Paragraph B.1.b., Earth Movement;
                    (ii)   Unless        the    repairs         or    replace-

                           ment are made as soon as rea-                                       (b)   Paragraph              B.1.c.,      Governmental
                           sonably        possible           after    the   loss                     Action;

                           or    damage,        not       to    exceed      two
                                                                                               (c)   Paragraph B.1.d., Nuclear Hazard;
                           years.        We may extend this pe-
                                                                                               (d)   Paragraph B.1.f., War And Military
                           riod    in    writing         during       the   two
                                                                                                     Action; and
                           years.

                                                                                               (e)   Paragraph B.1.g., Water.




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             (3)   We     will   not     pay   for    loss      or   damage         b.   Personal Property Off Premises
                   caused by or resulting from:
                                                                                         You may extend the insurance that applies
                   (a)   Wear and tear;
                                                                                         to Business Personal Property to apply to
                   (b)   Hidden or latent defect;                                        covered           Business        Personal              Property,

                                                                                         other than "money" and "securities", "val-
                   (c)   Corrosion; or
                                                                                         uable     papers       and    records"             or    accounts
                   (d)   Rust.
                                                                                         receivable,        while     it   is    in       the    course    of

             (4)   The most we pay under this Additional                                 transit or temporarily at a premises you

                   Coverage        is    the   Building         Limit    of   In-        do not own, lease or operate.The most we

                   surance shown in the Declarations.                                    will pay for loss or damage under this Ex-
                                                                                         tension is $5,000.
                   However, if you are a tenant                       and     no
                   Limit    of     Insurance         is   shown         in    the   c.   Outdoor Property

                   Declarations for Building property, the
                                                                                         You     may       extend    the    insurance provided
                   most we will pay under this Additional
                                                                                         by    this    policy   to    apply          to   your     outdoor
                   Coverage         is    the       Tenant's          Exterior
                                                                                         fences, radio and television antennas (in-
                   Building        Glass       Limit       of    Insurance
                                                                                         cluding satellite dishes), signs (other than
                   shown in the Declarations.
                                                                                         signs attached to buildings), trees, shrubs

   6.   Coverage Extensions                                                              and plants, including debris removal ex-

                                                                                         pense, caused by or resulting from any of
        In   addition       to   the    Limits      of    Insurance,          you
                                                                                         the following causes of loss:
        may        extend    the    insurance        provided         by this

        policy as provided below.                                                        (1)   Fire;

        Except as otherwise provided, the following                                      (2)   Lightning;

        Extensions apply to property located in or on
                                                                                         (3)   Explosion;
        the building described in the Declarations or
                                                                                         (4)   Riot or Civil Commotion; or
        in the open (or in a vehicle) within 100 feet of
        the described premises, unless a higher Limit                                    (5)   Aircraft.

        of Insurance is shown in the Declarations.
                                                                                         The most we will pay for loss or damage
        a.   Personal        Property          At    Newly           Acquired            under     this     Extension           is    $2,500,      but    not

             Premises                                                                    more than $500 for any one tree, shrub or

                                                                                         plant.
             (1)   You may extend the insurance that ap-

                   plies to Business Personal Property to                           d.   Personal Effects

                   apply to that property at any premises
                                                                                         You may extend the insurance that applies
                   you acquire.
                                                                                         to Business Personal Property to apply to

                   The most we will pay for loss or dam-                                 personal effects owned by you, your offi-

                   age under this Extension is $100,000 at                               cers,    your      partners       or        your      employees.

                   each premises.                                                        This extension does not apply to:

             (2)   Insurance        under        this      Extension          for        (1)   Tools or equipment used in your busi-

                   each newly acquired premises will end                                       ness; or
                   when any of the following first occurs:
                                                                                         (2)   Loss or damage by theft.

                   (a)   This policy expires;
                                                                                         The most we will pay for loss or damage
                   (b)   30 days expire after you acquire or                             under this Extension is $2,500 at each de-

                         begin      construction           at     the        new         scribed premises.
                         premises; or
                                                                                    e.   "Valuable Papers And Records"

                   (c)   You report values to us.
                                                                                         (1)   You may extend the insurance that ap-
                   We will charge you additional premium                                       plies to Business Personal Property to

                   for values reported from the date you                                       apply to direct physical loss or damage
                   acquire the premises.                                                       to "valuable papers and records" that

                                                                                               you own, or that are in your care, cus-
                                                                                               tody or control caused by or resulting
                                                                                               from    a   Covered         Cause          of    Loss. This

                                                                                               Coverage Extension includes the cost
                                                                                               to research lost information on "valu-

                                                                                               able    papers       and     records"             for   which
                                                                                               duplicates do not exist.




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           (2)   This Coverage Extension does not ap-                                               that result from direct physical loss or
                 ply to:                                                                            damage by any Covered Cause of Loss

                                                                                                    to your records of accounts receivable.
                 (a)   Property        held    as    samples       or    for
                       delivery after sale;                                                   (2)   The most we will pay under this Cov-

                                                                                                    erage Extension for loss or damage in
                 (b)   Property in storage away from the
                                                                                                    any    one     occurrence at the described
                       premises        shown        in   the    Declara-
                                                                                                    premises           is   $5,000,   unless      a     higher
                       tions.
                                                                                                    Limit of Insurance for accounts receiv-
           (3)   The most we will pay under this Cov-
                                                                                                    able is shown in the Declarations.
                 erage Extension for loss or damage to
                                                                                                    For accounts receivable not at the de-
                 "valuable papers and records" in any
                                                                                                    scribed premises, the most we will pay
                 one      occurrence           at    the       described
                                                                                                    is $2,500.
                 premises        is    $5,000,      unless     a   higher
                 Limit of Insurance for "valuable papers                                      (3)   Section B. Exclusions of this Coverage

                 and records" is shown in the Declara-                                              Form does not apply to this Coverage
                 tions.                                                                             Extension except for:

                 For "valuable papers and records" not                                              (a)   Paragraph           B.1.c.,      Governmental

                 at    the   described         premises,       the   most                                 Action;

                 we will pay is $2,500.
                                                                                                    (b)   Paragraph B.1.d., Nuclear Hazard;

           (4)   Section B. Exclusions of this Coverage
                                                                                                    (c)   Paragraph B.1.f., War And Military
                 Form does not apply to this Coverage
                                                                                                          Action;
                 Extension except for:
                                                                                                    (d)   Paragraph B.2.f., Dishonesty;
                 (a)   Paragraph          B.1.c.,        Governmental
                                                                                                    (e)   Paragraph B.2.g., False Pretense;
                       Action;

                                                                                                    (f)   Paragraph B.3.; and
                 (b)   Paragraph B.1.d., Nuclear Hazard;

                                                                                                    (g)   The Accounts Receivable and "Val-
                 (c)   Paragraph B.1.f., War And Military
                                                                                                          uable Papers And Records" Exclu-
                       Action;
                                                                                                          sions.
                 (d)   Paragraph B.2.f., Dishonesty;
                                                                               B.   Exclusions
                 (e)   Paragraph B.2.g., False Pretense;
                                                                                    1.   We will not pay for loss or damage caused
                 (f)   Paragraph B.3.; and
                                                                                         directly or indirectly by any of the following.

                 (g)   The Accounts Receivable and "Val-                                 Such loss or damage is excluded regardless
                       uable Papers And Records" Exclu-                                  of any other cause or event that contributes

                       sions.                                                            concurrently or in any sequence to the loss.

      f.   Accounts Receivable                                                           a.   Ordinance Or Law

           (1)   You may extend the insurance that ap-                                        The enforcement of any ordinance or law:
                 plies to Business Personal Property to
                                                                                              (1)   Regulating the construction, use or re-
                 apply to accounts receivable. We will
                                                                                                    pair of any property; or
                 pay:
                                                                                              (2)   Requiring          the    tearing      down        of    any
                 (a)   All amounts due from your custom-
                                                                                                    property, including the cost of remov-
                       ers that you are unable to collect;
                                                                                                    ing its debris.

                 (b)   Interest    charges          on   any    loan     re-
                                                                                              This exclusion, Ordinance Or Law, applies
                       quired     to   offset    amounts        you     are
                                                                                              whether the loss results from:
                       unable to collect pending our pay-
                                                                                              (1)   An ordinance or law that is enforced
                       ment of these amounts;
                                                                                                    even     if    the      property       has    not       been
                 (c)   Collection       expenses         in    excess     of
                                                                                                    damaged; or
                       your     normal        collection       expenses
                                                                                              (2)   The increased costs incurred to com-
                       that are made necessary by loss or
                                                                                                    ply    with    an       ordinance      or    law    in   the
                       damage; and
                                                                                                    course        of   construction,        repair,      reno-
                 (d)   Other     reasonable          expenses           that
                                                                                                    vation,       remodeling          or   demolition         of
                       you    incur     to    re-establish      your     re-
                                                                                                    property or removal of its debris, fol-
                       cords of accounts receivable;
                                                                                                    lowing a physical loss to that property.




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      b.   Earth Movement                                                            e.   Power Failure

           (1)   Any      earth      movement             (other        than              The failure of power or other utility service

                 sinkhole collapse), such as an                     earth-                supplied to the described premises, how-
                 quake, landslide, mine subsidence or                                     ever        caused,     if   the   failure      occurs     away

                 earth sinking, rising or shifting. But if                                from the described premises.
                 earth movement results in fire or ex-
                                                                                          But if failure of power or other utility ser-
                 plosion,      we    will   pay     for     the   loss    or
                                                                                          vice results in a Covered Cause of Loss,
                 damage caused by that fire or explo-
                                                                                          we will pay for the loss or damage caused
                 sion.
                                                                                          by that Covered Cause of Loss.

           (2)   Volcanic           eruption,          explosion          or
                                                                                     f.   War And Military Action
                 effusion.     But    if   volcanic       eruption,      ex-
                                                                                          (1)   War, including undeclared or civil war;
                 plosion       or    effusion      results        in    fire,
                 building      glass       breakage         or    volcanic                (2)   Warlike action by a military force, in-
                 action,    we      will    pay    for      the   loss    or                    cluding action in hindering or defend-
                 damage        caused       by    that    fire,   building                      ing     against        an    actual       or     expected
                 glass breakage or volcanic action.                                             attack, by any government, sovereign

                                                                                                or    other    authority      using       military   per-
                 Volcanic      action       means      direct     loss    or
                                                                                                sonnel or other agents; or
                 damage resulting from the eruption of

                 a volcano when the loss or damage is                                     (3)   Insurrection,            rebellion,            revolution,
                 caused by:                                                                     usurped        power,        or    action        taken   by

                                                                                                governmental authority in hindering or
                 (a)   Airborne volcanic blast or airborne
                                                                                                defending against any of these.
                       shock waves;

                                                                                     g.   Water
                 (b)   Ash, dust, or particulate matter; or

                                                                                          (1)   Flood,      surface         water,     waves,       tides,
                 (c)   Lava flow.
                                                                                                tidal      waves,      overflow      of    any    body of
                 All volcanic eruptions that occur within
                                                                                                water,       or   their      spray,        all    whether
                 any     168-hour     period       will     constitute     a
                                                                                                driven by wind or not;
                 single occurrence.
                                                                                          (2)   Mudslide or mudflow;
                 Volcanic      action       does    not     include      the
                                                                                          (3)   Water that backs up or overflows from
                 cost to remove ash, dust or particulate
                                                                                                a sewer, drain or sump; or
                 matter      that     does       not      cause        direct

                 physical loss of or damage to Covered                                    (4)   Water under the ground surface press-
                 Property.                                                                      ing on, or flowing or seeping through:

      c.   Governmental Action                                                                  (a)   Foundations, walls, floors or paved

                                                                                                      surfaces;
           Seizure or destruction of property by or-

           der of governmental authority.                                                       (b)   Basements, whether paved or not;

                                                                                                      or
           But we will pay for loss or damage caused
           by     or   resulting     from     acts     of    destruction                        (c)   Doors, windows or other openings.
           ordered        by   governmental              authority       and
                                                                                                But if Water, as described in B.1.g.(1)
           taken at the time of a fire to prevent its
                                                                                                through B.1.g.(4), results in fire, explo-
           spread, if the fire would be covered under
                                                                                                sion or sprinkler leakage, we will pay
           this policy.
                                                                                                for the loss or damage caused by that
      d.   Nuclear Hazard                                                                       fire, explosion or sprinkler leakage.

           Nuclear reaction or radiation, or radioac-                           2.   We will not pay for loss or damage caused
           tive contamination, however caused.                                       by or resulting from any of the following:

           But if nuclear reaction or radiation, or ra-                              a.   Electrical Apparatus
           dioactive contamination, results in fire, we
                                                                                          Artificially        generated           electrical      current,
           will pay for the loss or damage caused by
                                                                                          including         electric        arcing,       that    disturbs
           that fire.
                                                                                          electrical devices, appliances or wires.

                                                                                          But if artificially generated electrical cur-

                                                                                          rent results in fire, we will pay for the loss
                                                                                          or damage caused by fire.




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      b.   Consequential Losses                                               g.   False Pretense

           Delay, loss of use or loss of market.                                   Voluntary parting with any property by you

                                                                                   or    anyone       else     to    whom     you     have         en-
      c.   Smoke, Vapor, Gas
                                                                                   trusted the property if induced to do so by
           Smoke,        vapor       or    gas   from     agricultural
                                                                                   any    fraudulent        scheme,         trick,   device         or
           smudging or industrial operations.
                                                                                   false pretense.

      d.   Steam Apparatus
                                                                              h.   Exposed Property

           Explosion of steam boilers, steam pipes,
                                                                                   Rain, snow, ice or sleet to personal prop-
           steam engines or steam turbines owned
                                                                                   erty in the open.
           or leased by you, or operated under your
                                                                              i.   Collapse
           control. But if explosion of steam boilers,

           steam pipes, steam engines or steam tur-                                Collapse, except as provided in the Addi-
           bines results in fire or combustion explo-                              tional     Coverage         for   Collapse.       But if col-

           sion, we will pay for the loss or damage                                lapse results in a Covered Cause of Loss,
           caused by that fire or combustion explo-                                we will pay for the loss or damage caused

           sion. We will also pay for loss or damage                               by that Covered Cause of Loss.

           caused by or resulting from the explosion
                                                                              j.   Pollution
           of gases or fuel within the furnace of any
                                                                                   We will not pay for loss or damage caused
           fired   vessel       or   within      the    flues    or    pas-
                                                                                   by    or   resulting        from   the    discharge, dis-
           sages        through      which    the      gases     of   com-
                                                                                   persal, seepage, migration, release or es-
           bustion pass.
                                                                                   cape of "pollutants" unless the discharge,
      e.   Frozen Plumbing
                                                                                   dispersal, seepage, migration, release or

           Water,       other    liquids,     powder       or        molten        escape        is   itself    caused      by    any    of        the

           material that leaks or flows from plumb-                                "specified causes of loss". But if the dis-

           ing,    heating,       air      conditioning         or    other        charge, dispersal, seepage, migration, re-

           equipment (except fire protective systems)                              lease or escape of "pollutants" results in
           caused by or resulting from freezing, un-                               a "specified cause of loss", we will pay for

           less:                                                                   the loss or damage caused by that "spec-

                                                                                   ified cause of loss".
           (1)   You do your best to maintain heat in

                 the building or structure; or                                k.   Other Types Of Loss

           (2)   You drain the equipment and shut off                              (1)   Wear and tear;

                 the supply if the heat is not maintained.
                                                                                   (2)   Rust, corrosion, fungus, decay, deteri-
      f.   Dishonesty                                                                    oration, hidden or latent defect or any

                                                                                         quality      in   property    that      causes       it    to
           Dishonest or criminal acts by you, anyone
                                                                                         damage or destroy itself;
           else with       an   interest in the property, or

           any of your or their partners, employees,                               (3)   Smog;

           directors,      trustees,        authorized      represen-
                                                                                   (4)   Settling, cracking, shrinking or expan-
           tatives or anyone to whom you entrust the
                                                                                         sion;
           property for any purpose:
                                                                                   (5)   Nesting or infestation, or discharge or
           (1)   Acting alone or in collusion with oth-
                                                                                         release       of    waste     products         or         se-
                 ers;
                                                                                         cretions, by insects, birds, rodents or
           (2)   Whether     or      not    occurring      during       the              other animals;

                 hours of employment.

           This exclusion does not apply to acts of

           destruction by your employees; but theft
           by employees is not covered.

           With respect to accounts receivable and
           "valuable papers and records", this exclu-

           sion does not apply to carriers for hire.




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             (6)   Mechanical breakdown, including rup-                         4.   Business Income And                   Extra       Expense          Exclu-
                   ture or bursting caused by centrifugal                            sions

                   force; or
                                                                                     We will not pay for:
             (7)   The    following       causes      of   loss    to   per-
                                                                                     a.   Any        Extra Expense, or increase of Busi-
                   sonal property:
                                                                                          ness Income loss, caused by or resulting
                   (a)   Dampness         or    dryness       of   atmos-                 from:

                         phere;
                                                                                          (1)   Delay      in    rebuilding,          repairing         or    re-
                   (b)   Changes in or extremes of temper-                                      placing the property or resuming "op-

                         ature; or                                                              erations",        due     to    interference            at   the
                                                                                                location of the rebuilding, repair or re-
                   (c)   Marring or scratching.
                                                                                                placement         by    strikers        or       other       per-
             But if an excluded cause of loss                      that    is
                                                                                                sons; or
             listed in B.2.k.(1) through B.2.k.(7) results
                                                                                          (2)   Suspension,         lapse        or    cancellation            of
             in a "specified cause of loss" or building
                                                                                                any    license,     lease        or    contract.         But   if
             glass breakage, we will pay for the loss
                                                                                                the suspension, lapse or cancellation
             or     damage        caused        by    that    "specified
                                                                                                is    directly    caused        by     the       suspension
             cause of loss" or building glass breakage.
                                                                                                of "operations", we will cover such loss
   3.   We will not pay for loss or damage caused
                                                                                                that affects your Business Income dur-
        by or resulting from any of the following B.3.a.
                                                                                                ing the "period of restoration".
        through B.3.c.         But   if   an    excluded       cause       of
                                                                                     b.   Any other consequential loss.
        loss that is listed in B.3.a. through B.3.c. re-

        sults in a Covered Cause of Loss, we will pay                           5.   Accounts          Receivable         And     "Valuable             Papers

        for the loss or damage caused by that Cov-                                   And Records" Exclusions

        ered Cause of Loss.
                                                                                     The following additional exclusions apply to

        a.   Weather Conditions                                                      the Accounts Receivable and "Valuable Pa-

                                                                                     pers And Records" Coverage Extensions:
             Weather         conditions.        But    this    exclusion

             only applies if weather conditions contrib-                             a.   We will not pay for loss or damage caused

             ute in any way with a cause or event ex-                                     by or resulting from electrical or magnetic
             cluded in Paragraph 1. above to produce                                      injury,      disturbance         or     erasure          of    elec-

             the loss or damage.                                                          tronic recordings that is caused by or re-

                                                                                          sults from:
        b.   Acts Or Decisions

                                                                                                (a)   Programming              errors      or    faulty ma-
             Acts or decisions, including the failure to
                                                                                                      chine instructions;
             act or decide, of any person,                    group,      or-

             ganization or governmental body.                                                   (b)   Faulty     installation         or    maintenance

                                                                                                      of   data    processing              equipment           or
        c.   Negligent Work
                                                                                                      component parts;
             Faulty, inadequate or defective:
                                                                                                But we will pay for direct loss or dam-
             (1)   Planning,      zoning,       development,            sur-
                                                                                                age caused by lightning.
                   veying, siting;
                                                                                     b.   Applicable        to    "Valuable           Papers       and       Re-
             (2)   Design,     specifications,         workmanship,
                                                                                          cords" only:
                   repair,     construction,          renovation,         re-
                                                                                          We will not pay for loss or damage caused
                   modeling, grading, compaction;
                                                                                          by or resulting from any of the following:
             (3)   Materials used in repair, construction,
                                                                                          (1)   Errors     or    omissions        in    processing or
                   renovation or remodeling; or
                                                                                                copying. But if errors or omissions in
             (4)   Maintenance;
                                                                                                processing or copying result in fire or

             of part or all of any property on or off the                                       explosion,        we    will     pay       for    the    direct

             described premises.                                                                loss or damage caused by the fire or
                                                                                                explosion.

                                                                                          (2)   Wear       and    tear,    gradual          deterioration
                                                                                                or latent defect.




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          c.   Applicable to Accounts Receivable only:                                        (3)   The number of days since the begin-
                                                                                                    ning of the current policy year of the
               We will not pay for:
                                                                                                    effective date of the most recent policy
               (1)   Loss or damage caused by or resulting
                                                                                                    change        amending          the   Building      limit,
                     from             alteration,          falsification,
                                                                                                    divided by 365.
                     concealment or destruction of records
                                                                                        Example:
                     of accounts receivable done to conceal

                     the    wrongful      giving,     taking    or    with-             If:   The applicable Building limit is $100,000.
                     holding      of    "money",      "securities"      or                    The    annual       percentage          increase     is    8%.
                     other property.                                                          The number of days since the beginning

                                                                                              of the policy year (or last policy change)
                     This exclusion applies only to the ex-
                                                                                              is 146.
                     tent of     the   wrongful      giving,   taking   or



                                                                                                                              ÷
                     withholding.                                                             The amount of increase is
                                                                                              $100,000 x .08 x 146                  365 = $3,200.
               (2)   Loss or damage caused by or resulting

                     from      bookkeeping, accounting or bill-                    5.   Business Personal Property Limit - Seasonal
                     ing errors or omissions.                                           Increase

               (3)   Any loss or damage that requires any                               a.    The Limit of Insurance for Business Per-
                     audit of records or any inventory com-                                   sonal Property will automatically increase

                     putation to prove its factual existence.                                 by 25% to provide for seasonal variations.

C.   Limits Of Insurance                                                                b.    This increase will apply only if the Limit

                                                                                              of Insurance shown for Business Personal
     1.   The most we will pay for loss or damage in
                                                                                              Property       in   the    Declarations        is   at    least
          any one occurrence is the applicable Limit of
                                                                                              100%      of   your       average       monthly      values
          Insurance shown in the Declarations.
                                                                                              during the lesser of:
     2.   The most we will pay for loss of or damage
                                                                                              (1)   The 12 months immediately preceding
          to    outdoor        signs    attached      to   buildings     is
                                                                                                    the date the loss or damage occurs; or
          $1,000 per sign in any one occurrence.

                                                                                              (2)   The period of time you have been in
     3.   The limits applicable to the Coverage Exten-
                                                                                                    business       as    of   the    date   the   loss     or
          sions      and        the    Fire    Department        Service
                                                                                                    damage occurs.
          Charge and Pollutant Clean Up and Removal

          Additional Coverages are in addition to the                         D.   Deductibles
          Limits of Insurance.
                                                                                   1.   We will not pay for loss or damage in any one

     4.   Building Limit - Automatic Increase                                           occurrence until the amount of loss or dam-
                                                                                        age     exceeds       the       Deductible        shown    in     the
          a.   The Limit of Insurance for Buildings will
                                                                                        Declarations. We will then pay the amount of
               automatically increase by the annual per-
                                                                                        loss or damage in excess of the Deductible
               centage shown in the Declarations.
                                                                                        up to the applicable Limit of Insurance.
          b.   The amount of increase will be:
                                                                                   2.   Regardless of the amount of the Deductible,
               (1)   The Building limit that applied on the
                                                                                        the    most     we    will      deduct      from    any   loss     or
                     most      recent    of    the   policy    inception
                                                                                        damage        under       all   of    the   following Optional
                     date,     the    policy   anniversary      date,   or
                                                                                        Coverages and the Additional Coverage - Ex-
                     any other policy change amending the
                                                                                        terior Building Glass in any one occurrence
                     Building limit, times
                                                                                        is    the    Optional      Coverage/Exterior              Building

               (2)   The       percentage       of   annual     increase                Glass Deductible shown in the Declarations:

                     shown in the Declarations, expressed
                                                                                        a.    Money and Securities;
                     as    a   decimal        (example:    8%    is   .08),
                                                                                        b.    Employee Dishonesty;
                     times




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          c.   Interior Glass; and                                                      (3)   As    soon       as    possible,         give     us        a    de-
                                                                                              scription of how, when and where the
          d.   Outdoor Signs.
                                                                                              loss or damage occurred.
          But this Optional Coverage/Exterior Building
                                                                                        (4)   Take     all   reasonable            steps        to   protect
          Glass       Deductible           will       not    increase        the
                                                                                              the    Covered          Property            from        further
          Deductible      shown           in   the     Declarations.        This
                                                                                              damage,        and      keep       a    record         of       your
          Deductible      will       be    used        to   satisfy   the    re-
                                                                                              expenses          necessary            to    protect             the
          quirements of the Deductible in the Declara-
                                                                                              Covered Property, for consideration in
          tions.
                                                                                              the   settlement         of    the     claim. This will
     3.   No deductible applies to the following Addi-
                                                                                              not    increase        the     Limit        of    Insurance.
          tional Coverages:
                                                                                              However, we will not pay for any sub-

          a.   Fire Department Service Charge;                                                sequent loss or damage resulting from

                                                                                              a cause of loss that is not a Covered
          b.   Business Income;
                                                                                              Cause of Loss. Also, if feasible, set the
          c.   Extra Expense; and                                                             damaged          property          aside         and    in       the

          d.   Civil Authority.                                                               best possible order for examination.


E.   Property Loss Conditions                                                           (5)   At    our   request,        give       us   complete             in-

                                                                                              ventories of the damaged and undam-
     1.   Abandonment
                                                                                              aged        property.         Include             quantities,
          There can be no abandonment of any prop-                                            costs,      values       and        amount             of       loss
          erty to us.                                                                         claimed.

     2.   Appraisal                                                                     (6)   As    often      as    may     be       reasonably               re-
                                                                                              quired, permit us to inspect the prop-
          If we and you disagree on the amount of loss,
          either may make written demand for an ap-                                           erty proving the loss or damage and

          praisal of the loss. In this event, each party                                      examine your books and records.

          will   select    a    competent              and    impartial      ap-              Also     permit        us     to    take         samples          of
          praiser.     The     two    appraisers             will   select   an               damaged and undamaged property for
          umpire. If they cannot agree, either may re-                                        inspection,       testing          and      analysis,           and
          quest that selection be made by a judge of a                                        permit      us   to    make        copies         from          your
          court having jurisdiction. The appraisers will                                      books and records.
          state separately the amount of loss. If they fail
                                                                                        (7)   Send us a signed, sworn proof of loss
          to agree, they will submit their differences to
                                                                                              containing the information we request
          the umpire. A decision agreed to by any two
                                                                                              to investigate the claim. You must do
          will be binding. Each party will:
                                                                                              this within 60 days after our request.
          a.   Pay its chosen appraiser; and                                                  We will supply you with the necessary

          b.   Bear the other expenses of the appraisal                                       forms.

               and umpire equally.                                                      (8)   Cooperate with us in the investigation

          If there is an appraisal, we will still retain our                                  or settlement of the claim.

          right to deny the claim.                                                      (9)   Resume all or part of your "operations"

     3.   Duties In The Event Of Loss Or Damage                                               as quickly as possible.

                                                                                   b.   We may examine any insured under oath,
          a.   You must see that the following are done
               in the event of loss or damage to Covered                                while not in the presence of any other in-
                                                                                        sured and at such times as may be rea-
               Property:
                                                                                        sonably           required,         about          any        matter
               (1)   Notify    the   police       if   a    law     may   have
                                                                                        relating to this insurance or the claim, in-
                     been broken.
                                                                                        cluding an insured's books and records.
               (2)   Give us prompt notice of the                     loss    or        In    the    event      of   an     examination,              an       in-
                     damage.     Include          a    description     of    the        sured's answers must be signed.
                     property involved.




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   4.   Legal Action Against Us                                          6.   Loss Payment

        No one may bring a legal action against us                            In the event of loss or damage covered by

        under this insurance unless:                                          this policy:

        a.   There has been full compliance with all of                       a.   At our option, we will either:

             the terms of this insurance; and
                                                                                   (1)   Pay           the     value    of      lost    or     damaged
        b.   The action is brought within 2 years after                                  property;

             the date on which the direct physical loss
                                                                                   (2)   Pay the cost of repairing or replacing
             or damage occurred.
                                                                                         the lost or damaged property;

   5.   Limitation - Electronic Media And Records
                                                                                   (3)   Take all or any part of the property at
        We will not pay for any loss of Business In-                                     an agreed or appraised value; or

        come       caused   by    direct   physical   loss     of   or
                                                                                   (4)   Repair, rebuild or replace the property
        damage to Electronic Media and Records af-
                                                                                         with          other       property      of    like      kind    and
        ter the longer of:
                                                                                         quality, subject to d.(1)(e) below.
        a.   60 consecutive days from the date of di-
                                                                              b.   We will give notice of our intentions within
             rect physical loss or damage; or
                                                                                   30 days after we receive the sworn proof
        b.   The period, beginning with the date of di-                            of loss.

             rect physical loss or damage, necessary
                                                                              c.   We will not pay you more than your finan-
             to repair, rebuild or replace with reason-
                                                                                   cial interest in the Covered Property.
             able    speed      and     similar   quality,     other
                                                                              d.   Except as provided in (2) through (8) be-
             property at the described premises due to
                                                                                   low, we will determine the value of Cov-
             loss or damage caused by the same oc-
                                                                                   ered Property as follows:
             currence.

                                                                                   (1)   At replacement cost without deduction
        Electronic Media and Records are:
                                                                                         for depreciation, subject to the follow-
             (1)   Electronic    data   processing,      recording
                                                                                         ing:
                   or storage media such as films, tapes,
                                                                                         (a)    If, at the time of loss, the Limit of
                   discs, drums or cells;
                                                                                                Insurance on the lost or damaged
             (2)   Data stored on such media; or
                                                                                                property is 80% or more of the full

             (3)   Programming        records     used   for   elec-                            replacement             cost      of    the      property
                   tronic data processing or electronically                                     immediately before the loss, we will

                   controlled equipment.                                                        pay the cost             to     repair      or    replace,

                                                                                                after         application       of    the     deductible
        Example No. 1:
                                                                                                and without deduction for depreci-
        A Covered Cause of Loss damages a com-
                                                                                                ation, but not more than the least
        puter on June 1. It takes until September 1 to
                                                                                                of the following amounts:
        replace the computer, and until October 1 to
                                                                                                (i)     The     Limit      of    Insurance          under
        restore the data that was lost when the dam-
                                                                                                        this    policy     that       applies      to    the
        age occurred. We will only pay for the Busi-
                                                                                                        lost or damaged property;
        ness Income loss sustained during the period
        June 1 - September 1.           Loss during the period                                 (ii)     The cost to replace, on the same

        September 2 - October 1 is not covered.                                                         premises, the lost              or     damaged
                                                                                                        property with other property:
        Example No. 2:

                                                                                                         i.   Of comparable material and
        A Covered Cause of Loss results in the loss
                                                                                                              quality; and
        of data processing programming records on

        August 1. The records are replaced on Octo-                                                     ii.   Used for the same purpose;
        ber 15. We will only pay for the Business In-                                                         or
        come loss sustained during the period August
                                                                                               (iii)    The     amount          that    you       actually
        1 - September 29 (60 consecutive days). Loss
                                                                                                        spend       that   is    necessary          to   re-
        during the period September 30 - October 15
                                                                                                        pair or replace the lost or dam-
        is not covered.
                                                                                                        aged property.




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              (b)    If, at the time of loss, the Limit of                         (3)   The following property at actual cash
                     Insurance applicable to the lost or                                 value:

                     damaged property is less than 80%
                                                                                         (a)    Used or second-hand merchandise
                     of the full replacement cost of the
                                                                                                held in storage or for sale;
                     property          immediately             before      the
                                                                                         (b)    Property of others, but this property
                     loss, we will pay the greater of the
                                                                                                is    not    covered       for     more       than    the
                     following         amounts,          but    not   more
                                                                                                amount        for       which      you    are    liable,
                     than the Limit of Insurance that ap-
                                                                                                plus the cost of labor, materials or
                     plies to the property:
                                                                                                services          furnished        or arranged by
                    (i)    The actual cash value of the lost
                                                                                                you on personal property of others;
                           or damaged property; or
                                                                                         (c)    Household           contents,            except       per-
                    (ii)   A proportion of the cost to repair
                                                                                                sonal        property         in   apartments          or
                           or replace the lost or damaged
                                                                                                rooms furnished by you as landlord;
                           property, after application of the
                                                                                         (d)    Manuscripts;
                           deductible             and       without        de-
                           duction          for    depreciation.         This            (e)    Works of art, antiques or rare arti-
                           proportion will equal the ratio of                                   cles,       including      etchings,          pictures,
                           the applicable Limit of Insurance                                    statuary,               marbles,              bronzes,
                           to 80% of the cost of repair or                                      porcelains and bric-a-brac.
                           replacement.
                                                                                   (4)   Glass at the cost of replacement with
              (c)    You may make a claim for loss or                                    safety glazing material if required by
                     damage covered by this insurance                                    law.
                     on an actual cash                  value     basis     in-
                                                                                   (5)   Tenants'                   Improvements                      and
                     stead of on a replacement cost ba-
                                                                                         Betterments at:
                     sis. In the event you elect to have

                     loss or damage settled on an actual                                 (a)    Replacement cost if you make re-

                     cash     value          basis,      you      may      still                pairs promptly.

                     make     a    claim          on    a   replacement                  (b)    A proportion of your original cost if
                     cost basis if you notify us of your                                        you do not make repairs promptly.
                     intent to do so within 180 days after                                      We will determine the proportionate
                     the loss or damage.                                                        value as follows:

              (d)    We will not pay on a replacement                                          (i)    Multiply the original cost by the
                     cost basis for any loss or damage:                                               number of days from the loss or

                    (i)    Until the lost or damaged prop-                                            damage to the expiration of the

                           erty   is   actually         repaired      or    re-                       lease; and

                           placed; and                                                         (ii)   Divide the amount determined in

                    (ii)   Unless       the       repairs    or   replace-                            (i) above by the number of days

                           ment are made as soon as rea-                                              from the installation of improve-

                           sonably       possible        after    the      loss                       ments        to   the    expiration        of   the

                           or damage.                                                                 lease.


              (e)    The    cost       to    repair,     rebuild      or    re-                 If    your    lease       contains        a   renewal

                     place        does       not       include     the      in-                 option, the expiration of the renewal

                     creased            cost           attributable          to                 option period will replace the expi-

                     enforcement             of    any      ordinance        or                 ration       of   the    lease      in    this   proce-

                     law regulating the construction, use                                       dure.

                     or repair of any property.                                          (c)    Nothing if others pay for repairs or

        (2)   If the "Actual Cash Value - Buildings"                                            replacement.

              option applies, as shown in the Decla-

              rations, Paragraph (1) above does not
              apply to Buildings. Instead, we will de-
              termine the value of Buildings at actual

              cash value.




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        (6)   "Valuable papers and records", includ-                                                  (iii)   An amount to allow for probable
              ing those which exist on electronic or                                                          bad debts that you are normally

              magnetic           media        (other       than prepack-                                      unable to collect; and
              aged software programs), at the cost
                                                                                                      (iv)    All   unearned        interest      and       ser-
              of:
                                                                                                              vice charges.
              (a)    Blank materials for reproducing the
                                                                                         e.   Our    payment         for    loss    of   or     damage        to
                     records; and
                                                                                              personal property of others will only be for
              (b)    Labor to transcribe or copy the re-                                      the account of the owners of the property.
                     cords.                                                                   We may adjust losses with the owners of

                                                                                              lost   or    damaged          property       if   other       than
              This condition does not apply to "valu-
                                                                                              you. If we pay the owners, such payments
              able papers and records" that are ac-
                                                                                              will satisfy your claims against us for the
              tually replaced or restored.
                                                                                              owners'         property.        We   will    not     pay      the
        (7)   Applicable only to the Optional Cover-
                                                                                              owners more than their financial interest
              ages:
                                                                                              in the Covered Property.

              (a)    "Money" at its face value; and
                                                                                         f.   We may elect to defend you against suits

              (b)    "Securities"            at    their   value       at     the             arising from claims of owners of property.

                     close       of   business        on    the    day        the             We will do this at our expense.

                     loss is discovered.
                                                                                         g.   We will pay for covered loss or damage

        (8)   Applicable              only    to    Accounts          Receiv-                 within 30 days after we receive the sworn

              able:                                                                           proof of loss, provided you have complied

                                                                                              with all of the terms of this policy, and
              (a)    If    you   cannot           accurately      establish

                     the amount of accounts receivable                                        (1)   We have reached agreement with you

                     outstanding as of the time of loss                                             on the amount of loss; or

                     or damage:
                                                                                              (2)   An appraisal award has been made.

                    (i)    We     will   determine           the      total    of
                                                                                    7.   Recovered Property
                           the average monthly amounts of
                                                                                         If either you or we recover any property after
                           accounts          receivable         for   the     12
                                                                                         loss settlement, that party must give the other
                           months        immediately            preceding
                                                                                         prompt notice. At your option, you may retain
                           the month in which the loss or
                                                                                         the property. But then you must return to us
                           damage occurs; and
                                                                                         the amount we paid to you for the property.
                    (ii)   We will adjust that total for any
                                                                                         We will pay recovery expenses and the ex-
                           normal            fluctuations          in         the
                                                                                         penses       to      repair      the   recovered         property,
                           amount        of       accounts      receivable
                                                                                         subject to the Limit of Insurance.
                           for the month in which the loss
                                                                                    8.   Resumption Of Operations
                           or damage occurred or for any

                           demonstrated variance from the                                We will reduce the amount of your:
                           average for that month.
                                                                                         a.   Business         Income       loss,   other       than    Extra

              (b)    The following will be deducted from                                      Expense,         to   the    extent   you       can   resume
                     the     total       amount            of     accounts                    your "operations", in whole or in part, by

                     receivable, however that amount is                                       using     damaged           or    undamaged           property
                     established:                                                             (including       merchandise          or     stock)      at    the
                                                                                              described premises or elsewhere.
                    (i)    The amount of the accounts for
                           which there is no loss or dam-                                b.   Extra Expense loss to the extent you can
                           age;                                                               return "operations" to normal and discon-

                                                                                              tinue such Extra Expense.
                    (ii)   The amount of the accounts that
                           you are able to re-establish or

                           collect;




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   9.   Vacancy                                                                     F.   Property General Conditions

        a.   Description Of Terms                                                        1.   Control Of Property

             (1)   As used in this Vacancy Condition, the                                     Any act or neglect of any person other than
                   term building and the term vacant have                                     you beyond your direction or control will not

                   the     meanings       set    forth     in   (1)(a)       and              affect this insurance.
                   (1)(b) below:
                                                                                              The breach of any condition of this Coverage

                   (a)    When this policy is issued to a ten-                                Form at any one or more locations will not
                          ant,    and   with   respect        to   that      ten-             affect coverage at any location where, at the

                          ant's interest in Covered Property,                                 time of loss or damage, the breach of condi-
                          building      means      the    unit     or     suite               tion does not exist.
                          rented or leased to the tenant. Such
                                                                                         2.   Mortgageholders
                          building is vacant when it does not
                                                                                              a.   The term "mortgageholder" includes trus-
                          contain enough         business          personal
                                                                                                   tee.
                          property to conduct customary op-
                          erations.                                                           b.   We will pay for covered loss of or damage

                                                                                                   to     buildings          or     structures       to         each
                   (b)    When     this   policy    is    issued        to   the
                                                                                                   mortgageholder shown in the Declarations
                          owner of a building, building means
                                                                                                   in their order of precedence, as interests
                          the entire building. Such building is
                                                                                                   may appear.
                          vacant    when       70%       or   more      of    its
                          total square footage:                                               c.   The mortgageholder has the right to re-

                                                                                                   ceive      loss           payment         even         if     the
                         (i)    Is not rented; or
                                                                                                   mortgageholder             has        started   foreclosure
                         (ii)   Is not used to conduct custom-
                                                                                                   or similar action on the building or struc-
                                ary operations.
                                                                                                   ture.

             (2)   Buildings under construction or reno-
                                                                                              d.   If we deny your claim because of your acts
                   vation are not considered vacant.
                                                                                                   or because you have failed to comply with

        b.   Vacancy Provisions                                                                    the       terms           of      this        policy,         the

                                                                                                   mortgageholder will still have the right to
             If the building where loss or damage oc-
                                                                                                   receive          loss            payment          if          the
             curs        has     been   vacant     for    more      than      60
                                                                                                   mortgageholder:
             consecutive days before that loss or dam-
             age occurs:                                                                           (1)   Pays any premium due under this pol-

                                                                                                         icy at our request if you have failed to
             (1)   We will not pay for any loss or damage
                                                                                                         do so;
                   caused by any of the following even if

                   they are Covered Causes of Loss:                                                (2)   Submits a signed, sworn proof of loss

                                                                                                         within    60   days       after    receiving          notice
                   (a)    Vandalism;
                                                                                                         from us of your failure to do so; and
                   (b)    Sprinkler leakage, unless you have
                                                                                                   (3)   Has notified us of any change in own-
                          protected the system against freez-
                                                                                                         ership,        occupancy           or     substantial
                          ing;
                                                                                                         change         in        risk     known      to         the
                   (c)    Building glass breakage;
                                                                                                         mortgageholder.

                   (d)    Water damage;
                                                                                                   All of the terms of this policy will then ap-

                   (e)    Theft; or                                                                ply directly to the mortgageholder.

                   (f)    Attempted theft.                                                    e.   If we pay the mortgageholder for any loss
                                                                                                   or damage and deny payment to you be-
             (2)   With         respect   to   Covered          Causes         of
                                                                                                   cause of your acts or because you have
                   Loss other than those listed in b.(1)(a)
                                                                                                   failed    to    comply         with    the    terms     of    this
                   through b.(1)(f) above, we will reduce
                                                                                                   policy:
                   the amount we would otherwise pay for
                   the loss or damage by 15%.                                                      (1)   The mortgageholder's rights under the
                                                                                                         mortgage will be transferred to us to

                                                                                                         the extent of the amount we pay; and




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             (2)   The mortgageholder's right to recover                           1.   Outdoor Signs
                   the          full        amount               of          the
                                                                                        a.   We will pay for direct physical loss of or
                   mortgageholder's claim will not be im-
                                                                                             damage        to   all   outdoor     signs     at   the   de-
                   paired.
                                                                                             scribed premises:

             At     our      option,        we    may      pay        to     the
                                                                                             (1)   Owned by you; or
             mortgageholder the whole principal on the
                                                                                             (2)   Owned        by    others     but   in   your   care,
             mortgage          plus     any      accrued    interest.         In
                                                                                                   custody or control.
             this event, your mortgage and note will be
             transferred         to    us   and     you   will   pay        your        b.   Paragraph A.3., Covered Causes Of Loss,
             remaining mortgage debt to us.                                                  and Section B., Exclusions, do not apply
                                                                                             to this Optional Coverage, except for:
        f.   If we cancel this policy, we will give writ-

             ten notice to the mortgageholder at least:                                      (1)   Paragraph            B.1.c.,        Governmental
                                                                                                   Action;
             (1)   10    days    before       the    effective        date    of

                   cancellation if we cancel for your non-                                   (2)   Paragraph B.1.d., Nuclear Hazard; and
                   payment of premium; or
                                                                                             (3)   Paragraph          B.1.f.,   War     And      Military
             (2)   30    days    before       the    effective        date    of                   Action.
                   cancellation if we cancel for any other
                                                                                        c.   We will not pay for loss or damage caused
                   reason.
                                                                                             by or resulting from:
        g.   If we elect not to renew this policy, we will
                                                                                             (1)   Wear and tear;
             give written notice to the mortgageholder

             at least 10 days before the expiration date                                     (2)   Hidden or latent defect;

             of this policy.                                                                 (3)   Rust;

   3.   No Benefit To Bailee                                                                 (4)   Corrosion; or

        No person         or    organization,         other      than       you,             (5)   Mechanical breakdown.
        having custody of Covered Property will ben-
                                                                                        d.   The most we will pay for loss or damage
        efit from this insurance.
                                                                                             in any one occurrence is the Limit of In-
   4.   Policy Period, Coverage Territory                                                    surance for Outdoor Signs shown in the

        Under this form:                                                                     Declarations.


        a.   We cover loss or damage commencing:                                        e.   The provisions of this Optional Coverage

                                                                                             supersede all other references to outdoor
             (1)   During the policy period shown in the
                                                                                             signs in this policy.
                   Declarations; and
                                                                                   2.   Interior Glass
             (2)   Within the coverage territory                      or,   with

                   respect to property in transit, while it                             a.   We will pay for direct physical loss of or

                   is between points in the coverage ter-                                    damage to items of glass that are perma-

                   ritory.                                                                   nently affixed to the interior walls, floors

                                                                                             or ceilings of a covered building or struc-
        b.   The coverage territory is:
                                                                                             ture at the described premises, provided
             (1)   The United States of America (includ-                                     each item is:
                   ing its territories and possessions);
                                                                                             (1)   Described in the Declarations as cov-
             (2)   Puerto Rico; and                                                                ered    under       this     Optional    Coverage;

                                                                                                   and
             (3)   Canada.

                                                                                             (2)   Located      in    the     basement      or   ground
G. Optional Coverages
                                                                                                   floor level of the building or structure,
   If shown as applicable in the Declarations, the
                                                                                                   unless the Declarations show that this
   following Optional Coverages also apply. These
                                                                                                   Optional Coverage is applicable to in-
   coverages are subject to the terms and condi-
                                                                                                   terior glass at all floors; and
   tions     applicable         to     property     coverage           in   this
                                                                                             (3)   Owned by you, or owned by others but
   policy, except as provided below.
                                                                                                   in your care, custody or control.




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        b.   We will also pay for necessary:                                                      (3)   Of property contained in any "money"-
                                                                                                        operated device unless the amount of
             (1)   Expenses incurred to put up temporary
                                                                                                        "money" deposited in it is recorded by
                   plates or board up openings;
                                                                                                        a     continuous      recording        instrument      in
             (2)   Repair         or    replacement              of    encasing
                                                                                                        the device.
                   frames; and
                                                                                             c.   The most we will pay for loss in any one
             (3)   Expenses            incurred        to    remove         or    re-
                                                                                                  occurrence is:
                   place obstructions.
                                                                                                  (1)   The limit shown in the Declarations for
        c.   Paragraph A.3., Covered Causes Of Loss,
                                                                                                        Inside      the Premises for "money" and
             and Section B., Exclusions, do not apply
                                                                                                        "securities" while:
             to this Optional Coverage, except for:
                                                                                                        (a)   In or on the described premises; or
             (1)   Paragraph                  B.1.c.,         Governmental
                                                                                                        (b)   Within a bank or savings institution;
                   Action;
                                                                                                              and
             (2)   Paragraph B.1.d., Nuclear Hazard; and
                                                                                                  (2)   The limit shown in the Declarations for
             (3)   Paragraph            B.1.f.,        War     And         Military
                                                                                                        Outside the Premises for "money" and
                   Action.
                                                                                                        "securities" while anywhere else.

        d.   We will not pay for loss or damage caused
                                                                                             d.   All loss:
             by or resulting from:
                                                                                                  (1)   Caused by one or more persons; or
             (1)   Wear and tear;
                                                                                                  (2)   Involving a single act or series of re-
             (2)   Hidden or latent defect;
                                                                                                        lated acts;

             (3)   Corrosion; or
                                                                                                  is considered one occurrence.

             (4)   Rust.
                                                                                             e.   You must keep records of all "money" and

        e.   This       Optional        Coverage            supersedes            all             "securities" so we can verify the amount

             limitations in this policy that apply to inte-                                       of any loss or damage.

             rior glass.
                                                                                        4.   Employee Dishonesty

   3.   Money And Securities
                                                                                             a.   We will pay for direct loss of or damage to

        a.   We will pay for loss of "money" and "se-                                             Business Personal Property and "money"

             curities" used in your business while at a                                           and "securities" resulting from dishonest

             bank       or    savings            institution,    within          your             acts committed by any of your employees

             living     quarters            or   the    living    quarters         of             acting       alone     or     in   collusion    with    other

             your partners or any employee having use                                             persons (except you or your partner) with

             and    custody            of    the   property,          at   the    de-             the manifest intent to:

             scribed         premises,           or    in   transit        between
                                                                                                  (1)   Cause you to sustain loss or damage;
             any     of      these          places,     resulting          directly
                                                                                                        and also
             from:
                                                                                                  (2)   Obtain      financial        benefit     (other     than
             (1)   Theft, meaning any act of stealing;
                                                                                                        salaries, commissions, fees, bonuses,

             (2)   Disappearance; or                                                                    promotions,           awards,     profit     sharing,
                                                                                                        pensions         or   other    employee      benefits
             (3)   Destruction.
                                                                                                        earned      in    the    normal    course      of   em-
        b.   In addition to the Limitations and                              Exclu-                     ployment) for:
             sions applicable to property coverage, we
                                                                                                        (a)   Any employee; or
             will not pay for loss:
                                                                                                        (b)   Any other person or organization.
             (1)   Resulting from accounting or arithme-
                   tical errors or omissions;                                                b.   We will not pay for loss or damage:

             (2)   Due       to   the       giving     or   surrendering           of             (1)   Resulting from any dishonest or crimi-

                   property in any exchange or purchase;                                                nal act that you or any of your partners

                   or                                                                                   commit       whether         acting    alone      or   in

                                                                                                        collusion with other persons.




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           (2)   The only proof of which as to its exist-                        i.   The insurance under Paragraph h. above
                 ence or amount is:                                                   is part of, not in addition to, the Limit of

                                                                                      Insurance applying to this Optional Cov-
                 (a)   An inventory computation; or
                                                                                      erage and is limited to the lesser of the
                 (b)   A profit and loss computation.
                                                                                      amount recoverable under:

      c.   The most we will pay for loss or damage
                                                                                      (1)   This Optional Coverage as of its effec-
           in any one occurrence is the Limit of In-
                                                                                            tive date; or
           surance for Employee Dishonesty shown
                                                                                      (2)   The prior insurance had it remained in
           in the Declarations.
                                                                                            effect.
      d.   All loss or damage:
                                                                            5.   Mechanical Breakdown
           (1)   Caused by one or more persons; or
                                                                                 a.   We will pay for direct damage to Covered
           (2)   Involving a single act or series of re-
                                                                                      Property caused by an Accident to an Ob-
                 lated acts;
                                                                                      ject. The Object must be:

           is considered one occurrence.
                                                                                      (1)   Owned by you or in your care, custody

      e.   We will pay only for loss or damage you                                          or control; and

           sustain through acts committed or events
                                                                                      (2)   At the described premises.
           occurring          during    the    Policy    Period.      Re-
                                                                                 b.   Accident means a sudden and accidental
           gardless of the number of years this policy
                                                                                      breakdown of the Object or a part of the
           remains in force or the number of premi-
                                                                                      Object. At the time the breakdown occurs,
           ums paid, no Limit of Insurance cumulates
                                                                                      it must manifest itself by physical damage
           from year to year or period to period.
                                                                                      to the Object that necessitates repair or
      f.   This Optional Coverage does not apply to
                                                                                      replacement.
           any        employee       immediately        upon discov-
                                                                                 c.   None of the following is an Accident:
           ery by:

                                                                                      (1)   Depletion,      deterioration,         corrosion       or
           (1)   You; or
                                                                                            erosion;
           (2)   Any of your partners, officers or direc-
                                                                                      (2)   Wear and tear;
                 tors not in collusion with the employee;

                                                                                      (3)   Leakage        at    any    valve,      fitting,     shaft
           of    any    dishonest       act    committed       by   that
                                                                                            seal,     gland      packing,         joint    or    con-
           employee before or after being hired by
                                                                                            nection;
           you.

                                                                                      (4)   Breakdown           of   any    vacuum        tube, gas
      g.   We will pay only for covered loss or dam-
                                                                                            tube or brush;
           age        discovered       no   later   than      one   year

           from the end of the Policy Period.                                         (5)   Breakdown of any electronic computer
                                                                                            or    electronic         data   processing         equip-
      h.   If    you    (or    any    predecessor        in    interest)
                                                                                            ment;
           sustained loss or damage during the pe-
           riod of any prior insurance that you could                                 (6)   Breakdown of any structure or founda-

           have recovered under that insurance ex-                                          tion supporting the Object or any of its
           cept that the time within which to discover                                      parts;
           loss or damage had expired, we will pay
                                                                                      (7)   The functioning of              any   safety    or   pro-
           for it under this Optional Coverage, pro-
                                                                                            tective device; or
           vided:
                                                                                      (8)   The explosion of gases or fuel within
           (1)   This Optional Coverage became effec-
                                                                                            the furnace of any Object or within the
                 tive at the time of cancellation or ter-
                                                                                            flues     or   passages         through       which the
                 mination of the prior insurance; and
                                                                                            gases of combustion pass.
           (2)   The loss or damage would have been
                                                                                 d.   Object means any of the following equip-
                 covered by this Optional Coverage had
                                                                                      ment:
                 it    been    in    effect    when      the   acts    or
                                                                                      (1)   Boiler and Pressure Vessels:
                 events       causing       the   loss   or    damage

                 were committed or occurred.                                                (a)   Steam          heating          boilers         and
                                                                                                  condensate return tanks used with

                                                                                                  them;




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                 (b)    Hot     water      heating    boilers and ex-                                   (c)   Insulating or refractory material; or
                        pansion tanks used with them;
                                                                                                        (d)   Electrical, reciprocating or rotating

                 (c)    Hot water supply boilers;                                                             apparatus within or forming a part
                                                                                                              of the boiler or vessel.
                 (d)    Other fired or unfired vessels used

                        for    maintenance          or   service       of   the                   (2)   As Air Conditioning Units, any:
                        described premises but not used for
                                                                                                        (a)   Vessel, cooling tower, reservoir or
                        processing or manufacturing;
                                                                                                              other source of cooling water for a
                 (e)    Steam boiler piping, valves, fittings,                                                condenser          or     compressor,            or    any

                        traps     and      separators,       but    only      if                              water piping leading to or from that
                        they:                                                                                 source; or

                        (i)    Are    on    your    premises        or      be-                         (b)   Wiring or piping leading to or from
                               tween parts of your premises;                                                  the unit.

                       (ii)    Contain steam or condensate of                                f.   We     will      not    pay    for    an    Accident         to    any
                               steam; and                                                         Object while being tested.

                       (iii)   Are not part of any other vessel                              g.   Suspension

                               or apparatus;
                                                                                                  Whenever an Object is found to be in, or

                 (f)    Feed       water      piping      between           any                   exposed to, a dangerous condition, any of

                        steam        boiler   and    a    feed    pump or                         our         representatives               may      immediately

                        injector.                                                                 suspend the insurance against loss from

                                                                                                  an     Accident         to    that    Object.      This     can     be
           (2)   Air Conditioning Units - Any air condi-
                                                                                                  done        by   delivering          or    mailing      a    written
                 tioning        unit    that    has      a   capacity         of
                                                                                                  notice of suspension to:
                 60,000 Btu or more, including:
                                                                                                  (1)   Your last known address; or
                 (a)    Inductors, convectors and coils that

                        make use of a refrigerant and form                                        (2)   The     address         where        the    Object      is lo-
                        part of a cooling, humidity control                                             cated.

                        or space heating system;
                                                                                                  If we suspend your insurance, you will get
                 (b)    Interconnecting         piping,      valves         and                   a     pro    rata      refund    of    premium.             But    the

                        fittings           containing            only         a                   suspension             will   be     effective      even      if   we

                        refrigerant,        water,       brine    or    other                     have not yet made or offered a refund.

                        solution;
                                                                                   H.   Property Definitions

                 (c)    Vessels heated directly or indirectly
                                                                                        1.   "Money" means:
                        that:
                                                                                             a.   Currency, coins and bank notes in current
                        (i)    Form part of an absorption type
                                                                                                  use and having a face value; and
                               system; and
                                                                                             b.   Travelers           checks,          register      checks          and
                       (ii)    Function as a generator, regen-
                                                                                                  money orders held for sale to the public.
                               erator or concentrator;
                                                                                        2.   "Operations" means your business activities
                 (d)    Compressors,            pumps,           fans       and
                                                                                             occurring at the described premises.
                        blowers        used    solely     with    the       sys-
                                                                                        3.   "Period of restoration" means the period of
                        tem      together       with      their     driving
                                                                                             time that:
                        electric motors; and

                                                                                             a.   Begins:
                 (e)    Control equipment used solely with
                        the system.                                                               (1)   72 hours after the time of direct phys-

                                                                                                        ical loss        or     damage        for   Business In-
      e.   Object does not mean:
                                                                                                        come Coverage; or
           (1)   As Boiler and Pressure Vessels:
                                                                                                  (2)   Immediately             after       the    time   of    direct
                 (a)    Equipment that is not under internal
                                                                                                        physical loss or damage for Extra Ex-
                        vacuum or internal pressure other
                                                                                                        pense Coverage;
                        than weight of contents;
                                                                                                  caused by or resulting from any Covered
                 (b)    Boiler settings;
                                                                                                  Cause of Loss at the described premises;
                                                                                                  and
                                                                                                  d




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        b.    Ends on the earlier of:                                              a.   Sinkhole         collapse    means       the    sudden
                                                                                        sinking     or    collapse   of   land   into    under-
             (1)   The date when the property at the de-
                                                                                        ground       empty     spaces     created       by    the
                   scribed premises should be repaired,
                                                                                        action of water on limestone or dolomite.
                   rebuilt    or   replaced        with     reasonable
                                                                                        This cause of loss does not include:
                   speed and similar quality; or
                                                                                        (1)   The cost of filling sinkholes; or
             (2)   The date when business is resumed at

                   a new permanent location.                                            (2)   Sinking or collapse of land into man-
                                                                                              made underground cavities.
        "Period of restoration" does not include any

        increased         period         required      due      to     the         b.   Falling objects does not include loss of or
        enforcement of any ordinance or law that:                                       damage to:

             (1)   Regulates the construction, use or re-                               (1)   Personal property in the open; or
                   pair, or requires the tearing               down     of
                                                                                        (2)   The interior of a building or structure,
                   any property; or
                                                                                              or property inside a building or struc-
             (2)   Requires any insured or others to test                                     ture, unless the roof or an outside wall

                   for, monitor, clean up, remove, contain,                                   of   the   building    or   structure     is   first

                   treat, detoxify or neutralize, or in any                                   damaged by a falling object.
                   way respond to or assess the effects
                                                                                   c.   Water       damage      means      accidental        dis-
                   of "pollutants".
                                                                                        charge or leakage of water or steam as
        The expiration date of this policy will not cut                                 the direct result of the breaking apart or

        short the "period of restoration".                                              cracking of any part of a system or appli-

                                                                                        ance (other than a sump system including
   4.   "Pollutants" means any solid, liquid, gaseous
                                                                                        its related equipment and parts) contain-
        or thermal irritant or contaminant, including
                                                                                        ing water or steam.
        smoke,       vapor,     soot,        fumes,   acids,    alkalis,

        chemicals and waste. Waste includes materi-                           7.   "Valuable        papers     and   records"     means       in-

        als    to    be   recycled,          reconditioned       or    re-         scribed, printed, or written:
        claimed.
                                                                                   a.   Documents;

   5.   "Securities"         means           negotiable     and       non-
                                                                                   b.   Manuscripts; and
        negotiable        instruments         or   contracts    repres-
                                                                                   c.   Records;
        enting either "money" or other property and

        includes:                                                                  including abstracts, books, deeds, drawings,

                                                                                   films, maps or mortgages.
        a.    Tokens, tickets, revenue and other stamps

              (whether represented by actual stamps or                             But "valuable papers and records" does not
              unused value in a meter) in current use;                             mean:
              and
                                                                                   d.   "Money" or "Securities";
        b.    Evidences       of   debt      issued    in   connection
                                                                                   e.   Converted Data;
              with credit or charge cards, which cards
              are not issued by you;                                               f.   Programs         or   instructions   used       in   your

                                                                                        data processing operations, including the
        but does not include "money".
                                                                                        materials on which the data is recorded.
   6.   "Specified        Causes        of   Loss"    means     the    fol-

        lowing:

        Fire; lightning; explosion, windstorm or hail;

        smoke;       aircraft      or    vehicles;      riot    or    civil
        commotion; vandalism; leakage from fire ex-

        tinguishing          equipment;         sinkhole       collapse;
        volcanic      action;      falling      objects;    weight      of
        snow, ice or sleet; water damage.




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                                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                       J6353
                                                                                                            1st Edition




                                             CHANGE TO LIMITS OF INSURANCE




This endorsement modifies insurance provided under the following:



     BUSINESSOWNERS LIABILITY COVERAGE FORM


     APARTMENT OWNERS LIABILITY COVERAGE FORM


     CONDOMINIUM LIABILITY COVERAGE FORM



The following provision replaces D.1.


1.   The Limits of Insurance shown in the Declarations and the rules below fix the most we will pay regardless of

     the number of:


     a. Insureds;


     b. Claims made or "suits" brought;

     c. Persons or organizations making "claims" or bringing "suits"; or

     d. Policies involved.




This endorsement is part of your policy. It supersedes and controls anything to the contrary. It is otherwise

subject to all the terms of the policy.




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                                                                                                                          S2297

                                                                                                                          Illinois
                                                                                                                     st
                                                                                                                    1     Edition



        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                             ILLINOIS CHANGES DEFENSE COSTS
This endorsement modifies insurance provided under the following:



   BUSINESSOWNERS LIABILITY COVERAGE FORM

   CONDOMINIUM LIABILITY COVERAGE FORM

   APARTMENT OWNERS LIABILITY COVERAGE FORM




The following is added to paragraph A. Coverages:

If we initially defend an insured or pay for an insured's defense but later determine that the claim(s) is (are) not

covered under this insurance, we will have the right to reim bursement for the defense costs we have incurred.

The right to reimbursement for the defense costs under this provision will only apply to defense costs we have

incurred after we           notify you   in writing that there may   not be   coverage, and that we are reserving our rights to

te rminate the defense and seek reimbursement for defense costs.




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            st
90-2297 1        edition 10 05              Copyright ISO Properties, Inc.with its permission                      Page 1 of 1
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                                                                                                                         BUSINESSOWNERS

                                                                                                                                 BP 05 14 01 03



           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                          WAR LIABILITY EXCLUSION
This endorsement modifies insurance provided under the following:




      BUSINESSOWNERS COVERAGE FORM




The following provisions are added to the Businessown-                                   (3)    Insurrection, rebellion, revolution, usurped

ers Liability Coverage Form BP 00 06 and Section II                                             power,   or action       taken   by   governmental

Liability of the Businessowners Coverage Form BP 00                                             authority in hindering or defending against

03:                                                                                             any of these.

A.    Exclusion       i. under Paragraph      B.1.,   Exclusions            B.   Exclusion h. under Paragraph B.2. Exclusions

      Applicable To Business Liability Coverage is re-                           Applicable To Medical Expenses Coverage does

      placed by the following:                                                   not   apply.      Medical Expenses due          to war   are now

                                                                                 subject      to   Exclusion   g.   of   Paragraph      B.2.   since
      1.   Applicable To Business Liability Coverage
                                                                                 "bodily injury" arising out of war is now excluded un-
           This insurance does not apply to:
                                                                                 der Paragraph B.1., Exclusions                   Applicable To

           i.   War                                                              Business Liability Coverage.

                "Bodily injury", "property damage", "personal

                injury", "advertising injury" or "personal and

                advertising injury", however caused, arising,

                directly or indirectly, out of:

                (1)   War, including undeclared or civil war; or

                (2)   Warlike action by a military force, includ-

                      ing   action   in   hindering   or    defending

                      against an actual or expected attack, by

                      any   government,      sovereign       or   other

                      authority using military personnel or other

                      agents; or




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                               THIS ENDORSEMENT CHANGES THEPOLICY.                    PLEASE READ IT CAREFULLY.




                                                                                                                                    S   2269
                                                                                                                                        1st Edition




                                      ILLINOIS MARIJUANA EXCLUSION
This endorsement modifies insurance provided under the following:



BUSINESSOWNERS COVERAGE FORM

BUSINESSOWNERS POLICY




A.   The Businessowners Special Property Coverage Form and Section I - Property of the Businessowners Coverage Form are

     amended as follows:



     1.    The following is added to Paragraph A.2. Property Not Covered:



           a.   "Marijuana".



     2.    Coverage under this Policy does not apply to that part of Business Income loss or Extra Expense incurred due to a

           suspension     of   your   "operations"      which involve   the design,   cultivation, manufacture,    distribution,    sale,   serving,

           furnishing, use or possession of "marijuana".



     3.    Paragraphs A.1. and A.2. above do not apply to any "marijuana" that is not designed, manufactured, distributed,

           sold, served or furnished for bodily:



           a.   Ingestion;



           b.   Inhalation;



           c.   Absorption; or



           d.   Consumption.



B.   The   following    exclusion     is   added   to   the Businessowners   Liability   Coverage   Form   and   Section   II -   Liability   of   the

     Businessowners Coverage Form :



     This insurance does not apply to:



     1.    "Bodily injury", "property damage" or "personal and advertising injury" arising out of, caused by, or attributable to,

           whether in whole or in part, the following:



           a.   The design, cultivation, manufacture, distribution, sale, serving, furnishing, use or possession of "marijuana";



           b.   The actual, alleged, threatened or suspected inhalation, ingestion, absorption or consumption of, contact with,

                exposure to, existence of, or presence of "marijuana"; or



     2.    "Property damage" to "marijuana".



     This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the supervision,

     hiring, employment, training or monitoring of others.



     However, this exclusion does not apply to:



           a.   Any "marijuana" that is not designed, manufactured, distributed, sold, served or furnished for bodily:



                (1)    Ingestion;



                (2)    Inhalation;



                (3)    Absorption; or



                (4)    Consumption; or



           b.   The legitimate use of prescription drugs by a person following the orders of a licensed physician.




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C.   For the purposes of this endorsement, the following definition is added:



     "Marijuana":



     1.    Means:



           Any good or product that consists of or contains any amount of Tetrahydrocannabinol (THC), Cannabidiol (CBD) or

           any other cannabinoid, regardless of whether any such cannabinoid is natural or synthetic.



     2.    Paragraph C.1. above includes, but is not limited to, any of the following containing such cannabinoid:



           a.   Any plant of the genus Cannabis L., or any part thereof, such as seeds, stems, flowers, stalks and roots; or



           b.   Any compound, byproduct, extract, derivative, mixture or combination, such as, but not limited to:



                (1)    Resin, oil or wax;



                (2)    Hash or hemp; or



                (3)    Infused liquid or edible marijuana;



                whether derived from any plant or part of any plant set forth in Paragraph C.2.a. above or not.




This endorsement is part of your policy.        It supersedes and controls anything to the contrary.         It is otherwise subject to all the

terms of the policy.




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POLICY NUMBER:               60548-58-54                                                                          BUSINESSOWNERS




                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




              BUSINESSOWNERS SPECIAL FORM COMPUTER COVERAGE


This endorsement modifies insurance provided under the following:



     BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM



                                                                    SCHEDULE*


Electronic Data Processing Equipment                                            LIMITS OF INSURANCE


Prem.                                        Bldg.

No.                                          No.

001                                          001                                $           10,000/OCCURRENCE
                                                                                $
                                                                                $
The Limit of Insurance for Electronic Media and Records is 25% of the Limit of Insurance shown for Electronic

Data Processing Equipment unless a higher Limit of Insurance for Electronic Media and Records is shown

below.



Electronic Data Processing Media And Records                                    LIMITS OF INSURANCE


Prem.                                        Bldg.

No.                                          No.

001                                          001                                $            2,500/OCCURRENCE
                                                                                $
                                                                                $
*Information required to complete this Schedule, if not shown on this endorsement, will be shown in the

Declarations.



The coverage provided by this endorsement is sub-                               (1)    Electronic Data Processing Equipment

ject    to     the        provisions         applicable       to    the                (Hardware)

Businessowners            Special      Property    Coverage        Form
                                                                                       As   used    in    this   endorsement,       Elec-
attached      to   this    policy,     including     the    deductible
                                                                                       tronic   Data     Processing Equipment in-
provisions, except as otherwise provided within this
                                                                                       cludes:
endorsement.
                                                                                      (a)   Programmable           electronic     equip-
The following provisions               (A.   through   H.   inclusive)
                                                                                            ment that is used to store, retrieve
apply    only      to     the    coverage      provided       by    this
                                                                                            and process data; and
endorsement:
                                                                                      (b)   Associated      peripheral      equipment
A.   Paragraph A.1.b. Business Personal Property is
                                                                                            that   provides       communication       in-
     replaced by the following:
                                                                                            cluding input        and   output   functions
         b.   Business Personal Property                                                    such as printing, or auxiliary func-
                                                                                            tions such as data transmission;
              Covered           Property      as     used     in    this
              endorsement includes the following types                              except as described in (2) below.
              of property that you own that are used in

              your business; and property of others as
              defined below, that is in your care, cus-

              tody or control, except as otherwise pro-
              vided     in      Loss   Payment       Property      Loss
              Condition E.6.d.(3)(b).




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POLICY NUMBER:                     60548-58-54                                                                                    BUSINESSOWNERS




                (2)    Electronic Media And Records (Includ-                           We    will       charge      you    additional      premium     for

                       ing Software)                                                   values reported from the date you acquire the
                                                                                       premises.
                       As     used     in    this   endorsement,          Elec-

                       tronic Media and Records includes:                         2.   Coverage           Extension        6.b.     Personal     Property
                                                                                       Off Premises applies to Covered Property:
                      (a)    Electronic data processing, record-

                             ing or storage media such as films,                                  (a)   While such property is in the course
                             tapes, discs, drums or cells;                                              of transit or is located at a premises

                                                                                                        you do not own, lease or                  operate
                      (b)    Data stored on such media; and
                                                                                                        for not more than 90 days.
                      (c)    Programming             records       used     for
                                                                                                  (b)   Including          duplicate       or     back-up
                             electronic data processing or elec-
                                                                                                        electronic media             and   records    that
                             tronically controlled equipment.
                                                                                                        are    stored      at   a   separate      location
B.   The following is added to Paragraph A.2. Prop-
                                                                                                        which is at least 100 feet from the
     erty Not Covered:
                                                                                                        premises described in the Schedule

          g.    Property held as samples, held for rental                                               or    Declarations           as    applying       to

                or sale or that you rent to others;                                                     electronic media and records.

          h.    Property in storage away from the prem-                           3.   The following are added to A.6. Coverage Ex-

                ises shown in the Declarations or in the                               tensions:

                Schedule, except as provided in the Cov-
                                                                                       e.   Mechanical Breakdown Of Electronic Data
                erage Extensions of this endorsement;
                                                                                            Processing Equipment

           i.   Electronic           data     processing         equipment
                                                                                            We will pay for loss or damage to Covered
                which         is   permanently         installed     or    de-
                                                                                            Property due to mechanical breakdown if
                signed to be permanently installed in any
                                                                                            such loss or damage exceeds in any one
                aircraft,      watercraft,          motortruck     or     other
                                                                                            occurrence              the     applicable          deductible
                vehicle subject to motor vehicle registra-
                                                                                            shown in the Declarations.
                tion; or
                                                                                            We     will      then   pay     the     amount      of loss or
           j.   Accounts,           bills,   evidences      of     debt    and
                                                                                            damage in excess of the deductible up to
                valuable           papers     and    records.      However,
                                                                                            the applicable Limit of Insurance for the
                such property is Covered Property in its
                                                                                            Covered Property.
                "converted data" form.
                                                                                            This        Coverage           Extension       is    included
C.   Under A.4. Limitations, Paragraphs a.(1) and (2)
                                                                                            within the Limit of Insurance applying to
     do not apply.
                                                                                            Electronic Data Processing Equipment at

D.   Under            A.6.     Coverage             Extensions      in      the             the described premises.

     Businessowners                  Special        Property       Coverage
                                                                                       f.   Artificially Generated Electrical Current
     Form:
                                                                                            We will pay for loss or damage to Elec-
     1.   Under        the     Personal       Property      at   Newly     Ac-
                                                                                            tronic Data Processing Equipment due to
          quired Premises Coverage Extension 6.a., in-
                                                                                            artificially      generated           electrical    current   if
          surance            under    this    Extension      for    Covered
                                                                                            such loss or damage is caused by or re-
          Property will end when any of the following
                                                                                            sults from:
          first occurs:
                                                                                            (1)   An     occurrence         that    took place within
           a.   This policy expires;
                                                                                                  100 feet of the described premises; or

          b.    30     days        expire    after    you   acquire        new
                                                                                            (2)   Interruption        of    electric   power       supply,
                premises or begin construction at the new
                                                                                                  power       surge, blackout or brownout if
                premises;
                                                                                                  the     cause      of    such      occurrence      took

           c.   Specific insurance for the Covered Prop-                                          place within 100 feet of the described

                erty     at    the    newly     acquired     premises        is                   premises.

                obtained; or

          d.    You report values to us.




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POLICY NUMBER:                60548-58-54                                                                                                       BUSINESSOWNERS




             If such loss or damage as specified above,                                 F.   Additional Exclusions

             exceeds in any one occurrence the appli-
                                                                                             The following exclusions apply in addition to the
             cable       deductible         shown         in   the        Declara-
                                                                                             exclusions        listed      under          B.    Exclusions           in    the
             tions, we will then pay the amount of loss
                                                                                             Businessowners               Special              Property         Coverage
             or damage in excess of the deductible up
                                                                                             Form.
             to the applicable Limit of Insurance for the
                                                                                             We will not pay for loss or damage caused by or
             Equipment.
                                                                                             resulting from any of the following:
             This        Coverage           Extension           is        included
                                                                                             1.   Human       errors          or    omissions            in    processing,
             within the Limit of Insurance applying to
                                                                                                  recording or storing information on electronic
             Electronic Data Processing Equipment at
                                                                                                  media and records and electronic data proc-
             the described Location.
                                                                                                  essing equipment.
             The Electrical Apparatus Exclusion B.2.a.
                                                                                                  But    we   will    pay          for   direct     loss       or   damage
             in    the    Businessowners             Special              Property
                                                                                                  caused by resulting fire or explosion if these
             Coverage          Form         does    not        apply       to    this
                                                                                                  causes      of    loss       would          be    covered          by    this
             Coverage Extension.
                                                                                                  endorsement.
E.   The following is added to Paragraph B. Exclu-
                                                                                             2.   Electrical or magnetic injury, disturbance or
     sions   in    the    Businessowners             Special              Property
                                                                                                  erasure      of   electronic            recordings,           except      as
     Coverage Form:
                                                                                                  provided for under the Coverage Extensions
     1.   The following exclusions do not apply to cov-
                                                                                                  of this endorsement.
          erage provided under this endorsement:
                                                                                                  But    we   will    pay          for   direct     loss       or   damage
          B.1.e.    Power        Failure,        B.2.c.    Smoke,           B.2.d.
                                                                                                  caused by lightning.
          Steam      Apparatus,         B.2.i.     Collapse,          B.2.k.(3),
                                                                                             3.   Failure,     breakdown                 or   malfunction           of    elec-
          (4) and (5) Other Types Of Loss exclusions
                                                                                                  tronic media and records and electronic data
          and B.3.b. Acts Or Decisions.
                                                                                                  processing equipment, including parts, while
     2.   Exclusion B.2.k.(7) is replaced by the follow-
                                                                                                  the    media      is   being           run   through         the    equip-
          ing:
                                                                                                  ment.
                   (a)   Dampness            or    dryness           of    atmos-
                                                                                                  But,   we    will      pay       for    direct loss or damage
                         phere,    or       changes in or extremes
                                                                                                  caused by resulting fire or explosion if these
                         of temperature, unless such condi-
                                                                                                  causes of loss are covered by this endorse-
                         tions result from physical damage
                                                                                                  ment.
                         caused by a covered cause of loss
                                                                                             4.   Installation,       testing,           repair     or    other      similar
                         to   an air conditioning unit or sys-
                                                                                                  service     performed              upon the electronic data
                         tem, including equipment and parts,
                                                                                                  processing media and records or electronic
                         which is part of, or used with the
                                                                                                  data processing equipment, including parts.
                         electronic         data    processing              equip-

                         ment.                                                          G. Property Loss Conditions

                   (b)   Marring or scratching:                                              Paragraph        d.(6)      of    the       Loss      Payment          Property
                                                                                             Loss Condition does not apply to electronic me-
                         But if an excluded cause of loss that
                                                                                             dia and records that are actually replaced or re-
                         is listed in B.2.k.(1), (2),                (6)    or    (7)
                                                                                             stored.
                         results       in    a    "specified          cause       of
                         loss"    or    building      glass          breakage,          H.   The following is added to H. Property Definitions:
                         we will pay for the loss or damage
                                                                                             7.   "Converted data" means information that is
                         caused by that "specified cause of
                                                                                                  stored      on    electronic media, that is capable
                         loss" or building glass breakage.
                                                                                                  of being communicated, processed or inter-
                                                                                                  preted by electronic data processing equip-

                                                                                                  ment.




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                                                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                                                                                                                                                                                   E   3451
                                                                                                                                                                                                   1st Edition




                                                          RETAIL/SERVICE PRIMARY PACKAGE ENDORSEMENT


This endorsement modifies insurance provided under the following:



                                                           BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM BP 00 02



With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified by this endorsement.



A.   The     following           coverages           are     added          to       5.    Additional             (1)    You may extend the insurance that applies to Building(s)

     Coverages       under        A. Coverage:                                                                           to apply to:


          n. Arson Conviction Reward
                                                                                                                        (a)    Your    new      building(s)        while       being   constructed        on the

            (1)   We      will   pay     an    arson      conviction reward               to    a    person                    described premises; and

                  or persons (not to include the Named Insured or any
                                                                                                                        (b)    Building(s) you acquire at locations, other than at the
                  person         responsible         in   any   way       for    the      subject         fire)
                                                                                                                               described premises, intended for:
                  providing         information            which      leads          to     an        arson

                  conviction        in   connection          with    a    fire   loss      or   damage
                                                                                                                              (i)    Similar       use       as     a     building      described         in    the

                  covered by this policy.
                                                                                                                                     Declarations;


            (2)   The      amount        of        the    reward     will       be    equal          to    the                (ii)   Use as a warehouse.

                  amount of the covered loss; however, in no event will
                                                                                                                         The    most       we    will    pay       for    loss   or    damage          under    this
                  the amount of the reward exceed $5,000 for any one
                                                                                                                         Extension         is   the   lesser       of    the   amount        of   covered       loss
                  fire occurrence.
                                                                                                                         under       the    terms      of    the    policy,      or    $250,000         for    each

            (3)   The reward applies per fire occurrence regardless of                                                   covered building.

                  the number of persons providing information
                                                                                                                  (2)    Coverage          under      this   Extension         for    each    newly     acquired

            No deductible applies to this Additional Coverage.                                                           or constructed building will end upon the first to occur of

                                                                                                                         the following:
          o. Fire Extinguisher Recharge Expense

                                                                                                                        (a)    This policy expires or is terminated;
            We     will     pay     up        to    $2,500      per       occurrence                for    the

            necessary         costs      to    recharge         or   replace          (whichever            is          (b)    The     thirtieth       day     after       you       acquire      or    begin       to

            less) fire extinguishers owned by you that are discharged                                                          construct the building; or

            as    a result       of extinguishing           a covered fire             which         occurs
                                                                                                                        (c)    You    request         that    the        subject      building     be    covered
            at the premises described in the Declarations.
                                                                                                                               under the policy.

            No deductible applies to this                   Additional Coverage.
                                                                                                                         We will charge you an additional premium from the date

B. The      following        Extension             is     added      to     A.       Coverage,              6.           construction begins or you acquire the property.

     Coverage Extensions:
                                                                                                                   The    deductible         applicable to          and     shown       in the     Declarations

          g. Newly Acquired Or Constructed Property                                                                for Building(s) applies to each loss under this Extension.




This endorsement is part of your policy. It supersedes and controls anything to the contrary. It is otherwise subject to all the terms of the

policy.



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                                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                                          E6289
                                                                                                                              1st Edition




Policy Number:
                                 60548-58-54                            Effective Date:
                                                                                             09/16/19


                                        BUSINESS INCOME AND EXTRA EXPENSE - 18 MONTHS



This endorsement modifies insurance provided under the following:


APARTMENT OWNERS PROPERTY COVERAGE FORM

BUSINESSOWNERS COVERAGE FORM

BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM


The provisions of the applicable Coverage Form apply unless modified by this endorsement.


A. The         Businessowners         Special   Property   Coverage   Form   BP   00   02,   or   Section   I   -   Property      of   the

    Businessowners Coverage Form                 BP 00 03 is amended as follows:


    1. Item A.5.f.(1) Business Income is amended as follows:


          The maximum              period   for which we will pay for loss of Business Income that you sustain during the

          "period of restoration" is         18 consecutive months after the date of direct physical loss or        damage.


    2. Item A.5.g.(2) Extra Expense, is amended as follows:


          We will only pay for Extra Expense that occurs within 18 consecutive                    months after the date of direct

          physical loss or damage.



B. The Apartment Owners Property Coverage Form                      E3424 is amended as follows:


    1. Item A.5.e.(1) Business Income is amended as follows:


          The maximum              period   for which we will pay for loss of Business Income that you sustain during the

          "period of restoration" is         18 consecutive months after the date of direct physical loss or        damage.



    2. Item A.5.f.(2) Extra Expense, is amended as follows:


          We will only pay for Extra Expense that occurs within 18 consecutive                    months after the date of direct

          physical loss or damage.




This endorsement                is part of your policy. It supersedes and controls anything to the contrary. It is otherwise

subject to all other terms of the policy.




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              THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                                J7138
                                                                                                                    1st Edition




           BUSINESS INCOME AND EXTRA EXPENSE - PARTIAL SLOWDOWN COVERAGE

This endorsement modifies insurance provided under the following:


BUSINESSOWNERS COVERAGE FORM

BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM


A. Paragraph A.5. Additional Coverages in SECTION I - PROPERTY of the Businessowners Coverage
    Form is amended as follows:

    Item (3) in Paragraphs 5.f. Business Income and 5.g. Extra Expense is replaced by the following:


    (3) With respect to the coverage provided in this Additional Coverage, suspension means:

          (a) The partial slowdown or complete cessation of your business activities; or

          (b) That a part or all of the described premises is rendered untenantable, if coverage for Business
              Income applies.

B. Section A.5. Additional Coverages of the Businessowners Special Property Coverage Form is
    amended as follows:


    1.    The following is added to Paragraphs 5.f. Business Income and 5.g. Extra Expense:

          (3) With respect to the coverage provided in this Additional Coverage, suspension means:

              (a) The partial slowdown or complete cessation of your business activities; or

              (b) That a part or all of the described premises is rendered untenantable, if coverage for
                  Business Income applies.


    2.    The last sentence of Paragraph 5.f. Business Income is replaced by the following:


          (4) This Additional Coverage is not subject to the Limits of Insurance.


    3.    The last two sentences of Paragraph 5.g. Extra Expense are replaced by the following:

          (4) We will only pay for Extra Expense that occurs within 12 consecutive months after the date of
              direct physical loss or damage. This Additional Coverage is not subject to the Limits of
              Insurance.


C. Paragraph B.4. Business Income And Extra Expense Exclusions in SECTION I                                PROPERTY of the
    Businessowners Coverage Form is amended as follows:


    Sub-paragraph b. is replaced by the following:

    b.    With respect to this exclusion, suspension means:


          (1) The partial slowdown or complete cessation of your business activities; or

          (2) That a part or all of the described premises is rendered untenantable, if coverage for Business
              Income applies.


D. The following is added to Paragraph B.4. Business Income And Extra Expense Exclusions of the
    Businessowners Special Property Coverage Form:


    With respect to this exclusion, suspension means:


    a.    The partial slowdown or complete cessation of your business activities; or

    b.    That a part or all of the described premises is rendered untenantable, if coverage for Business
          Income applies.


This endorsement is part of your policy. It supersedes and controls anything to the contrary. It is
otherwise subject to all the terms of the policy.


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                              THIS ENDORSEMENT CHANGES THEPOLICY.                            PLEASE READ IT CAREFULLY.




                                                                                                                                                      J 7182
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                                                      DRONE AIRCRAFT COVERAGE

This endorsement modifies insurance provided under the:



BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM




A.   The following items are added to Paragraph 5. Additional Coverages under Section A. Coverage:



     1.    Drones Ô Direct Damage             Coverage



           a.   We will pay for direct physical loss of or damage to ×drone                     aircraftÖ     that is used in your business caused by or

                resulting from a Covered Cause of Loss located anywhere in the coverage territory.



           b.   The reference to aircraft in Paragraph a. under Section A.2. Property Not Covered does not apply to the extent

                that coverage is provided in this Additional Coverage.



           c.   To    the extent that coverage          is provided    in   this Additional       Coverage,       Section B.      Exclusions         is amended        as

                follows:



                (1)    Exclusion B.2.a. Electrical Apparatus does not apply.



                (2)    Exclusion B.2.k.(5) does not apply to ×drone aircraftÖ while aloft.



                (3)    Exclusion    B.2.k.(6)       Mechanical Breakdown         does    not apply.           However,      we   will   not   pay for     mechanical

                       breakdown caused by or resulting from:



                       (a)   Malfunction including but not limited to adjustment, alignment, calibration, cleaning or modification;



                       (b)   Leakage at any valve, fitting, shaft seal, gland packing, joint or connection; or



                       (c)   Damage to ×drone aircraftÖ undergoing a pressure or electrical test.



                (4)    We will not pay for loss or damage caused by or resulting from installation, testing, repair or other similar

                       services performed upon ×drone aircraftÖ, including its electronic equipment or                            components.



                (5)    We    will not pay     for   loss or   damage   to ×drone      aircraftÖ   when such loss or damage occurs                     while     ×drone

                       aircraftÖ is being used to convey merchandise             or goods for delivery to others.



                (6)    We will not pay for loss or damage to ×drone             aircraftÖ    when such loss or damage is caused by or results from

                       ×drone    aircraftÖ    being    used   in any   professional     or   organized        racing   or   demolition        contest or     stunting

                       activity.   We will also not pay for loss or damage that occurs while ×drone                          aircraftÖ    is being prepared           for

                       such contest or activity.



           d.   The most we will pay under this Additional Coverage in any one occurrence is $10,000 , unless a higher limit is

                shown on the Declarations, but not more than $2,500 for any one item, unless a higher per item limit is shown

                on    the    Declarations.     This    Additional    Coverage    will   not   increase        the   Business     Personal      Property      Limit     of

                Insurance provided in this policy.



     2.    Drones Ô Business Income and Extra                  Expense Coverage



           a.   We will pay for the actual loss of Business Income you sustain due to the suspension of your business activities

                requiring the use       of    ×drone    aircraftÖ.   The suspension must be caused by                  direct physical damage              to   ×drone

                aircraftÖ    used in your business located anywhere in the coverage territory.                       The loss or damage must be caused

                by or result from a Covered Cause of Loss.



                 (1) The coverage period for Business Income under this Additional Coverage:



                       (a)   Begins   72     hours    after the time   of   direct   physical     loss   or   damage    to ×drone        aircraftÖ    used      in   your

                             business caused by or resulting from any Covered Cause of Loss; and



                       (b)   Ends on the date when the ×drone               aircraftÖ   should be repaired, rebuilt or replaced with reasonable

                             speed and similar quality.



                (2)    The definition of      Business Income         contained in Paragraph             A.5.f.   Business Income             also   applies to      this

                       Additional Coverage.




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           b.    We     will pay   necessary Extra Expense you           incur     during   the ×period      of restorationÖ     that you    would     not       have

                 incurred if there had been no direct physical loss or damage to ×drone                        aircraftÖ   used in your business           located

                 anywhere in the coverage territory.



                 (1)    The coverage period for Extra Expense under this Additional Coverage:



                        (a)   Begins immediately after the time of direct physical loss or damage to ×drone                          aircraftÖ     used in your

                              business caused by or resulting from any Covered Cause of Loss; and



                        (b)   Ends on the date when the ×drone                aircraftÖ   should be repaired, rebuilt or replaced with reasonable

                              speed and similar quality.



                 (2)    The   definition    of    Extra   Expense    contained      in    Paragraph   A.5.g.    Extra      Expense    also       applies    to   this

                        Additional Coverage.



           c.    The    most    we   will   pay   under    this   Additional    Coverage      is   $10,000    unless   a   higher   limit   is   shown      on    the

                 Declarations.



B.   Definition



     For the purposes of this endorsement ×drone                  aircraftÖ   means unmanned aircraft and all associated support equipment,

     including its remote control station, communication                      and navigation equipment, necessary to operate the unmanned

     aircraft.




This endorsement is part of your policy.             It supersedes and controls anything to the contrary.                  It is otherwise subject to all the

terms of the policy.




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                                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                                                                       W  1228
                                                                                                                                                               ILLINOIS

                                                                                                                                                           2nd Edition




                                                                   ILLINOIS CHANGES



This endorsement modifies insurance provided under the following:


BUSINESSOWNERS POLICY


A.   The BUSINESSOWNERS                    SPECIAL PROPERTY COVERAGE                                             FORM or SECTION I - PROPERTY

     of the BUSINESSOWNERS COVERAGE FORM is amended as follows:


     1. The following exclusion is added to Paragraph                             B.2. Exclusions:

           a.   We will not pay for loss or damage arising out of any act committed:

                (1) By or at the direction of any insured; and

                (2) With the intent to cause a loss.

           b. However,         this exclusion    will not apply to deny payment                               to an innocent co-insured               who did not

                cooperate in or contribute to the creation of the loss if:

                (1) The loss arose out of a pattern of criminal domestic violence; and

                (2) The perpetrator of the loss is criminally prosecuted for the act causing the loss.


           c.   If we pay a claim       pursuant        to Paragraph             B.2.b., our payment                     to the insured         is limited    to that

                insured's insurable interest in the property less any payments we first made to a mortgagee or other

                party with a legal secured interest in the property. In no event will we pay more than the Limit of

                Insurance.


     2. The following is added to           E.4. Legal Action Against Us Property Loss Condition:

           The two year period for legal action against us is extended by the number of days between the date the

           proof of loss is filed with us and the date we deny the claim in whole or in part.


B.   The        BUSINESSOWNERS               LIABILITY              COVERAGE                   FORM            or    SECTION II - LIABILITY of                         the

     BUSINESSOWNERS COVERAGE FORM is amended as follows:


     The term "spouse" is replaced by the following:


     Spouse or party to a civil union recognized under Illinois law.


C. The          BUSINESSOWNERS                  COMMON                    POLICY              CONDITIONS                          form,    or   SECTION          III      -

     COMMON POLICY CONDITIONS of THE BUSINESSOWNERS                                                                      COVERAGE               FORM is amended

     as follows:

     1. Paragraph A. Cancellation is replaced by the following:

          A. Cancellation

                1. The first Named        Insured        shown in the Declarations                          may cancel             this policy   by mailing       to us

                    advance written notice of cancellation.

                2. If this policy has been in effect                for 60 days or less, except as provided                               in Paragraphs    8. and 9.

                    below, we may cancel this policy by mailing written notice of cancellation at least:

                    a.    10 days before the effective date of cancellation if we cancel for nonpayment of premium; or

                    b. 30 days before the effective date of cancellation if we cancel for any other reason.

                3. If this policy has been in effect for more than 60 days, except as provided                                              in Paragraphs 8. and

                    9. below, we may cancel this policy only for one or more of the following reasons:

                    a.    Nonpayment of premium;

                    b. The policy was obtained through a material misrepresentation;

                    c.    You have violated any of the terms and conditions of the policy;

                    d. The risk originally accepted has measurably increased;




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                    e.    Certification         to the     Director         of Insurance               of    the loss of reinsurance                by the insurer        which

                          provided coverage to us for all or a substantial part of the underlying risk insured; or


                    f.    A determination           by the Director of Insurance that the continuation                                           of the policy could place

                          us in violation of the insurance laws of this State.

                    If we cancel this policy based on one or more of the above                                                 reasons except           for nonpayment           of

                    premium,           we will mail written notice at least 60 days before the effective                                             date of cancellation.

                    When cancellation              is for nonpayment of premium, we will mail written notice at least 10 days

                    before the effective date of cancellation.


                4. We will mail our notice to you, any mortgagee                                        or lienholder            known to us, and to the agent or

                    broker.

                5. Notice of cancellation will state the effective                               date of cancellation. The policy period will end on

                    that date.

                6. If this policy is cancelled, we will send the first Named Insured any premium refund due. If we

                    cancel, the refund will be pro rata. If the first Named                                           Insured cancels, the refund may be less

                    than pro rata. The cancellation will be effective even if we have not made or offered a refund.


                7. Our notice of cancellation will state the reason for cancellation.

                8. Real Property Other Than Residential Properties Occupied By Four Families Or Less

                    The following              applies    only if this           policy       covers         real   property        other      than residential        property

                    occupied by four families or less:

                    If any one or more of the following conditions exists at any building that is Covered Property in

                    this policy, we may cancel this policy by mailing to you written notice of cancellation, by both

                    certified and regular mail, if:

                    a.    After    a    fire   loss,   permanent            repairs        to    the        building      have       not      started   within   60     days     of

                          satisfactory adjustment of loss, unless the delay is due to a labor dispute or weather conditions.



                    b. The building has been unoccupied 60 or more consecutive days. This does not apply to:

                          (1) Seasonal unoccupancy; or

                          (2) Buildings          under       repair,       construction                or    reconstruction,             if   properly     secured      against

                                unauthorized entry.

                    c.    The building has:

                          (1) An outstanding order to vacate;

                          (2) An outstanding demolition order; or

                          (3) Been declared unsafe in accordance with the law.

                    d. Heat, water, sewer service or public lighting have not been connected to the building for 30

                          consecutive days or more.
                    The        policy    will    terminate         10      days      following              receipt    of    the     written      notice   by    the    named

                    insured(s).

     2. Paragraph H.1. Other Insurance is replaced by the following:

          H. Other Insurance

                1. You may have other insurance subject to the same plan, terms, conditions, and provisions as the

                    insurance          under this Coverage                Form. If you do, we will pay our share of the covered                                          loss or

                    damage. Our share is the proportion that the applicable                                           Limit of Insurance under this Coverage

                    Form bears to the Limits of Insurance of all insurance covering on the same basis.

                2. If there is other             insurance         covering        the same loss or damage,                         other than that described              in 1.

                    above, we will pay only for the amount of covered                                          loss or damage in excess of the amount due

                    from that other insurance, whether you can collect on it or not. But we will not pay more than

                    the        applicable       Limit     of     Insurance            of    the        BUSINESSOWNERS                            SPECIAL      PROPERTY

                    COVERAGE                   FORM           or     SECTION                 I     -    PROPERTY                   of      the    BUSINESSOWNERS

                    COVERAGE FORM.




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     4. The following paragraphs are added to the Common Policy Conditions:


           M. Nonrenewal

                1. If we decide       not to renew or continue this policy, we will mail you, your agent or broker, and

                    any mortgagee        or lien holder known to us written notice, stating the reason for nonrenewal, at

                    least 60 days before the end of the policy period.                                 If we offer to renew or continue and you do

                    not accept, this policy will terminate at the end of the current policy period. Failure to pay the

                    required renewal or continuation                    premium when due shall mean that you have not accepted our

                    offer.


                    If we fail to mail proper written notice of nonrenewal and you obtain other insurance, this policy

                    will end on the effective date of that insurance.


                2. The following provision applies only if this policy covers residential properties occupied                                          by four

                    families or less:

                    a.     If this policy has been issued to you and in effect with us for five or more years, we may not

                           fail to renew this policy unless:

                           (1) The policy was obtained by misrepresentation or fraud;

                           (2) The risk originally accepted has measurably increased; or

                           (3) You received 60 days' notice of our intent not to renew as provided in                                  1. above.

                    b. If this policy has been issued to you and in effect with us for less than five years, we may not

                           fail to renew this policy unless you received 30 days' notice as provided in                                1. above.


          N. Mailing Of Notices

                We       will mail   cancellation      and      nonrenewal             notices        to the       last addresses   known   to us. Proof       of

                mailing will be sufficient proof of notice.




This endorsement               is part of your policy. It supersedes and controls anything to the contrary. It is otherwise

subject to all the terms of the policy.




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                                                                                                                           BUSINESSOWNERS

                                                                                                                                    BP 00 06 01 97




                            BUSINESSOWNERS LIABILITY COVERAGE FORM




Various provisions in this policy restrict coverage.                             b.   This insurance applies:
Read the entire policy carefully to determine rights,
                                                                                      (1)   To "bodily injury" and "property dam-
duties and what is and is not covered.
                                                                                            age" only if:
Throughout this policy the words "you" and "your"
                                                                                            (a)   The    "bodily      injury"        or    "property
refer to the Named Insured shown in the Declara-
                                                                                                  damage"      is   caused          by    an   "occur-
tions. The words "we","us" and "our" refer to the
                                                                                                  rence" that takes place in the "cov-
Company providing this insurance.
                                                                                                  erage territory"; and
The word "insured" means any person or organiza-
                                                                                            (b)   The   "bodily     injury"          or    "property
tion qualifying as such under Section C - Who Is An
                                                                                                  damage"      occurs       during        the policy
Insured.
                                                                                                  period.

Other words and phrases that appear in quotation
                                                                                      (2)   To:
marks have special meaning. Refer to Section F -
                                                                                            (a)   "Personal injury" caused by an of-
Liability And Medical Expenses Definitions.
                                                                                                  fense arising out of your business,
A. Coverages
                                                                                                  excluding       advertising,            publishing,

   1.   Business Liability                                                                        broadcasting or telecasting done by

                                                                                                  or for you;
         a.   We will pay those sums that the insured

              becomes legally obligated to pay as dam-                                      (b)   "Advertising      injury"         caused      by   an

              ages because of "bodily injury", "property                                          offense committed in the course of

              damage", "personal injury" or "advertising                                          advertising your goods, products or

              injury"      to   which     this      insurance     applies.                        services;
              We will have the right and duty to defend
                                                                                            but only if the offense was committed
              the    insured         against     any   "suit"     seeking
                                                                                            in the "coverage territory" during the
              those damages. However, we will have no
                                                                                            policy period.
              duty    to    defend       the   insured      against   any
                                                                                 c.   Damages           because     of     "bodily        injury"    in-
              "suit" seeking damages for "bodily injury",
                                                                                      clude damages claimed by any person or
              "property         damage",       "personal injury", or
                                                                                      organization for care, loss of services or
              "advertising           injury"   to    which   this   insur-
                                                                                      death resulting at any time from the "bod-
              ance does not apply. We may at our dis-
                                                                                      ily injury".
              cretion, investigate any "occurrence" and

              settle any claim or "suit" that may result.                        d.   Coverage Extension - Supplementary Pay-
              But:                                                                    ments

              (1)   The amount we will pay for damages                                In addition to the Limit                 of   Insurance we
                    is limited as described in Section D -                            will pay, with respect to any claim we in-
                    Liability And Medical Expenses Limits                             vestigate or settle, or any "suit"                       against
                    Of Insurance; and                                                 an insured we defend:

              (2)   Our right and duty to defend end when                             (1)   All expenses we incur.
                    we have used up the applicable limit
                                                                                      (2)   Up to $250 for cost of bail bonds re-
                    of insurance         in    the   payment      of judg-
                                                                                            quired because of accidents or traffic
                    ments       or   settlements       or   medical    ex-
                                                                                            law violations arising out of the use of
                    penses.
                                                                                            any vehicle to which Business Liability
              No other obligation or liability to pay sums                                  Coverage        for   "bodily       injury"        applies.
              or    perform       acts    or    services     is   covered                   We do not have to furnish these bonds.
              unless explicitly provided for under Cov-
                                                                                      (3)   The    cost   of   bonds       to   release        attach-
              erage        Extension      -    Supplementary          Pay-
                                                                                            ments,      but    only      for    bond        amounts
              ments.
                                                                                            within our      Limit     of   Insurance.           We   do
                                                                                            not have to furnish these bonds.




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           (4)   All   reasonable      expenses        incurred      by    f.   The indemnitee:
                 the insured at our request to assist us
                                                                                (1)   Agrees in writing to:
                 in the investigation or defense of the
                                                                                      (a)    Cooperate        with    us     in    the    investi-
                 claim or "suit", including actual loss of
                                                                                             gation, settlement or defense of the
                 earnings up to $250 a day because of
                                                                                             "suit";
                 time off from work.

                                                                                      (b)    Immediately send us copies of any
           (5)   All costs taxed against the insured in
                                                                                             demands,         notices,      summonses           or
                 the "suit".
                                                                                             legal papers received in connection
           (6)   Prejudgment interest awarded against
                                                                                             with the "suit";
                 the   insured   on    that    part   of    the   judg-
                                                                                      (c)    Notify any other insurer whose cov-
                 ment we pay. If we make an offer to
                                                                                             erage       is        available          to       the
                 pay the Limit of Insurance, we will not
                                                                                             indemnitee; and
                 pay any prejudgment interest based on
                 that period of time after the offer.                                 (d)    Cooperate with us with respect to
                                                                                             coordinating          other     applicable        in-
           (7)   All interest on the full amount of any
                                                                                             surance           available             to        the
                 judgment      that    accrues      after    entry    of
                                                                                             indemnitee; and
                 the judgment and before we have paid,
                 offered to pay, or deposited in court the                      (2)   Provides us with written authorization
                 part of the judgment that is within our                              to:
                 Limit of Insurance.
                                                                                      (a)    Obtain records and other informa-
      If we defend an insured against a "suit" and                                           tion related to the "suit"; and
      an indemnitee of the insured is also named
                                                                                      (b)    Conduct and control the defense of
      as a party to the "suit", we will defend that
                                                                                             the indemnitee in such "suit".
      indemnitee if all of the following conditions
      are met:                                                             So long as the above conditions are met, at-

                                                                           torneys' fees incurred by us in the defense
      a.   The "suit"        against   the    indemnitee          seeks
                                                                           of   that    indemnitee,           necessary           litigation   ex-
           damages       for   which     the   insured       has     as-
                                                                           penses           incurred    by     us    and     necessary         liti-
           sumed the liability of the indemnitee in a
                                                                           gation expenses incurred by the indemnitee
           contract or agreement that is an "insured
                                                                           at our request will be paid as Supplementary
           contract";
                                                                           Payments. Notwithstanding the provisions of
      b.   This    insurance      applies      to     such    liability    Paragraph B.1.b.(2) of Exclusions, such pay-
           assumed by the insured;                                         ments will not be deemed to be damages for

                                                                           "bodily      injury"        and    "property      damage"           and
      c.   The obligation to defend, or the cost of the
                                                                           will not reduce the limits of insurance.
           defense of, that indemnitee, has also been

           assumed by the insured in the same "in-                         Our        obligation        to     defend        an       insured's
           sured contract";                                                indemnitee and to pay for attorneys' fees and

                                                                           necessary litigation expenses as Supplemen-
      d.   The allegations in the "suit" and the infor-
                                                                           tary Payments ends when:
           mation      we know about the "occurrence"

           are such that no conflict appears to exist                      a.   We have used up the applicable limit of
           between the interests of the insured and                             insurance in the payment of judgments or
           the interests of the indemnitee:                                     settlements; or

      e.   The indemnitee and the insured ask us to                        b.   The     conditions           set    forth    above,       or   the
           conduct      and    control   the    defense       of   that         terms of the agreement described in Par-
           indemnitee against such "suit" and agree                             agraph f. above are no longer met.
           that we can assign the same counsel to

           defend      the   insured     and    the    indemnitee;
           and




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     2.   Medical Expenses                                                            (1)   That the insured would have in the ab-
                                                                                            sence of the contract or agreement; or
           a.   We      will   pay   medical         expenses     as     de-

                scribed below for          "bodily      injury"   caused              (2)   Assumed            in    a contract or agreement
                by an accident:                                                             that is an "insured contract", provided

                                                                                            the     "bodily         injury"      or   "property         dam-
                (1)   On premises you own or rent;
                                                                                            age"      occurs         subsequent             to    the    exe-
                (2)   On ways next to premises you own or
                                                                                            cution      of     the    contract         or       agreement.
                      rent; or
                                                                                            Solely for the purposes of liability as-

                (3)   Because of your operations;                                           sumed         in   an     "insured         contract", rea-

                                                                                            sonable        attorney            fees    and       necessary
                provided that:
                                                                                            litigation expenses incurred by or for
                      (a)   The   accident      takes    place    in     the                a     party      other        than        an    insured       are
                            "coverage territory" and during the                             deemed           to     be     damages          because        of
                            policy period;                                                  "bodily injury"               or    "property        damage",

                      (b)   The expenses are incurred and re-                               provided:

                            ported to us within one year of the                             (a)    Liability to such party for, or for the
                            date of the accident; and                                              cost   of,       that       party's     defense       has

                      (c)   The injured person submits to ex-                                      also    been       assumed              in    the    same

                            amination, at our expense, by phy-                                     "insured contract"; and

                            sicians of our choice as often as we                            (b)    Such      attorney           fees       and    litigation
                            reasonably require.                                                    expenses          are        for   defense       of   that

          b.    We will make these payments regardless                                             party against a civil or alternative

                of fault. These payments will not exceed                                           dispute          resolution         proceeding          in

                the Limit of Insurance. We will pay                    rea-                        which damages to which this insur-

                sonable expenses for:                                                              ance applies are alleged.


                (1)   First aid administered at the time of an                   c.   Liquor Liability

                      accident;                                                       "Bodily injury" or "property damage" for

                (2)   Necessary medical, surgical, x-ray and                          which any insured may be held liable by

                      dental      services,     including     prosthetic              reason of:

                      devices; and                                                    (1)   Causing            or         contributing             to     the

                (3)   Necessary       ambulance,        hospital,      pro-                 intoxication of any person;

                      fessional nursing and funeral services.                         (2)   The furnishing of alcoholic beverages

B.   Exclusions                                                                             to    a   person         under       the     legal    drinking

                                                                                            age or under the influence of alcohol;
     1.   Applicable To Business Liability Coverage
                                                                                            or
          This insurance does not apply to:
                                                                                      (3)   Any       statute,       ordinance             or    regulation
           a.   Expected Or Intended Injury                                                 relating to the sale, gift, distribution or
                                                                                            use of alcoholic beverages.
                "Bodily injury" or "property damage" ex-
                pected or intended from the standpoint of                             This exclusion applies only if you are in
                the insured. This exclusion does not apply                            the    business          of    manufacturing,               distribut-
                to "bodily injury" resulting from the use of                          ing, selling, serving or furnishing alcoholic
                reasonable         force   to    protect     persons      or          beverages.
                property.
                                                                                 d.   Workers' Compensation And Similar Laws
          b.    Contractual Liability
                                                                                      Any         obligation         of    the     insured        under    a
                "Bodily injury" or "property damage" for                              workers' compensation, disability benefits
                which       the    insured      is   obligated    to     pay          or     unemployment                  compensation             law    or
                damages by reason of the assumption of                                any similar law.
                liability in a contract or agreement. This

                exclusion         does   not    apply   to   liability   for
                damages:




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      e.    Employer's Liability                                                              (i)    If the pollutants are brought on
                                                                                                     or    to   the     premises,            site     or    lo-
            "Bodily Injury" to:
                                                                                                     cation       in   connection            with      such
            (1)   An "employee" of the insured arising
                                                                                                     operations              by    such           insured,
                  out of and in the course of:
                                                                                                     contractor or subcontractor; or

                  (a)   Employment by the insured; or
                                                                                              (ii)   If the operations are to test for,

                  (b)   Performing         duties     related    to     the                          monitor, clean up, remove, con-

                        conduct of the insured's business;                                           tain, treat, detoxify or neutralize,

                        or                                                                           or in any way respond to, or as-

                                                                                                     sess the effects of pollutants.
            (2)   The spouse,         child,      parent,     brother    or
                  sister of that "employee" as a conse-                                 Subparagraph (d)(i) does not apply to

                  quence of Paragraph (1) above.                                        "bodily       injury"          or    "property           damage"
                                                                                        arising        out       of    the     escape            of    fuels,
            This exclusion applies:
                                                                                        lubricants           or       other       operating            fluids
                  (a)   Whether the insured may be liable                               which         are       needed            to    perform            the
                        as an employer or in any other ca-                              normal            electrical,         hydraulic           or     me-
                        pacity; and                                                     chanical           functions         necessary             for     the

                  (b)   To any obligation to share damages                              operation of "mobile equipment" or its

                        with   or    repay      someone        else   who               parts, if such fuels, lubricants or other

                        must pay damages because of the                                 operating fluids escape from a vehicle

                        injury.                                                         part designed to hold, store or receive

                                                                                        them. This exception does not apply if
            This exclusion does not apply to liability
                                                                                        the fuels, lubricants or other operating
            assumed by the insured under an "insured
                                                                                        fluids are intentionally discharged, dis-
            contract".
                                                                                        persed        or     released,            or   if   such       fuels,
       f.   Pollution                                                                   lubricants or other operating fluids are

            (1)   "Bodily      injury"     or    "property     damage"                  brought on or to the premises, site or

                  arising      out   of   the     actual,     alleged    or             location          with        the     intent        to    be       dis-

                  threatened              discharge,          dispersal,                charged, dispersed or released as part

                  seepage, migration, release or escape                                 of the operations being performed by
                                                                                        such         insured,          contractor           or    subcon-
                  of pollutants:
                                                                                        tractor.
                  (a)   At or from any premises, site or lo-
                                                                                        Subparagraphs                  (a)    and       (d)(i)     do      not
                        cation which is or was at any time
                        owned or occupied by, or rented or                              apply        to    "bodily          injury"     or       "property

                        loaned to, any insured;                                         damage" arising out of heat, smoke or

                                                                                        fumes from a hostile fire.
                  (b)   At or from any premises, site or lo-

                        cation which is or was at any time                              As used in this exclusion, a hostile fire

                        used by or for any insured or others                            means one which becomes uncontrol-

                        for the handling, storage, disposal,                            lable or breaks out from where it was
                                                                                        intended to be.
                        processing or treatment of waste;

                  (c)   Which       are   or     were    at    any    time        (2)   Any loss, cost or expense arising out
                                                                                        of any:
                        transported,             handled,        stored,
                        treated, disposed of, or processed                              (a)    Request, demand or order that any
                        as waste by or for any insured or                                      insured or others test for, monitor,
                        any    person        or      organization       for                    clean       up,     remove,             contain,        treat,
                        whom you may be legally responsi-                                      detoxify or neutralize, or in any way
                        ble; or                                                                respond to, or assess the effects of

                  (d)   At or from any premises, site or lo-                                   pollutants; or

                        cation on which any insured or any
                        contractors             or     subcontractors

                        working directly or indirectly on any
                        insured's behalf are performing op-
                        erations:




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                 (b)   Claim or "suit" by or on behalf of a                           h.   Mobile Equipment
                       governmental                  authority     for       dam-
                                                                                           "Bodily injury" or "property damage" aris-
                       ages because of testing for, moni-
                                                                                           ing out of:
                       toring,          cleaning            up,    removing,
                                                                                           (1)   The    transportation           of    "mobile        equip-
                       containing,          treating,        detoxifying        or
                                                                                                 ment" by an "auto" owned or operated
                       neutralizing,             or    in    any       way     re-
                                                                                                 by or rented or loaned to any insured;
                       sponding           to,    or    assessing         the    ef-
                                                                                                 or
                       fects of pollutants.

                                                                                           (2)   The use of "mobile equipment" in, or
           Pollutants             means              any     solid,         liquid,
                                                                                                 while    in    practice        for,   or    while    being
           gaseous           or    thermal           irritant     or    contam-
                                                                                                 prepared for, any prearranged racing,
           inant,        including          smoke,            vapor,         soot,
                                                                                                 speed, demolition or stunting activity.
           fumes,           acids,        alkalis,         chemicals           and

           waste. Waste includes materials to be re-                                  i.   War
           cycled, reconditioned or reclaimed.
                                                                                           "Bodily injury" or "property damage" due
      g.   Aircraft, Auto Or Watercraft                                                    to war, whether or not declared, or any act

                                                                                           or condition incident to war. War includes
           "Bodily injury" or "property damage" aris-
                                                                                           civil war, insurrection, rebellion or revo-
           ing     out      of    the     ownership,          maintenance,
                                                                                           lution.     This     exclusion        applies       only    to    li-
           use or entrustment to others of any air-
                                                                                           ability      assumed            under       a     contract       or
           craft, "auto" or watercraft owned or oper-
                                                                                           agreement.
           ated        by    or     rented           or     loaned      to     any

           insured.          Use        includes            operation          and    j.   Professional Services
           "loading or unloading".
                                                                                           "Bodily injury", "property damage", "per-
           This exclusion does not apply to:                                               sonal injury" or "advertising injury" due to

                                                                                           rendering or failure to render any profes-
           (1)   A watercraft while ashore on premises
                                                                                           sional      service.       This      includes       but    is   not
                 you own or rent;
                                                                                           limited to:
           (2)   A watercraft you do not own that is:
                                                                                           (1)   Legal,    accounting            or    advertising         ser-
                 (a)   Less than 26 feet long; and
                                                                                                 vices;
                 (b)   Not being used to carry persons or
                                                                                           (2)   Preparing, approving, or failing to pre-
                       property for a charge;
                                                                                                 pare     or     approve             maps,        drawings,
           (3)   Parking an "auto" on, or on the ways                                            opinions, reports, surveys, change or-

                 next       to,    premises           you     own       or   rent,               ders, designs or specifications;

                 provided the "auto" is not owned by or
                                                                                           (3)   Supervisory, inspection or engineering
                 rented or loaned to you or the insured;
                                                                                                 services;

           (4)   Liability assumed under any "insured
                                                                                           (4)   Medical,        surgical,           dental,      x-ray     or
                 contract"          for    the       ownership,         mainte-
                                                                                                 nursing services treatment, advice or
                 nance or use of aircraft or watercraft;
                                                                                                 instruction;
                 or
                                                                                           (5)   Any      health          or    therapeutic          service
           (5)   "Bodily          injury"       or   "property         damage"
                                                                                                 treatment, advice or instruction;
                 arising out of the operation of any of
                                                                                           (6)   Any    service,          treatment,        advice    or    in-
                 the following equipment:
                                                                                                 struction      for       the   purpose        of   appear-
                 (a)   Cherry pickers and similar devices
                                                                                                 ance      or        skin       enhancement,               hair
                       mounted            on     automobile            or    truck
                                                                                                 removal        or    replacement            or     personal
                       chassis and used to raise or lower
                                                                                                 grooming;
                       workers; and
                                                                                           (7)   Optometry           or    optical     or    hearing       aid
                 (b)   Air compressors, pumps and gen-
                                                                                                 services        including            the    prescribing,
                       erators,             including                  spraying,
                                                                                                 preparation,         fitting,       demonstration          or
                       welding,                 building               cleaning,
                                                                                                 distribution        of    ophthalmic         lenses and
                       geophysical               exploration,           lighting
                                                                                                 similar       products         or    hearing       aid    de-
                       and well servicing equipment.
                                                                                                 vices;




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            (8)   Body piercing services; and                                  n.   Damage To Impaired Property Or Property
                                                                                    Not Physically Injured
            (9)   Services in the practice of pharmacy;

                  but this exclusion does not apply to an                           "Property damage" to "impaired property"
                  insured          whose          operations    include             or property that has not been physically

                  those of a retail druggist or drugstore.                          injured, arising out of:

      k.    Damage To Property                                                      (1)   A    defect,           deficiency,       inadequacy          or

                                                                                          dangerous condition in "your product"
            "Property damage" to:
                                                                                          or "your work"; or
            (1)   Property you own, rent or occupy;
                                                                                    (2)   A   delay         or    failure     by   you    or   anyone
            (2)   Premises you sell, give away or aban-
                                                                                          acting        on       your   behalf       to   perform      a
                  don,      if   the   "property     damage"     arises
                                                                                          contract or             agreement         in    accordance
                  out of any part of those premises;
                                                                                          with its terms.

            (3)   Property loaned to you;
                                                                                    This exclusion does not apply to the loss

            (4)   Personal property in the care, custody                            of    use      of   other       property        arising     out    of

                  or control of the insured;                                        sudden and accidental physical injury to

                                                                                    "your product" or "your work" after it has
            (5)   That particular part of real property on
                                                                                    been put to its intended use.
                  which          you   or   any    contractor   or   sub-

                  contractor working directly or indirectly                    o.   Recall         Of       Products,         Work    Or    Impaired

                  on   your        behalf     is    performing       oper-          Property

                  ations, if the "property damage" arises
                                                                                    Damages             claimed         for   any    loss,     cost    or
                  out of those operations; or
                                                                                    expense incurred by you or others for the

            (6)   That particular part of any property that                         loss of use, withdrawal, recall, inspection,

                  must be restored, repaired or replaced                            repair, replacement, adjustment, removal

                  because          "your    work"     was   incorrectly             or disposal of:

                  performed on it.
                                                                                    (1) "Your product";

            Paragraph (2) of this exclusion does not
                                                                                    (2) "Your work"; or
            apply if the premises are "your work" and
                                                                                    (3) "Impaired property";
            were never occupied, rented or held for

            rental by you.                                                          if such product, work or property is with-

                                                                                    drawn or recalled from the market or from
            Paragraphs (3), (4), (5) and (6) of this ex-
                                                                                    use       by   any       person       or    organization          be-
            clusion do not apply to liability assumed
                                                                                    cause       of      a    known      or     suspected       defect,
            under a sidetrack agreement.
                                                                                    deficiency, inadequacy or dangerous con-
            Paragraph (6) of this exclusion does not
                                                                                    dition in it.
            apply      to    "property       damage"        included    in
                                                                               p.   Personal Or Advertising Injury
            the    "products            -   completed       operations

            hazard".                                                                "Personal injury" or "advertising injury":

       l.   Damage To Your Product                                                  (1)   Arising out of oral or written publica-

                                                                                          tion of material, if done by or at the di-
            "Property damage" to "your product" aris-
                                                                                          rection of the insured with knowledge
            ing out of it or any part of it.
                                                                                          of its falsity;
     m.     Damage To Your Work
                                                                                    (2)   Arising out of oral or written publica-
            "Property damage" to "your work" arising
                                                                                          tion of material whose first publication
            out of it or any part of it and included in
                                                                                          took place before the beginning of the
            the    "products            -   completed       operations
                                                                                          policy period;
            hazard".

            This exclusion does not apply if the dam-

            aged work or the work out of which the
            damage           arises     was       performed     on   your

            behalf by a subcontractor.




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           (3)   Arising out of the willful violation of a                         Exclusions c., d., e., f., g., h., i., k., l., m., n.
                 penal statute or ordinance committed                              and o. do not apply to damage by fire or ex-

                 by or with the consent of the insured;                            plosion to premises while rented to you, or
                                                                                   temporarily occupied by you with permission
           (4)   For which the insured has assumed li-
                                                                                   of the owner. A separate Limit of Insurance
                 ability in a contract or agreement.                   This
                                                                                   applies to this coverage as described in Sec-
                 exclusion does not apply to liability for
                                                                                   tion D., Limits of Insurance.
                 damages that the insured would have

                 in    the   absence       of     the     contract       or   2.   Applicable To Medical Expenses Coverage
                 agreement; or
                                                                                   We will not pay expenses for "bodily injury":

           (5)   Arising     out   of    the    actual,    alleged       or
                                                                                   a.   To any insured.
                 threatened             discharge,          dispersal,
                                                                                   b.   To    a   person hired to do work for or on
                 seepage, migration, release or escape
                                                                                        behalf of any insured or a tenant of any
                 of pollutants at any time.
                                                                                        insured.
           (6)   With respect to any loss, cost                   or    ex-
                                                                                   c.   To a person injured on that part of prem-
                 pense arising out of any:
                                                                                        ises      you   own   or    rent   that   the    person
                 (a)   Request, demand or order that any
                                                                                        normally occupies.
                       insured or others test for, monitor,
                                                                                   d.   To    a    person,    whether      or   not    an    "em-
                       clean-up,     remove,        contain,       treat,
                                                                                        ployee" of any insured, if benefits for the
                       detoxify or neutralize or in any way
                                                                                        "bodily     injury"   are    payable      or   must     be
                       respond to, or assess the effects of
                                                                                        provided under a workers' compensation
                       pollutants; or
                                                                                        or disability benefits law or a similar law.
                 (b)   Claim or suit by or on behalf of a
                                                                                   e.   To a person injured while taking part in
                       governmental        authority        for    dam-
                                                                                        athletics.
                       ages because of testing for, moni-

                       toring,     cleaning         up,    removing,               f.   Included within the "products - completed
                       containing,      treating,    detoxifying         or             operations hazard".
                       neutralizing or in any way respond-
                                                                                   g.   Excluded under Business Liability Cover-
                       ing to, or assessing the effects                  of
                                                                                        age.
                       pollutants.
                                                                                   h.   Due to war, whether or not declared, or
           Pollutants          means       any       solid,       liquid,
                                                                                        any act or condition incident to war. War
           gaseous        or     thermal       irritant   or   contam-
                                                                                        includes civil war, insurrection, rebellion
           inant,       including        smoke,         vapor,     soot,
                                                                                        or revolution.
           fumes,        acids,      alkalis,      chemicals           and
           waste. Waste includes materials to be re-                          3.   Applicable To Both Business Liability Cover-

           cycled, reconditioned or reclaimed.                                     age    And     Medical     Expenses     Coverage         -   Nu-
                                                                                   clear Energy Liability Exclusion
      q.   Advertising Injury
                                                                                   This insurance does not apply:
           "Advertising injury" arising out of:
                                                                                   a.   Under       Business       Liability    Coverage,        to
           (1)   Breach of contract, other than misap-
                                                                                        "bodily injury" or "property damage":
                 propriation of advertising ideas under
                 an implied contract;                                                   (1)   With respect to which an insured under

                                                                                              the policy is also an insured under a
           (2)   The failure of goods, products or ser-
                                                                                              nuclear    energy     liability   policy   issued
                 vices to conform with advertised qual-
                                                                                              by Nuclear Energy Liability Insurance
                 ity or performance;
                                                                                              Association, Mutual Atomic Energy Li-
           (3)   The wrong description of the price of                                        ability Underwriters or Nuclear               Insur-
                 goods, products or services; or                                              ance Association of Canada, or would
                                                                                              be an insured under any such policy
           (4)   An    offense     committed         by   an   insured
                                                                                              but for its termination upon exhaustion
                 whose business is advertising, broad-
                                                                                              of its limit of liability; or
                 casting, publishing or telecasting.




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           (2)   Resulting from the "hazardous proper-                                  "Hazardous          properties"           include        radioactive,
                 ties" of "nuclear material" and with re-                               toxic or explosive properties;

                 spect to which:
                                                                                        "Nuclear facility" means:
                 (a)   Any        person       or    organization            is   re-
                                                                                        (a)   Any "nuclear reactor";
                       quired       to       maintain          financial      pro-
                                                                                        (b)   Any        equipment          or   device      designed        or
                       tection          pursuant          to     the        Atomic
                                                                                              used for:
                       Energy           Act    of    1954,      or     any        law

                       amendatory thereof; or                                                 (1)   Separating the isotopes of uranium or
                                                                                                    plutonium;
                 (b)   The     insured         is,   or    had       this    policy

                       not been issued would be, entitled                                     (2)   Processing or utilizing "spent fuel"; or
                       to indemnity from the United States
                                                                                              (3)   Handling,          processing           or    packaging
                       of America, or any agency thereof,
                                                                                                    "waste";
                       under any agreement entered into
                       by the United States of America, or                              (c)   Any        equipment       or      device     used       for   the

                       any    agency          thereof, with any per-                          processing,          fabricating         or        alloying     of

                       son or organization.                                                   "special nuclear material" if at any time

                                                                                              the total amount of such material in the
      b.   Under Medical Expenses Coverage, to ex-
                                                                                              custody       of   the    insured       at    the    premises
           penses           incurred         with    respect         to     "bodily
                                                                                              where       such     equipment           or    device     is   lo-
           injury"          resulting         from        the    "hazardous
                                                                                              cated consists of or contains                      more than
           properties"             of    "nuclear          material"              and
                                                                                              25 grams of plutonium or uranium 233 or
           arising out of the operation of a "nuclear
                                                                                              any combination thereof, or more than 250
           facility" by any person or organization.
                                                                                              grams of uranium 235;
      c.   Under        Business              Liability        Coverage,           to
                                                                                        (d)   Any structure, basin, excavation, premises
           "bodily injury" or "property                         damage"           re-
                                                                                              or place prepared or used for the storage
           sulting from the "hazardous properties" of
                                                                                              or disposal of "waste";
           the "nuclear material"; if:
                                                                                        and     includes         the   site      on   which      any    of   the
           (1)   The "nuclear material":
                                                                                        foregoing is located, all operations conducted
                 (a)   Is    at   any     "nuclear         facility"        owned       on such site and all premises used for such
                       by, or operated by or on behalf of,                              operations;
                       an insured; or
                                                                                        "Nuclear material" means "source material",
                 (b)   Has been discharged or dispersed                                 "special nuclear material" or "byproduct ma-
                       therefrom;                                                       terial";

           (2)   The "nuclear material" is contained in                                 "Nuclear reactor" means any apparatus de-
                 "spent       fuel"      or     "waste"         at    any     time      signed or used to sustain nuclear fission in a
                 possessed, handled, used, processed,                                   self-supporting chain reaction or to contain a
                 stored, transported or disposed of by                                  critical mass of fissionable material;
                 or on behalf of an insured; or
                                                                                        "Property damage" includes all forms of ra-
           (3)   The "bodily injury" or "property dam-                                  dioactive contamination of property.
                 age" arises out of the furnishing by an
                                                                                        "Source material" has the meaning given it in
                 insured of services, materials, parts or
                                                                                        the Atomic Energy Act of 1954 or in any law
                 equipment              in     connection             with        the
                                                                                        amendatory thereof;
                 planning,          construction,              maintenance,
                 operation or use of any "nuclear facil-                                "Special nuclear material" has the meaning

                 ity"; but if such facility is located within                           given it in the Atomic Energy Act of 1954 or in

                 the United States of America, its terri-                               any law amendatory thereof;

                 tories or possessions or Canada, this                                  "Spent fuel" means any fuel element or fuel
                 Exclusion (3) applies only to "property                                component, solid or liquid, which has been
                 damage" to such "nuclear facility" and                                 used        or   exposed       to   radiation in a "nuclear
                 any property thereat.                                                  reactor";

      As used in this exclusion:

      "Byproduct material" has the meaning given
      it in the Atomic Energy Act of 1954 or in any

      law amendatory thereof;




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          "Waste" means any waste material:                                                    (a)   To you, to your partners or mem-
                                                                                                     bers      (if    you       are     a    partnership       or
          (a)   Containing          "byproduct             material"      other
                                                                                                     joint venture), to your members (if
                than the tailings or wastes                   produced        by
                                                                                                     you are a limited liability company),
                the extraction or concentration of uranium
                                                                                                     or   to    a     co-"employee"                while      that
                or    thorium       from    any       ore   processed        pri-
                                                                                                     co-"employee"                  is      either      in    the
                marily    for      its   "source       material"      content;
                                                                                                     course of his or her employment or
                and
                                                                                                     performing                duties       related     to    the
          (b)   Resulting from the operation by any per-
                                                                                                     conduct of your business;
                son or organization of any "nuclear facil-
                                                                                               (b)   To      the           spouse,           child,     parent,
                ity" included under Paragraphs (a) and (b)
                                                                                                     brother              or     sister       of      that    co-
                of the definition of "nuclear facility".
                                                                                                     "employee"                as   a    consequence            of
C.   Who Is An Insured
                                                                                                     Paragraph (1)(a) above;

     1.   If you are designated in the Declarations as:
                                                                                               (c)   For which there is any obligation to

           a.   An    individual,         you    and    your      spouse     are                     share           damages             with      or    repay

                insureds,       but       only    with      respect    to    the                     someone else who must pay dam-

                conduct of a business of which you are the                                           ages of the injury described in Par-

                sole owner.                                                                          agraphs (1)(a) or (1)(b); or

          b.    A partnership or joint venture, you are an                                     (d)   Arising out of his or her providing

                insured. Your members, your partners and                                             or   failing          to    provide        professional

                their spouses are also insureds, but only                                            health          care       services.       However,        if

                with respect to the conduct of your busi-                                            you     have              "employees"            who     are

                ness.                                                                                pharmacists in your retail druggist

                                                                                                     or drugstore operation, they are in-
           c.   A limited liability company, you are an in-
                                                                                                     sured with respect to their provid-
                sured. Your members are also insureds,
                                                                                                     ing or failing to provide professional
                but    only   with        respect     to    the   conduct     of
                                                                                                     health care services; or
                your    business.          Your       managers        are     in-

                sureds, but only with respect to their du-                               (2)   "Property damage" to property:

                ties as your managers.
                                                                                               (a)   Owned, occupied or used by,

          d.    An organization other than a partnership,
                                                                                               (b)   Rented to, in the care, custody or
                joint venture or limited liability company,
                                                                                                     control         of,    or   over       which      physical
                you are an insured. Your "executive offi-
                                                                                                     control is being exercised                         for   any
                cers" and directors are insureds, but only
                                                                                                     purpose by
                with respect to their duties as your officers
                                                                                               you,       any        of    your       "employees",            any
                or directors.            Your    stockholders       are     also
                                                                                               partner or member (if you are a part-
                insureds, but only with respect to their li-
                                                                                               nership or joint venture), or any mem-
                ability as stockholders.
                                                                                               ber     (if     you         are      a       limited     liability
     2.   Each of the following is also an insured:
                                                                                               company).

           a.   Your "employees", other than either your
                                                                                    b.   Any person (other than your "employee"),
                "executive officers" (if you are an organ-
                                                                                         or any organization while acting as your
                ization    other          than    a    partnership,         joint
                                                                                         real estate manager.
                venture       or    limited      liability    company)        or
                                                                                    c.   Any person or organization having proper
                your managers (if you are a limited liabil-
                                                                                         temporary custody of your property if you
                ity company), but only for acts within the
                                                                                         die, but only:
                scope of their employment by you or while
                performing duties related to the conduct                                 (1)   With respect to liability arising out of

                of your business. However, none of these                                       the maintenance or use of that prop-
                "employees" is an insured for:                                                 erty; and

                (1)   "Bodily injury" or "personal injury":                              (2)   Until      your        legal         representative            has
                                                                                               been appointed.




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          d.    Your legal representative if you die, but                                 3.   The most we will pay under Business Liability
                only with respect to duties as such. That                                      Coverage for damages because of "property

                representative            will      have   all   your     rights               damage" to premises while rented to you or
                and duties under this policy.                                                  temporarily occupied by you with permission
                                                                                               of the owner, arising out of any one fire or
     3.   With    respect          to    "mobile      equipment"          regis-
                                                                                               explosion      is    the     Fire    Legal       Liability      limit
          tered in your name under any motor vehicle
                                                                                               shown in the Declarations.
          registration            law,   any     person     is   an   insured

          while driving such equipment along a public                                     4.   Aggregate Limits
          highway        with          your    permission.        Any     other
                                                                                               The most we will pay for:
          person        or    organization           responsible      for      the
                                                                                               a.   Injury   or    damage         under    the    "products        -
          conduct of such person is also an insured, but
                                                                                                    completed        operations           hazard"         arising
          only with respect to liability arising out of the
                                                                                                    from all      "occurrences"           during      the policy
          operation          of    the   equipment,        and     only   if   no
                                                                                                    period    is    the   Liability       and    Medical        Ex-
          other insurance                of   any   kind   is    available      to
                                                                                                    penses limit; and
          that person or organization for this liability.
          However, no person or organization is an in-                                         b.   All    other    injury    or     damage,            including
          sured with respect to:                                                                    medical       expenses,        arising      from     all   "oc-

                                                                                                    currences"       during        the    policy      period      is
           a.   "Bodily injury" to a co-"employee" of the
                                                                                                    twice the Liability and Medical Expenses
                person driving the equipment; or
                                                                                                    limit.   This    limitation      does       not     apply    to
          b.    "Property damage" to property owned by,
                                                                                                    "property       damage"         to     premises         while
                rented to, in the charge of or occupied by
                                                                                                    rented to you or temporarily occupied by
                you or the employer of any person who is
                                                                                                    you with permission of the owner, arising
                an insured under this provision.
                                                                                                    out of fire or explosion.

          No person or organization is an insured with
                                                                                          The Limits of Insurance of this policy apply sep-
          respect to the conduct of any current or past
                                                                                          arately to each consecutive annual period and to
          partnership,            joint venture or limited liability
                                                                                          any     remaining        period    of    less   than     12    months,
          company that is not shown as a Named In-
                                                                                          starting with the beginning of the policy period
          sured in the Declarations.
                                                                                          shown in the Declarations, unless the policy pe-

D.   Liability And Medical Expenses Limits Of Insur-                                      riod is extended after issuance for an additional

     ance                                                                                 period of less than 12 months. In that case, the

                                                                                          additional period will be deemed part of the last
     1.   The Limits of Insurance shown in the Decla-
                                                                                          preceding period for purposes of determining the
          rations and the rules below fix the most we
                                                                                          Limits of Insurance.
          will pay regardless of the number of:
                                                                                     E.   Liability       And Medical Expenses General Condi-
           a.   Insureds;
                                                                                          tions
          b.    Claims made or "suits" brought; or
                                                                                          1.   Bankruptcy
           c.   Persons           or   organizations       making       claims
                                                                                               Bankruptcy or insolvency of the insured or of
                or bringing "suits".
                                                                                               the insured's estate will not relieve us of our
     2.   The most we will pay for the sum of all dam-
                                                                                               obligations under this policy.
          ages because of all:
                                                                                          2.   Duties In The Event Of Occurrence, Offense,
           a.   "Bodily       injury",        "property     damage"         and
                                                                                               Claim Or Suit
                medical expenses arising out of any one
                                                                                               a.   You must see to it that we are notified as
                "occurrence"; and
                                                                                                    soon as practicable of an "occurrence" or
          b.    "Personal injury" and "advertising injury"
                                                                                                    an offense which may result in a claim. To
                sustained by any one person or organiza-
                                                                                                    the extent possible, notice should include:
                tion;
                                                                                                    (1)   How,     when      and     where       the     "occur-
          is    the   Liability        and    Medical      Expenses         limit
                                                                                                          rence" or offense took place;
          shown in the Declarations. But the most we
                                                                                                    (2)   The names and addresses of any in-
          will pay for all medical expenses because of
                                                                                                          jured persons and witnesses; and
          "bodily injury" sustained by any one person
          is the Medical Expenses limit shown in the                                                (3)   The nature and location of any injury
          Declarations.                                                                                   or damage arising out of                the    "occur-

                                                                                                          rence" or offense.




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        b.    If    a   claim    is   made       or    "suit"       is   brought           4.   Legal Action Against Us
              against any insured, you must:
                                                                                                No person or organization has a right under

              (1)   Immediately record the specifics of the                                     this policy:
                    claim or "suit" and the date received;
                                                                                                a.   To join us as a party or otherwise bring
                    and
                                                                                                     us into a "suit" asking for damages from
              (2)   Notify us as soon as practicable.                                                an insured; or

              You must see to it that we receive written                                        b.   To sue us on this policy unless all of its
              notice of the claim or "suit" as soon as                                               terms have been fully complied with.

              practicable.
                                                                                                A person or organization may sue us to re-
         c.   You and any other involved insured must:                                          cover on an agreed settlement or on a final

                                                                                                judgment    against    an    insured obtained after
              (1)   Immediately send us copies of any de-
                                                                                                an actual trial; but we will not be liable for
                    mands,       notices,        summonses               or   legal
                                                                                                damages     that   are   not      payable    under     the
                    papers received in connection with the
                                                                                                terms of this policy or that are in excess of
                    claim or "suit";
                                                                                                the applicable limit of insurance. An agreed
              (2)   Authorize         us    to    obtain    records            and
                                                                                                settlement means a settlement and release
                    other information;
                                                                                                of liability signed by us, the insured and the

              (3)   Cooperate with us in the investigation,                                     claimant   or   the   claimant's     legal     represen-

                    or settlement of the claim or defense                                       tative.

                    against the "suit"; and
                                                                                           5.   Separation Of Insureds

              (4)   Assist      us,    upon      our     request,         in   the
                                                                                                Except with respect to the Limits of Insurance,
                    enforcement            of   any right against any
                                                                                                and any rights or duties specifically assigned
                    person or organization that may be li-
                                                                                                in this policy to the first Named Insured, this
                    able to the insured because of injury
                                                                                                insurance applies:
                    or damage to which this insurance may
                                                                                                a.   As if each Named Insured were the only
                    also apply.
                                                                                                     Named Insured; and
        d.    No insured will, except at that insured's
                                                                                                b.   Separately to each insured against whom
              own       cost,   voluntarily        make         a    payment,
                                                                                                     claim is made or "suit" is brought.
              assume any obligation, or incur any                              ex-

              pense, other than for first aid, without our                            F.   Liability And Medical Expenses Definitions
              consent.
                                                                                           1.   "Advertising injury" means injury arising out

   3.   Financial Responsibility Laws                                                           of one or more of the following offenses:

         a.   When this policy is certified as proof of fi-                                     a.   Oral or written publication of material that

              nancial responsibility for the future under                                            slanders or libels a person or organization
              the provisions of any motor vehicle finan-                                             or disparages a person's or organization's

              cial responsibility law, the insurance pro-                                            goods, products or services;

              vided      by     the    policy      for   "bodily          injury"
                                                                                                b.   Oral or written publication of material that
              liability    and        "property       damage"            liability
                                                                                                     violates a person's right of privacy;
              will comply with the provisions of the law
                                                                                                c.   Misappropriation       of   advertising   ideas   or
              to the extent of the coverage and limits of
                                                                                                     style of doing business; or
              insurance required by that law.

                                                                                                d.   Infringement of copyright, title or slogan.
        b.    With      respect       to    "mobile       equipment"             to

              which this insurance applies, we will pro-
              vide      any     liability,       uninsured          motorists,
              underinsured motorists, no-fault or other

              coverage required by any                     motor          vehicle
              law. We will provide the required limits for

              those coverages.




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   2.   "Auto" means a land motor vehicle, trailer or                                        if such property can be restored to use by:
        semitrailer             designed         for    travel     on       public
                                                                                                  (1)   The        repair,      replacement,          adjustment
        roads, including any attached machinery or
                                                                                                        or removal of "your product" or "your
        equipment. But "auto" does not include "mo-
                                                                                                        work"; or
        bile equipment".
                                                                                                  (2)   Your fulfilling the terms of the contract
   3.   "Bodily injury" means bodily injury, sickness
                                                                                                        or agreement.
        or disease sustained by a person, including
                                                                                        8.   "Insured contract" means:
        death resulting from any of these at any time.

                                                                                             a.   A contract for a lease of premises. How-
   4.   "Coverage territory" means:
                                                                                                  ever,       that    portion      of    the    contract       for    a
         a.   The United States of America (including its
                                                                                                  lease        of    premises         that     indemnifies       any
              territories and possessions), Puerto Rico
                                                                                                  person or organization for damage by fire
              and Canada;
                                                                                                  to premises while rented to you or tem-
        b.    International waters or airspace, provided                                          porarily occupied by you with permission

              the injury or damage does not occur in the                                          of the owner is not an "insured contract";
              course        of    travel    or     transportation            to    or
                                                                                             b.   A sidetrack agreement;
              from any place not included in a. above;
                                                                                             c.   Any easement or license agreement, ex-
              or
                                                                                                  cept        in    connection        with     construction          or
         c.   All parts of the world if:
                                                                                                  demolition operations on or within 50 feet
              (1)   The injury or damage arises out of:                                           of a railroad;

                    (a)   Goods or products made or sold by                                  d.   An obligation, as required by ordinance,
                          you in the territory described in a.                                    to     indemnify          a    municipality,           except      in

                          above; or                                                               connection with work for a municipality;

                    (b)   The     activities       of   a   person          whose            e.   An elevator maintenance agreement;

                          home is in the territory described in
                                                                                             f.   That part of any other contract or agree-
                          a.    above,     but    is    away      for   a    short
                                                                                                  ment pertaining to your business (includ-
                          time on your business; and
                                                                                                  ing an indemnification of a municipality in

              (2)   The        insured's         responsibility         to    pay                 connection           with      work        performed         for    a

                    damages is determined in a "suit" on                                          municipality) under which you assume the

                    the merits in the territory described in                                      tort    liability    of    another         party    to   pay       for
                    a. above or in a settlement we agree                                          "bodily injury" or "property damage" to a

                    to.                                                                           third person or organization. Tort liability

                                                                                                  means a liability that would be imposed
   5.   "Employee" includes a "leased worker". "Em-
                                                                                                  by law in the absence of any contract or
        ployee"           does      not     include         a     "temporary
                                                                                                  agreement.
        worker".

                                                                                                  Paragraph f. does not include that part of
   6.   "Executive             officer"    means        a   person holding
                                                                                                  any contract or agreement:
        any of the officer positions created by your
        charter,          constitution,      by-laws         or    any       other                (1)   That indemnifies a railroad for "bodily

        similar governing document.                                                                     injury"       or    "property        damage"        arising
                                                                                                        out of construction or demolition oper-
   7.   "Impaired property" means tangible property,
                                                                                                        ations,       within     50     feet   of   any    railroad
        other than "your product" or "your work", that
                                                                                                        property           and    affecting         any    railroad
        cannot be used or is less useful because:
                                                                                                        bridge        or    trestle,     tracks,      road     beds,
         a.   It    incorporates           "your       product"        or    "your
                                                                                                        tunnel, underpass or crossing;
              work" that is known or thought to be de-
                                                                                                  (2)   That indemnifies an architect, engineer
              fective,         deficient,   inadequate            or    danger-
                                                                                                        or surveyor for injury or damage aris-
              ous; or
                                                                                                        ing out of:
        b.    You     have        failed    to    fulfill   the   terms       of   a
                                                                                                        (a)    Preparing,        approving          or    failing    to
              contract or agreement;
                                                                                                               prepare           or       approve            maps,

                                                                                                               drawings,         opinions,          reports,     sur-
                                                                                                               veys,       change       orders,       designs        or
                                                                                                               specifications; or




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                    (b)   Giving directions or instructions, or                           e.   Vehicles not described in a., b., c. or d.
                          failing    to   give   them,       if   that   is   the              above that are not self-propelled and are

                          primary cause of the injury or dam-                                  maintained primarily to provide mobility to
                          age; or                                                              permanently          attached       equipment      of    the
                                                                                               following types:
              (3)   Under which the insured, if an archi-
                    tect, engineer or surveyor, assumes li-                                    (1)   Air compressors, pumps and genera-
                    ability for an injury or damage arising                                          tors,     including          spraying,     welding,

                    out of the insured's rendering or failure                                        building     cleaning,       geophysical     explo-
                    to    render      professional           services,        in-                    ration,      lighting    and     well     servicing

                    cluding those listed in (2)                   above       and                    equipment; or
                    supervisory, inspection or engineering
                                                                                               (2)   Cherry       pickers     and    similar     devices
                    services.
                                                                                                     used to raise or lower workers;
   9.   "Leased worker" means a person leased to
                                                                                          f.   Vehicles not described in a., b., c. or d.
        you by a labor leasing firm under an agree-
                                                                                               above maintained primarily for purposes
        ment between you and the labor leasing firm,
                                                                                               other       than   the   transportation of persons
        to perform duties related                  to   the       conduct      of
                                                                                               or cargo.
        your business. "Leased worker" does not in-
                                                                                               However, self-propelled vehicles with the
        clude a "temporary worker".
                                                                                               following       types    of   permanently        attached
  10.   "Loading or unloading" means the handling
                                                                                               equipment are not "mobile equipment" but
        of property:
                                                                                               will be considered "autos":

         a.   After it is moved from the place where it
                                                                                               (1)   Equipment designed primarily for:
              is accepted for movement into or onto an
                                                                                                     (a)   Snow removal;
              aircraft, watercraft or "auto";

                                                                                                     (b)   Road    maintenance,         but    not     con-
        b.    While it is in or on an aircraft, watercraft
                                                                                                           struction or resurfacing; or
              or "auto"; or

                                                                                                     (c)   Street cleaning;
         c.   While it is being moved from an aircraft,

              watercraft or "auto" to the place where it                                       (2)   Cherry       pickers     and    similar     devices
              is finally delivered;                                                                  mounted on automobile or truck chas-

                                                                                                     sis and used to raise or lower workers;
        but "loading or unloading" does not include
                                                                                                     and
        the movement of property by means of a me-
        chanical device, other than a hand truck, that                                         (3)   Air compressors, pumps and genera-
        is not attached to the aircraft, watercraft or                                               tors,     including          spraying,     welding,
        "auto".                                                                                      building     cleaning,       geophysical     explo-

                                                                                                     ration,      lighting    and     well     servicing
  11.   "Mobile equipment" means any of the follow-
                                                                                                     equipment.
        ing types of land vehicles, including any at-

        tached machinery or equipment:                                              12.   "Occurrence"            means      an   accident,    including

                                                                                          continuous or repeated exposure to substan-
         a.   Bulldozers, farm machinery, forklifts and
                                                                                          tially the same general harmful conditions.
              other vehicles designed for use principally

              off public roads;                                                     13.   "Personal          injury"    means      injury,    other    than
                                                                                          "bodily injury", arising out of one or more of
        b.    Vehicles maintained for use solely on or
                                                                                          the following offenses:
              next to premises you own or rent;

                                                                                          a.   False arrest, detention or imprisonment;
         c.   Vehicles that travel on crawler treads;

                                                                                          b.   Malicious prosecution;
        d.    Vehicles, whether self-propelled or not, on
              which are permanently mounted:                                              c.   The wrongful eviction from, wrongful entry
                                                                                               into, or invasion of the right of private oc-
              (1)   Power           cranes,       shovels,           loaders,
                                                                                               cupancy of a room, dwelling or premises
                    diggers or drills; or
                                                                                               that a person occupies, by or on behalf of
              (2)   Road       construction             or        resurfacing
                                                                                               its owner, landlord or lessor;
                    equipment such as graders, scrapers

                    or rollers;




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        d.    Oral or written publication of material that                    15.   "Property damage" means:
              slanders or libels a person or organization
                                                                                    a.   Physical      injury       to    tangible          property,     in-
              or disparages a person's or organization's
                                                                                         cluding      all    resulting         loss    of    use    of   that
              goods, products or services; or
                                                                                         property.      All       such    loss    of    use       shall   be

         e.   Oral or written publication of material that                               deemed to occur at the time of the phys-
              violates a person's right of privacy.                                      ical injury that caused it; or

  14.   "Products - completed operations hazard":                                   b.   Loss of use of tangible property that is not
                                                                                         physically         injured.      All    such       loss    of    use
         a.   Includes all "bodily injury" and "property
                                                                                         shall be deemed to occur at the time of
              damage"        occurring       away    from       premises
                                                                                         the "occurrence" that caused it.
              you own or rent and arising out of "your
              product" or "your work" except:                                 16.   "Suit"     means         a    civil   proceeding           in    which

                                                                                    damages       because           of    "bodily      injury",     "prop-
              (1)   Products that are still in your physical
                                                                                    erty damage", "personal injury" or "advertis-
                    possession; or
                                                                                    ing injury" to which this insurance applies are
              (2)   Work that has not yet been completed
                                                                                    alleged. "Suit" includes:
                    or    abandoned.     However,          "your      work"
                                                                                    a.   An arbitration proceeding in                        which such
                    will be deemed completed at the earli-
                                                                                         damages        are       claimed       and     to    which the
                    est of the following times:
                                                                                         insured must submit or does submit with
                    (a)   When all of the work called for in
                                                                                         our consent; or
                          your contract has been completed.
                                                                                    b.   Any    other       alternative         dispute       resolution
                    (b)   When all of the work to be done at
                                                                                         proceeding          in   which        such     damages           are
                          the job site has been completed if
                                                                                         claimed and to which the insured submits
                          your contract calls for work at more
                                                                                         with our consent.
                          than one job site.
                                                                              17.   "Temporary worker" means a person who is
                    (c)   When that part of the work done at
                                                                                    furnished to you to substitute for a permanent
                          the job site has been put to its in-
                                                                                    "employee" on leave or to meet seasonal or
                          tended use by any other person or
                                                                                    short-term workload conditions.
                          organization       other    than       another
                                                                              18.   "Your product" means:
                          contractor or subcontractor working

                          on the same project.                                      a.   Any    goods        or    products,          other    than      real

                                                                                         property,          manufactured,             sold,       handled,
                    Work     that may need service, mainte-
                                                                                         distributed or disposed of by:
                    nance,    correction,         repair   or    replace-

                    ment, but which is otherwise complete,                               (1)   You;

                    will be treated as completed.
                                                                                         (2)   Others trading under your name; or

              The "bodily injury" or "property damage"
                                                                                         (3)   A person or organization whose busi-
              must occur away from premises you own
                                                                                               ness or assets you have acquired; and
              or rent, unless your business includes the
                                                                                    b.   Containers (other than vehicles), materi-
              selling,     handling     or    distribution       of   "your
                                                                                         als, parts or equipment furnished in con-
              product" for consumption on premises you
                                                                                         nection with such goods or products.
              own or rent.

                                                                                    "Your product" includes:
        b.    Does not include "bodily injury" or "prop-
              erty damage" arising out of:                                          a.   Warranties          or    representations                made     at

                                                                                         any time with respect to the fitness, qual-
              (1)   The transportation of property, unless
                                                                                         ity, durability, performance or use of "your
                    the    injury or damage arises out of a
                                                                                         product"; and
                    condition in or on a vehicle not owned

                    or operated by you, and that condition                          b.   The    providing          of     or    failure      to    provide
                    was     created     by    the   "loading       or   un-              warnings or instructions.
                    loading" of that vehicle by any insured;
                                                                                    "Your product" does not include vending ma-
                    or
                                                                                    chines or other property rented to or located
              (2)   The     existence        of   tools,    uninstalled             for the use of others but not sold.
                    equipment      or    abandoned          or    unused
                    materials.




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  19.   "Your work" means:

         a.   Work or operations performed by you or

              on your behalf; and

        b.    Materials, parts or equipment furnished in

              connection with such work or operations.

        "Your work" includes:

         a.   Warranties   or   representations          made   at
              any time with respect to the fitness, qual-

              ity, durability, performance or use of "your
              work"; and

        b.    The   providing   of   or   failure   to    provide
              warnings or instructions.




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POLICY NUMBER:         60548-58-54                                                                      BUSINESSOWNERS




                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                   BUSINESS LIABILITY COVERAGE -
                                             TENANTS LIABILITY


This endorsement modifies insurance provided under the following:



     BUSINESSOWNERS POLICY



                                                         SCHEDULE*



Premises: ALL DESCRIBED LOCATIONS




Tenants Liability Limit Of Insurance (Per Occurrence):




 *   Information required to complete this Schedule, if not shown on this endorsement, will be shown in the
     Declarations.



With respect to the coverage provided          under     this   B.   Paragraph D.2. Liability And        Medical   Expenses

endorsement, the Businessowners Liability Cover-                     Limits Of Insurance is deleted and replaced by

age Form is amended as follows:                                      the following:

A.   The final paragraph of B.1. Exclusions - Applica-               The most we will pay under this endorsement for

     ble    To   Business   Liability   Coverage    of   the         the sum of all damages because of all "property

     Businessowners Liability Coverage Form is de-                   damage" arising out of any one "occurrence" to

     leted and replaced by the following:                            premises rented to you or temporarily occupied
                                                                     by you with the permission of the owner is the
     With   respect   to   the   premises   shown   in   the
                                                                     Tenants Liability Limit of Insurance shown in the
     Schedule of this endorsement which are rented
                                                                     Schedule.
     to you or temporarily occupied by you with the

     permission of the owner, Exclusions c., d., e., g.,        C.   With   respect    to    the   premises   shown   in   the

     h., k., l., m., n. and o. do not apply to "property             Schedule    of   this   endorsement,     Paragraph D.3.

     damage".                                                        and Paragraph D.4.b. are deleted.




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                                                                                                                  S2274
                                                                                                                       Illinois
                                                                                                                4th Edition


                        This endorsement changes the policy. Please Read it carefully.




                     MOLD AND MICROORGANISM EXCLUSION

This endorsement modifies insurance provided under the following



BUSINESSO WNERS COVERAGE FORM
BUSINESSO WNERS LIABILITY COVERAGE FORM
COMMERCIAL GENERAL L IABILITY COVERAGE PART
APARTMENT O WNERS L IABILITY COVERAGE FORM
CONDOMINIUM LIABILITY COVERAGE FORM
DIRECTORS AND OFFICERS LIABILITY COVERAGE FORM


The following provisions apply to your policy.


A . Definition:


   1. "Mold" means any type or form of fungus including b ut not limited to mildew, mycotox ins, spores, scents or
      by -products produced or released by "mold".


   2. "Microorganism" means any organism (an imal or plant) of microscopic size, including but not limited to
         any type or form of bacteria, bacterium, germ, intestinal flora, microbe, pathogen or virus or any part or by-
         product of any of the above.


B . This insurance does not apply to any:


   1. "Bodily injury" Property Damage" or "personal and advertising injury" arising out of, resulting from, caused
         or contributed to, whether directly or ind irectly by "mold" or "microorganism" and would not have occurred
         in whole or in part, but for the actual, alleged or threatened inhalation of, ingestion of , contac t with,
         exposure to, ex istence of or presence of any "mold" or "microorganism";


    2. Any loss, cost or expense arising out of the abating, testing for, mon itoring, cleaning up, removing,
         containing, treating, detoxifying, neut ralizing, remediating or disposing of, or in any way responding to
         or assessing the effect of "mold" or "microorganism", by any insured or by any other person or entity;


   3. Any supervision, instruction, recommendation, warning or adv ice given or which should have been given in
         connection with 1or 2 above; and


    4.     Any obligation to share with or repay someone else who must pay damages because of such injury or
         damage.


However th is exclusion does not apply to any "mold" or "microorganism" that is on, or contained in, a good or
product intended for consumption.




90-2274, 4th Edition 12/03                                                                                             Page 1 of 1
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                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                                    E3342
                                                                                                                        2nd Edition




                              PERSONAL AND ADVERTISING INJURY COVERAGE
                                     AMENDATORY ENDORSEMENT

This endorsement modifies insurance provided under the following:

BUSINESSOWNERS LIABILITY COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Businessowners Liability
Coverage Form apply unless modified by the endorsement.

A. Paragraph 1. Business Liability is amended as follows:

   a. Subparagraph 1.a. is deleted and replaced with the following:

          a. We will pay those sums that the insured becomes legally obligated to pay as damages because
                of "bodily injury", "property damage" or "personal and advertising injury" to which this
                insurance applies. We will have the right and duty to defend the insured against any "suit"
                seeking those damages. However, we will have no duty to defend the insured against any
                "suit" seeking damages for "bodily injury", "property damage" or "personal and advertising
                injury" to which this insurance does not apply. We may, at our discretion, investigate any
                "occurrence" or any offense and settle any claim or "suit" that may result. But:

   b. Subparagraphs 1.b. (2)(a) and (b) are deleted and replaced with the following:

          (2)    To "personal and advertising injury" caused by an offense arising out of your business, but
                 only if the offense was committed in the "coverage territory" during the policy period.


B. The Subparagraph below Paragraph B.1.j of Exclusions is deleted and replaced with the following:

   "Bodily injury", "property damage" or "personal and advertising injury" caused by the rendering or
   failure to render any professional service. This includes but is not limited to:


C. Paragraphs B.1.p and q. of Exclusions are deleted and replaced with the following:

   p. Personal And Advertising Injury

          "Personal and advertising injury":

          (1) Caused by or at the direction of the insured with the knowledge that the act would violate the
                rights of another and would inflict "personal and advertising injury";

          (2) Arising out of oral or written publication, in any manner, of material, if done by or at the
                direction of the insured with knowledge of its falsity;

          (3) Arising out of oral or written publication, in any manner, of material whose first publication
                took place before the beginning of the policy period, whether or not any publication made
                prior to the inception of the policy:

                (a) Violated or infringed upon another's rights; or

                (b) Was or is actionable;

          (4) Arising out of a criminal act committed by or at the direction of the insured;

          (5) For which the insured has assumed liability in a contract or agreement. This exclusion does
                not apply to liability for damages that the insured would have in the absence of the contract or
                agreement;

          (6) Arising out of a breach of contract, except an implied contract to use another's advertising
                idea in your "advertisement";

          (7) Arising out of the failure of goods, products or services to conform with any statement of
                quality or performance made in your "advertisement";

          (8) Arising out of the wrong description of the price of goods, products or services stated in your
                "advertisement";

          (9) Committed by an insured whose business is:

                (a) Advertising, broadcasting, publishing or telecasting;

                (b) Designing or determining content of web sites for others; or




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             (c) An Internet search, access, content or service provider.

             However, this exclusion does not apply to Paragraphs 13. a., b. and c. of "personal and
             advertising injury" under F. Liability And Medical Expenses Definitions.

             For the purposes of this exclusion, the placing of frames, borders or links, or advertising, for
             you or others anywhere on the Internet, by itself, is not considered the business of advertising,
             broadcasting, publishing or telecasting;


     (10) Arising out of the actual, alleged or threatened discharge, dispersal, seepage, migration,
             release or escape of pollutants at any time;

     (11) With respect to any loss, cost or expense arising out of any:

             (a) Request, demand, order or statutory or regulatory requirement that any insured or others
                 test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way
                 respond to, or assess the effects of, pollutants; or

             (b) Claim or suit by or on behalf of a governmental authority for damages because of testing
                 for, monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing,
                 or in any way responding to, or assessing the effects of, pollutants;

     (12) Arising out of an electronic chatroom or bulletin board, blog or any other virtual forum the
             insured hosts, owns or over which the insured exercises control;

     (13) Arising out of the infringement of copyright, patent, trademark, trade dress, slogan, service
             mark, trade secret or other intellectual property rights. However this exclusion does not apply
             if the sole and exclusive basis for the claim is infringement, in your "advertisement", of:

             (a) Copyright;

             (b) Trade dress; or

             (c) Slogan, unless the slogan is also a trademark, trade name, service mark or other
                 designation of origin or authenticity;

     (14) Arising out of the unauthorized use of another's name or product in your e-mail address,
             domain name or metatags, or any other similar tactics to mislead another's potential
             customers.


          Pollutants means any solid, liquid, gaseous or thermal irritant or contaminant, including smoke,
          vapor, soot, fumes, acids, alkalis, chemicals and waste. Waste includes materials to be recycled,
          reconditioned or reclaimed.

D. Subparagraph C.2.a.(1) of Who Is An Insured is deleted and replaced with:

   (1) "Bodily injury" or "personal and advertising injury":

E. Subparagraph D.2.b. of Liability And Medical Expenses Limits Of Insurance is deleted and
   replaced with:

   b. "Personal and advertising injury" sustained by any one person or organization;

F. Definitions 1. "Advertising Injury", 13. "Personal Injury" and 16. "Suit" in Section F. Liability And
   Medical Expenses Definitions is amended as follows:

   1. Subparagraph 1. is deleted and replaced with:

          1. "Advertisement" means widespread dissemination of information or images to the general
             public or specific market segments about your goods, products or services for the purpose of
             attracting customers or supporters. "Advertisement" includes:

             a. Material placed on the Internet or on similar electronic means of communication about
                your goods, products or services for the purpose of attracting customers or supporters; and

             b. Regarding web sites, only that part of a web site that is about your goods, products or
                services    for   the   purposes      of   attracting    customers      or   supporters      is     considered   an
                advertisement.

             However, "advertisement" does not include any:

             a. Design, printed material, information or images contained in, on or upon the packaging or
                labeling of any goods or products; or




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             b. Display of goods, products or services at your physical place of business or at any other
                   physical location such as in showrooms or at trade shows.


   2. Subparagraph 13. is deleted and replaced with:

          13. "Personal and advertising injury" means injury, including consequential "bodily injury",
              arising out of one or more of the following offenses:

              a. False arrest, detention or imprisonment;

              b. Malicious prosecution;

              c. The wrongful eviction from, wrongful entry into, or invasion of the right of private
                    occupancy of a room, dwelling or premises that a person occupies, committed by or on
                    behalf of its owner, landlord or lessor;

              d. Oral or written publication, in any manner, of material that slanders or libels a person or
                    organization or disparages a person's or organization's goods, products or services;

              e. Oral or written publication, in any manner, of material that violates a person's right of
                    privacy;

              f.    The use of another's advertising idea in your "advertisement"; or

              g. Infringing upon another's copyright, trade dress or slogan in your "advertisement".

              Damages because of "personal and advertising injury" do not include disgorgement,
              restitution or any other similar monetary amount based, in whole or in part, on an insured's
              unlawful gain or profit, alleged or otherwise.


   3. Subparagraph 16. is deleted and replaced with:

          16. "Suit" means a civil proceeding in which damages because of "bodily injury", "property
              damage", or "personal and advertising injury" to which this insurance applies are alleged.
              "Suit" includes:

              a. An arbitration proceeding in which such damages are claimed and to which the insured
                    must submit or does submit with our consent; or

              b. Any other alternative dispute resolution proceeding in which such damages are claimed
                    and to which the insured submits with our consent.




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otherwise subject to all the terms of the policy.




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91-3342                                                                                                               E3342203
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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                                J7157
                                                                                                                    1st Edition




                                       DAMAGE TO PROPERTY EXCLUSION
                                                  REVISED


This endorsement modifies insurance provided under the:


BUSINESSOWNERS LIABILITY COVERAGE FORM


A. Paragraph B.1.k. of Exclusions is replaced by the following:

   1. Applicable To Business Liability Coverage

          This insurance does not apply to:

          Damage To Property

          "Property damage" to:


          (1) Property you own, rent or occupy, including any costs or expenses incurred by you, or any
              other person, organization or entity, for repair, replacement, enhancement, restoration or
              maintenance of such property for any reason, including prevention of injury to a person or
              damage to another's property;


          (2) Premises you sell, give away or abandon, if the "property damage" arises out of any part of
              those premises;

          (3) Property loaned to you;

          (4) Personal property in the care, custody or control of the insured;

          (5) That particular part of real property on which you or any contractor or subcontractor working
              directly or indirectly on your behalf is performing operations, if the "property damage" arises
              out of those operations; or

          (6) That particular part of any property that must be restored, repaired or replaced because "your
              work" was incorrectly performed on it.


          Paragraphs (1), (3) and (4) of this exclusion do not apply to "property damage" (other than
          damage by fire) to premises, including the contents of such premises, rented to you for a period of
          seven or fewer consecutive days. A separate Limit of Insurance applies to Damage To Premises
          Rented To You as described in Paragraph D. Liability And Medical Expenses Limits Of
          Insurance.
          Paragraph (2) of this exclusion does not apply if the premises are "your work" and were never
          occupied, rented or held for rental by you.

          Paragraphs (3), (4), (5) and (6) of this exclusion do not apply to liability assumed under a
          sidetrack agreement.


          Paragraph (6) of this exclusion does not apply to "property damage" included in the "products
          completed operations hazard".




This endorsement is part of your policy. It supersedes and controls anything to the contrary. It is
otherwise subject to all the terms of the policy.




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93-7157                                                                                                                J7157101
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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                                    J7136
                                                                                                                        1st Edition




                                  POLLUTION EXCLUSION - EXPANDED EXCEPTION

This endorsement modifies insurance provided under the:


APARTMENT OWNERS LIABILITY COVERAGE FORM

BUSINESSOWNERS COVERAGE FORM

CONDOMINIUM LIABILITY COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply
unless modified by the endorsement.


A. Section B. Exclusions is amended as follows:

   1. Subparagraph (1)(a) of f. Pollution is deleted and replaced with the following:

          a. At or from any premises, site or location which is or was at any time owned or occupied by, or
             rented or loaned to, any insured. However, this subparagraph does not apply to:


             (i)   "Bodily injury" if sustained within a building and caused by smoke, fumes, vapor or soot
                   produced by or originating from equipment that is used to heat, cool or dehumidify the
                   building, or equipment that is used to heat water for personal use, by the building's
                   occupants or their guests;


            (ii)   "Bodily injury" or "property damage" for which you may be held liable, if you are a
                   contractor and the owner or lessee of such premises, site or location has been added to
                   your policy as an additional insured with respect to your ongoing operations performed for
                   that additional insured at that premises, site or location and such premises, site or location
                   is not and never was owned or occupied by, or rented or loaned to, any insured, other than
                   that additional insured; or


            (iii) "Bodily injury" or "property damage" arising out of heat, smoke or fumes from a hostile
                   fire;

   2. The second paragraph following paragraph f.(1) Pollution is deleted and replaced with the
          following:


          Subparagraph (d)(i) does not apply to "bodily injury" or "property damage" arising out of heat,
          smoke or fumes from a hostile fire.




This endorsement is part of your policy. It supersedes and controls anything to the contrary. It is
otherwise subject to all the terms of the policy.




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93-7136                                                                                                                    J7136101
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                                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                           J6316
                                                                                                               1st Edition




                                      EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA




This endorsement modifies insurance provided under the following:


BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

APARTMENT OWNERS PROPERTY COVERAGE FORM

CONDOMINIUM PROPERTY COVERAGE FORM



A. The exclusion set forth in Paragraph B. applies to all coverage under Section A - Coverage in all applicable

     coverage forms and endorsements that comprise this policy, except as provided in Paragraph C. This includes

     but is not limited to forms or endorsements that cover property damage to buildings or personal property and

     forms or endorsements that cover business income, extra expense or action of civil authority.



B. We will not pay for loss or damage caused by or resulting from any virus, bacterium or other microorganism

     that induces or is capable of inducing physical distress, illness or disease.



C. However, the exclusion in Paragraph B. does not apply to the following:


     1. Loss or damage caused by or resulting from "fungi", wet rot or dry rot. Such loss or damage may be

            addressed in a separate exclusion in this policy; or


     2. Coverage otherwise provided under Food Borne Illness Business Interruption Coverage E3032 (if that

            endorsement is attached to this policy); or


     3. Coverage otherwise provided under the Restaurant Food Contamination Shutdown Coverage E3419 (if

            that endorsement is attached to this policy).



D. With respect to any loss or damage subject to the exclusion in Paragraph B., such exclusion supersedes any

     exclusion relating to "pollutants".



E. If the following provisions are part of this policy, they are hereby amended to remove reference to bacteria:




     1. Exclusion of "Fungi", Wet Rot, Dry Rot And Bacteria; and


     2. Additional Coverage - Limited Coverage For "Fungi", Wet Rot, Dry Rot And Bacteria, including any

            endorsement increasing the scope or amount of coverage.


F.   The terms of the exclusion in Paragraph B., or the inapplicability of this exclusion to a particular loss, do not

     serve to create coverage for any loss that would otherwise be excluded under this policy.




This endorsement is part of your policy. It supersedes and controls anything to the contrary. It is otherwise

subject to all the terms of the policy.




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                                                                                                              BUSINESSOWNERS

                                                                                                                    BP 04 17 01 96



                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                           EMPLOYMENT-RELATED PRACTICES EXCLUSION


This endorsement modifies insurance provided under the following:



   BUSINESSOWNERS POLICY



The following exclusion is added to Section B. EX-                        b.   The spouse, child, parent, brother or sister
CLUSIONS of the Businessowners Liability Cover-                                of that person as a consequence of "bodily

age Form:                                                                      injury" or "personal injury" to that person
                                                                               at whom      any   of   the   employment-related
This insurance does not apply to:
                                                                               practices described in paragraphs (1), (2)
   1.   "Bodily injury" or "personal injury" to:
                                                                               or (3) above is directed.

        a.   A person arising out of any:
                                                                          This exclusion applies:

             (1)   Refusal to employ that person;
                                                                          a.   Whether the insured may be liable as an

             (2)   Termination    of   that   person's   employ-               employer or in any other capacity; and

                   ment; or
                                                                          b.   To any obligation to share damages with

             (3)   Employment-related          practices,       poli-          or   repay   someone          else   who   must   pay

                   cies,   acts   or   omissions,        such     as           damages because of the injury.

                   coercion,   demotion,      evaluation,   reas-

                   signment,      discipline,      defamation,
                   harassment,    humiliation      or    discrimi-

                   nation directed at that person; or




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                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                                      E6036
                                                                                                                     1st Edition




                      LEAD POISONING AND CONTAMINATION EXCLUSION




When this endorsement is attached to your policy the following provisions apply to the Property and Liability Coverages
of your policy:


1.   This insurance does not apply to any bodily injury, personal injury or property damage or property loss arising
     out of, resulting from, caused by or contributed to by lead, or any hazardous properties of lead, including but not
     limited to Lead Poisoning and Lead Contamination and the threat or fear of Lead Poisoning or Lead
     Contamination.

          Lead Poisoning includes, but is not limited to, actual bodily injury or personal injury resulting from
          exposure or ingestation, of any nature, cause or duration, to or of lead, or products, objects or
          substances comprised of or containing lead.

          Lead Contamination includes, but is not limited to, the presence of lead in paint, soil, plants, animals,
          water pipes, buildings or other structures.


     For purposes of this exclusion, the definition of bodily injury is amended to include mental injury, anguish,
     distress or fear of Lead Poisoning or Lead Contamination.

     For purposes of this exclusion, the definitions of property damage and property loss are amended to
     include actual or threatened loss of property value, loss of equity, loss of use, loss of rents or other economic
     injury caused by Lead Poisoning or Lead Contamination .

2.   We will not pay for any loss, cost or expense arising out of, resulting from, caused by or contributed to by:

     a.   The testing or monitoring for, or, abatement, mitigation, neutralization, removal or disposal of lead, lead
          compounds or materials containing lead;

     b.   The testing or monitoring for or treatment of Lead Poisoning or Lead Contamination in humans or animals.

     c.   Any supervision, instructions, recommendations, warnings or advice given or which should have been
          given in connection with Lead Poisoning or Lead Contamination;


     d.   Any obligation to share damages with or repay someone else who must pay damages in connection with
          Lead Poisoning or Lead Contamination.




This endorsement is part of your policy. It supersedes and controls anything to the contrary. It is otherwise subject to all

the terms of the policy.



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91-6036                                                                                                                  E6036101
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                                        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                                                                                   J 6828
                                                                                                                                                                       1st Edition




                                   LIMITED COVERAGE FOR FUNGI, WET ROT, DRY ROT AND BACTERIA



This endorsement modifies insurance provided under the following:


BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM

BUSINESSOWNERS COVERAGE FORM



A. The         following         is   added   under          B.1.     Exclusions            as    item      h.     in    the     BUSINESSOWNERS                      SPECIAL

    PROPERTY COVERAGE                              FORM and item i. in Section I - PROPERTY of the BUSINESSOWNERS

    COVERAGE FORM:


    "Fungi", Wet Rot, Dry Rot And Bacteria


    Presence, growth, proliferation, spread or any activity of "fungi", wet or dry rot or bacteria.


    But if "fungi",              wet or dry rot or bacteria results in a "specified                                 cause of loss", we will pay for the loss or

    damage caused by that "specified cause of loss".


    This exclusion does not apply:

    (1) When "fungi", wet or dry rot or bacteria results from fire or lightning; or

    (2) To the extent that coverage is provided in the Additional Coverage - Limited Coverage                                                                   For "Fungi",

            Wet Rot, Dry Rot And Bacteria with respect to loss or damage                                                     by a cause of loss other than fire or

            lightning.


B. Paragraph             B.2.k.(2)     in   the    BUSINESSOWNERS                              SPECIAL             PROPERTY                 COVERAGE             FORM          and

    paragraph            B.2.l.(2) in Section            I - PROPERTY                    of the BUSINESSOWNERS                                   COVERAGE           FORM            is

    replaced by the following:


    (2) Rust or other corrosion, decay, deterioration,                                     hidden or latent defect or any quality in property that

            causes it to damage or destroy itself.



C. The following is added under B.2.k. in the BUSINESSOWNERS                                                             SPECIAL PROPERTY COVERAGE

    FORM            and paragraph           B.2.l. in Section               I - PROPERTY                     of    the    BUSINESSOWNERS                       COVERAGE

    FORM:


    (8) Continuous                or repeated          seepage     or leakage           of water, or the presence                         or condensation       of humidity,

            moisture or vapor, that occurs over a period of 14 days or more.


D. Paragraph             A.5.l.(5)     in   the    BUSINESSOWNERS                             SPECIAL              PROPERTY                 COVERAGE             FORM          and

    paragraph            A.5.l.(5) in Section            I - PROPERTY                    of the BUSINESSOWNERS                                   COVERAGE           FORM            is

    replaced by the following:


    (5) Under this Additional Coverage, we will not pay any costs associated with:


            (a)   The          enforcement        of    any     ordinance           or    law      which          requires        demolition,        repair,     replacement,

                  reconstruction,           remodeling          or remediation               of property due to contamination                           by "pollutants"             or

                  due to the presence,                 growth,       proliferation,           spread        or any activity               of "fungi",   wet or dry rot or

                  bacteria; or


            (b) The costs associated with the enforcement                                   of any ordinance                 or law which requires any insured or

                   others to test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way

                   respond to, or assess the effects of "pollutants", "fungi", wet or dry rot or bacteria.



E. The following is added under Section A.5. Additional Coverages as item n. in the BUSINESSOWNERS

    SPECIAL               PROPERTY            COVERAGE                     FORM            and       item         p.    in    Section        I   -   PROPERTY             of       the

    BUSINESSOWNERS COVERAGE FORM:




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    Limited Coverage For "Fungi", Wet Rot, Dry Rot And Bacteria


    If "fungi", wet or dry rot or bacteria                     results from a "specified                    cause of loss" (other than fire or lightning)

    that      occurs       during    the   policy    period,       and if all reasonable                   means         were used            to save   and preserve              the

    property from further damage at the time of and after that occurrence:


    (1) We          will pay for       loss or damage            by "fungi",            wet or dry rot or bacteria.                           As used    in    this      Limited

            Coverage, the term loss or damage means:


            (a)   Direct physical loss or damage to Covered Property caused by "fungi", wet or dry rot or bacteria,

                  including the cost of removal of the "fungi", wet or dry rot or bacteria;


            (b) The cost to tear out and replace any part of the building or other property as needed to gain access

                   to the "fungi", wet or dry rot or bacteria; and

            (c)    The cost of testing performed                    after removal,             repair,      replacement               or restoration of the damaged

                   property is completed,            provided         it is reasonable to believe that "fungi", wet or dry rot or bacteria

                   are present.

    (2) The most we will pay under this Limited Coverage for the sum of all loss or damage arising out of all

            occurrences        of "specified        causes     of loss" (other than fire or lightning)                                 which       take place in each             12

            month period (beginning                 with the effective              date of this policy), is $15,000.                          The $15,000          aggregate

            limit is subject to and not in addition                       to the applicable               Limit of Insurance on the affected                           property

            and is applied regardless of the number of premises involved in such occurrence(s).


    (3) We will not pay more than the total of $15,000 under this Limited Coverage even if the "fungi", wet

            or dry rot or bacteria continues to be present or active, or recurs, in a later policy period.

    (4) Payments under this Limited Coverage                               are subject to and not in addition to the applicable                                        Limit of

            Insurance on any Covered Property.

    (5) If there is covered                loss or damage           to Covered             Property, not caused                       by "fungi",       wet or dry rot or

            bacteria, loss payment will not be limited by the terms of this Limited Coverage,                                                        except to the extent

            that "fungi", wet or dry rot or bacteria causes an increase in the loss. Any such increase in the loss will

            be subject to the terms of this Limited Coverage.

    (6) The terms              of   this   Limited    Coverage           do     not increase            or reduce           the       coverage      provided       under       the

            Additional         Coverages      5.d.    Collapse          or    5.e.     Water         Damage,           Other          Liquids,       Powder       or     Molten

            Material Damage.

    (7) This Limited Coverage                  applies if a Limit of Insurance is shown in the Declarations                                               for Building            or

            Personal Property.

    (8) The following applies only if Business Income and Extra Expense coverage                                                              applies    to the described

            premises and only if the suspension of "operations" satisfies all terms and conditions of the applicable

            Business Income and/or Extra Expense coverage.


            (a)   If the loss which          resulted      in "fungi",          wet or dry rot or bacteria                        does     not in itself        necessitate            a

                  suspension        of "operations",         but such suspension                    is necessary due to loss or damage                            to property

                  caused by "fungi", wet or dry rot or bacteria, we will pay for the actual loss of business income and

                  extra expense you sustain. However, we will only pay for loss of business income and extra expense

                  sustained in a period of not more than 30 days. The days need not be consecutive.


            (b) If a covered          suspension of "operations"                   was caused by loss or damage                           other than "fungi",              wet or

                   dry rot or bacteria, but remediation                      of "fungi", wet or dry rot or bacteria prolongs the "period of

                   restoration",      we will pay         for the actual             loss of business               income            and extra      expense      you     sustain

                   during the delay (regardless               of when such a delay occurs during the "period                                         of restoration")             but

                   such coverage is limited to 30 days. The days need not be consecutive.


G. The following is added                  under Section H. Property Definitions as item 8. in the BUSINESSOWNERS

    SPECIAL              PROPERTY            COVERAGE                 FORM             and      item       14.      in     Section        I    -   PROPERTY               of      the

    BUSINESSOWNERS COVERAGE FORM:


    "Fungi" means any type or form of fungus, including mold or mildew, and any mycotoxins, spores, scents

    or by-products produced or released by fungi.




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                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                                                                                                             J6849
                                                                                                                                 2nd Edition




                                                DEDUCTIBLE PROVISIONS



This endorsement modifies insurance provided under the following:



APARTMENT OWNERS PROPERTY COVERAGE FORM

BUSINESSOWNERS COVERAGE FORM


BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM


CONDOMINIUM PROPERTY COVERAGE FORM



The Deductible provisions in the applicable coverage form are amended as follows.


Section   D. Deductibles     in the applicable Property Coverage Form, and Paragraph                 D. Deductibles     in   SECTION I -
PROPERTY of the Businessowners Coverage Form is deleted and replaced by the following:


D. DEDUCTIBLES


   1.   We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the

        Deductible shown in the Declarations. We will then pay the amount of loss or damage in excess of the Deductible

        up to the applicable Limit of Insurance.



   2.   If more than one Deductible applies in any one occurrence we will apply each Deductible separately per location.

        But the total of all Deductible amounts applied in that occurrence will not exceed the highest applicable

        Deductible per location.




This endorsement is part of your policy. It supersedes and controls anything to the contrary. It is otherwise subject to all

the terms of the policy.




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                                                                                                                                                BUSINESSOWNERS

                                                                                                                                                       BP 00 09 01 97




                             BUSINESSOWNERS COMMON POLICY CONDITIONS


All coverages of this policy are subject to the fol-                                                       (5)    Failure to:

lowing conditions.
                                                                                                                 (a)    Furnish      necessary         heat,    water,
A.   Cancellation                                                                                                       sewer service       or    electricity    for 30

                                                                                                                        consecutive       days    or   more, except
     1.   The first Named Insured shown in the Decla-
                                                                                                                        during a period of seasonal unoc-
          rations may cancel this policy by mailing or
                                                                                                                        cupancy; or
          delivering             to   us     advance           written       notice    of
          cancellation.                                                                                          (b)    Pay property taxes that are owing
                                                                                                                        and     have      been    outstanding         for
     2.   We may cancel this policy by mailing or de-
                                                                                                                        more    than      one   year    following     the
          livering          to   the       first   Named        Insured        written
                                                                                                                        date due, except that this provision
          notice of cancellation at least:
                                                                                                                        will not apply where you are in a
           a.   5 days before the effective date of cancel-
                                                                                                                        bona    fide   dispute     with   the    taxing
                lation if any one of the following conditions
                                                                                                                        authority      regarding        payment        of
                exists       at       any     building         that     is   Covered
                                                                                                                        such taxes.
                Property in this policy.
                                                                                                      b.   10 days before the effective date of can-
                (1)   The building has been vacant or unoc-
                                                                                                           cellation if we cancel for nonpayment of
                      cupied 60 or                 more      consecutive           days.
                                                                                                           premium.
                      This does not apply to:
                                                                                                      c.   30 days before the effective date of can-
                      (a)    Seasonal unoccupancy; or
                                                                                                           cellation if we cancel for any other reason.

                      (b)    Buildings             in    the    course        of    con-
                                                                                                 3.   We will mail or deliver our notice to the first
                             struction, renovation or addition.
                                                                                                      Named Insured's last mailing address known

                      Buildings             with        65%    or      more    of     the             to us.

                      rental units or floor area vacant or un-
                                                                                                 4.   Notice of cancellation will state the effective
                      occupied             are     considered           unoccupied
                                                                                                      date       of    cancellation.      The    policy   period      will
                      under this provision.
                                                                                                      end on that date.

                (2)   After damage                  by a covered cause of
                                                                                                 5.   If this policy is cancelled, we will send the
                      loss, permanent repairs to the building:
                                                                                                      first Named Insured any premium refund due.

                      (a)    Have not started, and                                                    If we cancel, the refund will be pro rata. If the

                                                                                                      first Named Insured cancels, the refund may
                      (b)    Have not been contracted for,
                                                                                                      be less than pro rata. The cancellation will
                      within          30    days        of   initial    payment        of             be effective even if we have not made or of-
                      loss.                                                                           fered a refund.

                (3)   The building has:                                                          6.   If   notice       is   mailed, proof of mailing will be

                      (a)    An outstanding order to vacate;                                          sufficient proof of notice.


                      (b)    An outstanding demolition order; or                            B.   Changes


                      (c)    Been          declared          unsafe     by    govern-            This policy contains all the agreements between

                             mental authority.                                                   you and us concerning the insurance afforded.
                                                                                                 The first Named Insured shown in the Declara-
                (4)   Fixed           and     salvageable              items       have
                                                                                                 tions is authorized to make changes in the terms
                      been or are being removed from the
                                                                                                 of   this   policy          with   our   consent.      This   policy's
                      building         and         are   not    being        replaced.
                                                                                                 terms       can       be     amended       or    waived       only    by
                      This       does       not apply to such removal
                                                                                                 endorsement issued by us and made a part of
                      that is necessary or incidental to any
                                                                                                 this policy.
                      renovation or remodeling.




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C.   Concealment, Misrepresentation Or Fraud                      G. Liberalization

     This policy is void in any case of fraud by you as                If we adopt any revision that would broaden the

     it relates to this policy at any time. It is also void            coverage         under    this   policy       without         additional
     if you or any other insured, at any time, inten-                  premium within 45 days prior to or during the

     tionally conceal or misrepresent a material fact                  policy period, the broadened coverage will im-
     concerning:                                                       mediately apply to this policy.

     1.   This policy;                                            H.   Other Insurance

     2.   The Covered Property;                                        1.   If there is other insurance covering the same

                                                                            loss    or   damage,        we    will   pay      only     for    the
     3.   Your interest in the Covered Property; or
                                                                            amount of covered loss or damage in excess
     4.   A claim under this policy.
                                                                            of the amount due from that other insurance,

D.   Examination Of Your Books And Records                                  whether you can collect on it or not. But we
                                                                            will not pay more than the applicable Limit
     We may examine and audit your books and re-
                                                                            of Insurance.
     cords as they relate to this policy at any time

     during the policy period and up to three years                    2.   Business       Liability    Coverage         is   excess         over

     afterward.                                                             any    other    insurance        that    insures         for   direct

                                                                            physical loss or damage.
E.   Inspections And Surveys
                                                                       3.   When this insurance is excess, we will have
     We have the right but are not obligated to:
                                                                            no duty under Business Liability Coverage to
     1.   Make inspections and surveys at any time;                         defend       any   claim    or    "suit"     that        any   other

     2.   Give you reports on the conditions we find;                       insurer      has    a    duty    to   defend.       If   no    other

          and                                                               insurer defends, we will undertake to do so;

                                                                            but we will be entitled to the insured's rights
     3.   Recommend changes.
                                                                            against all those other insurers.
     Any inspections, surveys, reports or recommen-
                                                                  I.   Premiums
     dations relate only to insurability and the premi-

     ums    to   be   charged.   We    do   not   make   safety        1.   The first Named Insured shown in the Decla-

     inspections. We do not undertake to perform the                        rations:

     duty of any person or organization to provide for                      a.    Is responsible for the payment of all pre-
     the health or safety of workers or the public. And                           miums; and
     we do not warrant that conditions:
                                                                            b.    Will be the payee for any return premiums
     1.   Are safe or healthful; or                                               we pay.

     2.   Comply      with   laws,   regulations,   codes   or         2.   The premium shown in the Declarations was
          standards.                                                        computed based on rates in effect at the time

     This condition applies not only to us, but also to                     the    policy      was    issued.       On   each         renewal,

     any rating, advisory, rate service or similar or-                      continuation        or   anniversary         of   the     effective

     ganization which makes insurance inspections,                          date of this policy, we will compute the pre-

     surveys, reports or recommendations.                                   mium in accordance with our rates and rules

                                                                            then in effect.
F.   Insurance Under Two Or More Coverages
                                                                       3.   With our consent, you may continue this pol-
     If two or more of this policy's coverages apply to
                                                                            icy in force by paying a continuation premium
     the same loss or damage, we will not pay more
                                                                            for    each    successive         one-year        period.        The
     than the actual amount of the loss or damage.
                                                                            premium must be:

                                                                            a.    Paid to us prior to the anniversary date;
                                                                                  and




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          b.    Determined in accordance with Paragraph                                      b.   After a loss to your Covered Property only
                2. above.                                                                         if, at time of loss, that party is one of the

                                                                                                  following:
          Our forms then in effect will apply. If you do
          not pay the continuation premium, this policy                                           (1)   Someone insured by this insurance;

          will expire on the first anniversary date that
                                                                                                  (2)   A business firm:
          we have not received the premium.
                                                                                                        (a)    Owned or controlled by you; or
     4.   Undeclared        exposures           or   change          in    your
                                                                                                        (b)    That owns or controls you; or
          business operation, acquisition or use of lo-
          cations may occur during                   the    policy      period                    (3)   Your tenant.
          that are not shown in the Declarations. If so,
                                                                                             You may also accept the usual bills of lading
          we may require an additional premium. That
                                                                                             or   shipping           receipts   limiting   the   liability   of
          premium      will   be    determined             in   accordance
                                                                                             carriers.
          with our rates and rules then in effect.
                                                                                             This will not restrict your insurance.
J.   Premium Audit
                                                                                        2.   Applicable to Businessowners Liability Cov-
     1.   This policy is subject to audit if a premium
                                                                                             erage:
          designated as an advance premium is shown

          in the Declarations. We will compute the final                                     If the insured has rights to recover all or part

          premium due when we determine your actual                                          of   any     payment        we     have    made     under    this

          exposures.                                                                         policy, those rights are transferred to us. The

                                                                                             insured must do nothing after loss to impair
     2.   Premium       shown       in   this    policy         as   advance
                                                                                             them. At our request, the insured will bring
          premium is a deposit premium only. At the
                                                                                             "suit" or transfer those rights to us and help
          close of each audit period we will compute
                                                                                             us enforce them. This condition does not ap-
          the    earned     premium       for    that       period.       Audit
                                                                                             ply to Medical Expenses Coverage.
          premiums are due and payable on notice to

          the first Named Insured. If the sum of the ad-                           L.   Transfer Of Your Rights And Duties Under This

          vance and audit premiums paid for the policy                                  Policy

          period is greater than the earned premium,                                    Your rights and duties under this policy may not
          we will return the excess to the first Named                                  be   transferred         without      our   written     consent ex-
          Insured.                                                                      cept in the case of death of an individual Named

     3.   The first Named Insured must keep records                                     Insured.

          of    the   information        we     need        for      premium            If you die, your rights and duties will be trans-
          computation,        and    send       us    copies         at    such         ferred to your legal representative but only while
          times as we may request.                                                      acting within the scope of duties as your legal

K.   Transfer Of Rights Of Recovery Against Others                                      representative. Until your legal representative is

     To Us                                                                              appointed,            anyone      having       proper    temporary

                                                                                        custody of            your    property   will   have     your   rights
     1.   Applicable to Businessowners Property Cov-
                                                                                        and duties but only with respect to that property.
          erage:

          If any person or organization to or for whom

          we make payment under this policy has rights
          to    recover     damages        from        another,           those

          rights are transferred to us to the extent of
          our    payment.       That     person       or        organization
          must do everything necessary to secure our

          rights and must do nothing after loss to im-
          pair   them.    But    you     may     waive           your     rights

          against another party in writing:

           a.   Prior to a loss to your Covered Property.




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                                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                                                                                  J  6740
                                                                                                                                                                      1st Edition




                                                       TWO OR MORE COVERAGE FORMS




This endorsement modifies insurance provided under the following:


     BUSINESSOWNERS POLICY



1. The following paragraph                 is added to the BUSINESSOWNERS                                                 COMMON POLICY CONDITIONS

     of the BP 00 09 and SECTION                          III     - COMMON                          POLICY                CONDITIONS               of the   BP 00         03     and

     supersedes any provision to the contrary:



     A.     Two Or More Coverage Forms Or Policies Issued By Us


            If this Coverage          Form and any other Coverage Form or policy issued by us or any company affiliated

            with us provide           coverage   to anyone who qualifies                            as an insured under the policies                      and apply to the

            same accident, claim, damage, loss, "occurrence",                                    offense, or "suit", the aggregate                      maximum Limit of

            Insurance        under all the Coverage            Forms or policies                       shall not exceed                   the highest   applicable    Limit of

            Insurance under one Coverage                 Form or policy. This condition does not apply to any Coverage Form

            or   policy      issued   by us   or an     affiliated           company               specifically              to apply       as excess   insurance     over       the

            Coverage Form.




This endorsement               is part of your policy. It supersedes and controls anything to the contrary. It is otherwise

subject to all the terms of the policy.




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             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                                          J7115
                                                                                                                              1st Edition




                                              EXCLUSION - ASBESTOS, SILICA
                                                OR SILICA-RELATED DUST


This endorsement modifies insurance provided under the:


BUSINESSOWNERS COVERAGE FORM

BUSINESSOWNERS LIABILITY COVERAGE FORM


A. The following exclusion is added to Section B. Exclusions of the Businessowners Liability
   Coverage Form or to Section II - Liability of the Businessowners Coverage Form :

   1. Applicable To Business Liability Coverage

       This insurance does not apply to:

       Asbestos, Silica Or Silica-Related Dust

       (1) "Bodily injury", "property damage", or "personal and advertising injury" arising, in whole or
            in part, out of the actual, alleged, threatened or suspected inhalation of, ingestion of, contact
            with, exposure to, existence of, or presence of, asbestos, "silica" or "silica-related dust";


       (2) Any loss, cost or expense arising, in whole or in part, out of the abating, testing for,
            monitoring,         cleaning       up,     removing,        containing,        treating,       detoxifying,   neutralizing,
            remediating or disposing of, or in any way responding to or assessing the effects of, asbestos,
            "silica" or "silica-related dust", by any insured or by any other person or entity;

       (3) Any loss, cost or expense arising, in whole or in part, out of any supervision, instructions,
            recommendations, warnings or advice given, or which should have been given, in connection
            with asbestos, "silica" or "silica-related dust"; or


       (4) Any loss, cost or expense arising, in whole or in part, out of any obligation to share damages
            with or repay someone else who must pay damages in connection with asbestos, "silica" or
            "silica-related dust".


B. For the purposes of this endorsement, Section F. - Liability And Medical Expenses Definitions is
   amended as follows:

   1. The following definitions are added:

       a.   "Silica" means silicon dioxide (occurring in crystalline, amorphous and impure forms), silica
            particles, silica dust or silica compounds.


       b.   "Silica-related dust" means a mixture or combination of silica and other dust or particles.

   2. The following definitions are amended:

       a.   "Bodily injury" is amended to include mental injury, anguish, distress or fear of cancer or other
            injury, illness or disease caused by or related to asbestos, "silica" or "silica-related dust", or
            exposure to asbestos, "silica" or "silica-related dust".


       b.   "Property damage" is amended to include actual or threatened loss of property value, loss of
            equity, loss of use, loss of rents or other economic injury caused by asbestos, "silica" or
            "silica-related dust" or exposure to asbestos, "silica" or "silica-related dust".




This endorsement is part of your policy. It supersedes and controls anything to the contrary. It is
otherwise subject to all the terms of the policy.




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Dear Valued Customer,



Have the growth of your business and rising labor costs reduced the accuracy of the payroll or revenue shown

on your policy? Have increased costs and inflationary trends reduced the protection provided by your policy?

Building and Business Personal Property insurance limits, once adequate, may no longer meet today's repair

or replacement costs.


To    help        compensate   for   these   inflationary    trends,   the   limits   of   insurance   for    Building    and/or   Business

Personal Property coverages            have been increased by a modest percentage.               To keep your policy current with

rising     labor costs    and normal business        growth,     the payroll    and/or revenue         have   also been increased          by a

modest percentage.


This renewal offer includes the adjusted limits of insurance, payroll, revenue, and premium for your policy.

The adjustments are relatively small, and they're based on estimated increases in the past year's construction

and repair costs, as well as other inflationary factors, such as rising labor costs and normal business growth.


These increases do not guarantee adequate                   coverage   for any loss; they are based on estimates. It is possible,

for example, that updates            or improvements        to your property or increased         sales might cause your individual

needs for coverage        to be greater than the amount provided                by these adjustments. If you have not reviewed

your policy recently, the effects of inflationary changes over time create the likelihood                             that the increases we

made are less than the increases you need for optimal coverage.


These changes are made to better serve your insurance needs, and we encourage you to contact your Farmers

agent, who will be pleased to help you with a comprehensive review of your policy.


Acceptance          of these changes    does not waive        the provisions     of the coinsurance          clause   or any other      policy

clause.


Thank you for choosing Farmers. We appreciate your business.




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Notice to Policyholders
Regarding Mold and Microorganism
Exclusions and Limitations


Dear Valued Customer:



The following is a summary of the exclusions and limitations for loss resulting from mold or microorganisms

contained in your policy.


No coverage is provided by this summary nor can it be construed to replace any provisions of your policy. Not all

coverage forms or endorsements referenced in this notice are included in a particular policy. You should read

your policy and review your Declaration Page for complete information on the coverages contained in your

policy. If there are any differences between the policy and this summary, the provisions of the policy shall prevail.



Liability

Commercial General Liability Coverage Form

Businessowners Liability Coverage Form

Apartment Owners Liability Coverage Form

Condominium Liability Coverage Form

Directors and Officers Liability Coverage

Commercial Umbrella Policy

Businessowners Coverage Form



Endorsements (S2274 or E4011) amend the Liability Coverage of your policy. These endorsements exclude

coverage for Bodily Injury, Property Damage or Personal and Advertising Injury arising out of, resulting from,

caused by or contributed by, whether directly or indirectly, mold or microorganisms.


The exclusion of coverage will also apply to costs or obligations for supervision, instruction, recommendation,

warning or advice that was given or should have been given in connection with mold or microorganisms. It

further excludes coverage for any obligation to reimburse, share or repay any third party held liable for any

damages or injury due to mold or microorganisms.

Property

Businessowners Coverage Form

Businessowners Property Coverage Form

Building and Personal Property Coverage Form

Apartment Owners Property Coverage Form

Condominium Property Coverage Form



The property coverage forms, including but not limited to those listed above, exclude any coverage for mold or

microorganisms as a CAUSE OF LOSS. However, damage resulting from mold or microorganisms is covered if

it results from an otherwise covered CAUSE OF LOSS such as fire or lightning.


This summary is provided for informational purposes only. Your agent will be available to answer any questions

you may have.




MID-CENTURY INSURANCE COMPANY




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                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                              J7122
                                                                                                  1st Edition




                                  LOSS PAYMENT CONDITION -
                             PROFIT, OVERHEAD, AND INCREASED FEES


This endorsement modifies insurance provided under the following:


BUSINESSOWNERS COVERAGE FORM
BUSINESSOWNERS SPECIAL PROPERTY COVERAGE FORM
APARTMENT OWNERS PROPERTY COVERAGE FORM
CONDOMINIUM PROPERTY COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the applicable Coverage Form
apply unless modified by this endorsement.


Paragraph   6.d. of Sub-section E. Property         Loss Conditions of Section I - PROPERTY of the
Businessowners Coverage Form, Paragraph 6.d. of Section E. Property Loss Conditions of the
Businessowners Special Property Coverage Form and the Apartment Owners Property Coverage Form,
and Paragraph 5.d. of Section E. Property Loss Conditions of Condominium Property Coverage Form is
amended as follows:

Sub-paragraph (1) is amended to add the following:

(f) We will not pay for the increased fee, charge or cost attributable to a general contractor's profit and
   overhead or other similar fees or charges, unless you have incurred and paid for them and they are
   reasonable.




This endorsement is part of your policy. It supersedes and controls anything to the contrary. It is
otherwise subject to all the terms of the policy.




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                                                                                                                             IL 00 17 11 98




                                       COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.



A.   Cancellation                                                                    b.   Give you reports on the conditions we find; and

     1.   The first Named Insured shown in the Declarations                          c.   Recommend changes.

          may cancel this policy by mailing or delivering to us
                                                                                2.   We   are   not obligated      to make any inspections,
          advance written notice of cancellation.
                                                                                     surveys, reports or recommendations and any such

     2.   We may cancel this policy by mailing or delivering                         actions we do undertake relate only to insurability

          to    the   first   Named   Insured    written   notice   of               and the premiums to be charged. We do not make

          cancellation at least:                                                     safety inspections. We do not undertake to perform

                                                                                     the duty of any person or organization to provide for
           a.   10 days before the effective date of cancellation
                                                                                     the health or safety of workers or the public. And we
                if we cancel for nonpayment of premium; or
                                                                                     do not warrant that conditions:
          b.    30 days before the effective date of cancellation
                                                                                     a.   Are safe or healthful; or
                if we cancel for any other reason.
                                                                                     b.   Comply     with      laws,   regulations,    codes   or
     3.   We will mail or deliver our notice to the first Named
                                                                                          standards.
          Insured's last mailing address known to us.

                                                                                3.   Paragraphs 1. and 2. of this condition apply not
     4.   Notice of cancellation will state the effective date of
                                                                                     only to us, but also to any rating, advisory, rate
          cancellation. The policy period will end on that date.
                                                                                     service    or   similar     organization     which   makes
     5.   If this policy is cancelled, we will send the first
                                                                                     insurance       inspections,      surveys,    reports     or
          Named       Insured any premium        refund due.   If   we
                                                                                     recommendations.
          cancel, the refund will be pro rata. If the first Named
                                                                                4.   Paragraph 2. of this condition does not apply to any
          Insured cancels, the refund may be less than pro
                                                                                     inspections, surveys, reports or recommendations
          rata. The cancellation will be effective even if we
                                                                                     we may make relative to certification, under state or
          have not made or offered a refund.
                                                                                     municipal statutes, ordinances or regulations, of
     6.   If notice is mailed, proof of mailing will be sufficient
                                                                                     boilers, pressure vessels or elevators.
          proof of notice.
                                                                           E.   Premiums
B.   Changes
                                                                                The first Named Insured shown in the Declarations:
     This policy contains all the agreements between you
                                                                                1.   Is responsible for the payment of all premiums; and
     and us concerning the insurance afforded.              The first

     Named Insured shown in the Declarations is authorized                      2.   Will be the payee for any return premiums we pay.

     to make changes in the terms of this policy with our
                                                                           F.   Transfer Of Your Rights And Duties Under This
     consent. This policy's terms can be amended or waived
                                                                                Policy
     only by endorsement issued by us and made a part of
                                                                                Your rights and duties under this policy may not be
     this policy.
                                                                                transferred without our written consent except in the
C.   Examination Of Your Books And Records
                                                                                case of death of an individual named insured.
     We may examine and audit your books and records as
                                                                                If you die, your rights and duties will be transferred to
     they relate to this policy at any time during the policy
                                                                                your legal representative but only while acting within
     period and up to three years afterward.
                                                                                the scope of duties as your legal representative. Until
D. Inspections And Surveys                                                      your legal representative is appointed, anyone having

                                                                                proper temporary custody of your property will have
     1.   We have the right to:
                                                                                your rights and duties but only with respect to that
           a.   Make inspections and surveys at any time;
                                                                                property.




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                                                                                                   INTERLINE

                                                                                                IL 00 03 04 98



            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                 CALCULATION OF PREMIUM


This endorsement modifies insurance provided under the following:



   BOILER AND MACHINERY COVERAGE PART
   BUSINESSOWNERS POLICY

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL CRIME COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART

   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART

   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART

   FARM COVERAGE PART

   LIQUOR LIABILITY COVERAGE PART

   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART

   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

   PROFESSIONAL LIABILITY COVERAGE PART

   RAILROAD PROTECTIVE LIABILITY COVERAGE PART

   SPECIAL PROTECTIVE AND HIGHWAY LIABILITY POLICY - NEW YORK



The following is added:

The premium shown in the Declarations was computed based on rates in effect at the time the policy was

issued. On each renewal, continuation, or anniversary of the effective date of this policy, we will compute the
premium in accordance with our rates and rules then in effect.




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                               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                                         E4288
                                                                                                                             1st Edition




                                                                  EXCLUSION

                                       TRAVEL AGENTS AND RELATED OPERATIONS



This endorsement modifies insurance provided under the following:


BUSINESSOWNERS LIABILITY COVERAGE FORM


The following exclusion is added to Paragraph B.1. Exclusions applicable to Business Liability Coverage:


This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" arising

out of any act, error or omission for which the insured may be held liable:


1. Because of;


     a. Any obligation assumed by any insured, or by any person or organization for whose acts the insured is

          legally liable;

     b. The failure to discharge or the improper discharge of any obligation or duty, contractual or otherwise, with

          respect to any contract or agreement related to travel services; or

     c. The failure to comply with or violation of any statutes and regulations; including but not limited to, orders

          issued by the Office of Foreign Assets Control.


2. Because of the membership in or contribution to or management, administration or services rendered to or

     received from any organization or association, whether voluntary or involuntary.


3. Caused by or resulting from the rendering of, or failure to render, any and all travel services. Travel Services as

     used in this endorsement, may include but are not limited to:

     a. Advertising, advising, inspecting, investigating or making recommendations in the insured's capacity as a

          travel agent, consultant, broker or an agent or representative thereof;


     b. Leasing, chartering or arranging for an accommodations or means of transportation;

     c. Issuance or delivery of tickets, vouchers, reservations or confirmations;


     d. Acting in any fiduciary capacity to include issuance of travel insurance or travel life insurance; or

     e. Acting in any capacity as a trustee for client's                    property or funds held in float on behalf of clients and

          suppliers.


4. Caused by or resulting from the failure of any computer or systems, when used to provide travel services.




This endorsement is part of your policy. It supersedes and controls anything to the contrary. It is otherwise

subject to all the terms of the policy.




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                               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                           J6345
                                                                                                               1st Edition




                                  EXCLUSION - VIOLATION OF STATUTES THAT GOVERN

                                  E-MAILS, FAX, PHONE CALLS OR OTHER METHODS OF

                                          SENDING MATERIAL OR INFORMATION



This endorsement modifies insurance provided under the following:



BUSINESSOWNERS LIABILITY COVERAGE FORM



The following exclusion is added to Paragraph B. Exclusions - Applicable To Business - Liability Coverage.


B. Exclusions


    This insurance does not apply to:


    DISTRIBUTION OF MATERIAL IN VIOLATION OF STATUTES


    "Bodily injury", "property damage", "personal injury" or "advertising injury" arising directly or indirectly out

    of any action or omission that violates or is alleged to violate:



    a. The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law; or




    b. The CAN-SPAM Act of 2003, including any amendment of or addition to such law; or


    c. Any statute, ordinance or regulation, other than the TCPA or CAN-SPAM Act of 2003, that prohibits or

          limits the sending, transmitting, communicating or distribution of material or information.




This endorsement is part of your policy. It supersedes and controls anything to the contrary. It is otherwise

subject to all the terms of the policy.




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                                                                                                                                              E  2042
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                                                   MULTIPLE OR ENHANCED DAMAGES

                                                                        EXCLUSION



This endorsement modifies insurance provided under the following:


   BUSINESSOWNERS LIABILITY COVERAGE FORM




The following exclusions are added to Section                       B. Exclusions:



    1. Applicable to Business Liability Coverage


          This insurance does not apply to:


          r.   Multiple Or Enhanced Damages Because of "Bodily Injury", "Property Damage", or "Personal and

               Advertising Injury."


               The enhanced          or multiple   amount          of    damages          awarded           against   any insured   including,      but      not

               limited to, double or treble damages,                 whether or not awarded as compensation,                        because   of "bodily

               injury", "property damages" or "personal and advertising injury".


          s.   Taxes, Fines or Penalties


               Taxes, fines or penalties that are awarded or imposed against any insured.




This endorsement                is part of your policy. It supersedes and controls anything to the contrary. It is otherwise

subject to all the terms of the policy.




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                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                                                                                                                          J6351
                                                                                                                              2nd Edition




                                  LIMITED TERRORISM EXCLUSION
                           (OTHER THAN CERTIFIED ACTS OF TERRORISM);
                         CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM


This endorsement modifies insurance provided under the policy number indicated above.


                                                           SCHEDULE


 The Exception Covering Certain Fire Losses (Paragraph B.2.) applies to property located in the following
 state(s):


 California, Hawaii, Iowa, Illinois, Massachusetts, Maine, Missouri, North Carolina, New Jersey, New York,
 Oregon, Rhode Island, Virginia, Washington, Wisconsin, West Virginia


 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




A. The following definitions are added with respect to the provisions of this endorsement:

    1. "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in
       accordance with the provisions of the federal Terrorism Risk Insurance Act to be an act of terrorism
       pursuant to such Act. The criteria contained in the Terrorism Risk Insurance Act for a "certified act
       of terrorism" include the following:

       a. The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all
            types of insurance subject to the Terrorism Risk Insurance Act; and

       b. The act is a violent act or an act that is dangerous to human life, property or infrastructure and is
            committed by an individual or individuals as part of an effort to coerce the civilian population of
            the United States or      to influence the policy or affect the conduct of the United States
            Government by coercion.


    2. "Other act of terrorism" means a violent act or an act that is dangerous to human life, property or
       infrastructure that is committed by an individual or individuals and that appears to be part of an
       effort to coerce a civilian population or to influence the policy or affect the conduct of any
       government by coercion, and the act is not certified as a terrorist act pursuant to the federal
       Terrorism Risk Insurance Act. However, "other act of terrorism" does not include an act which
       meets the criteria set forth in Paragraph b. of the definition of "certified act of terrorism" when
       such act resulted in aggregate losses of $5 million or less.


B. The Property Coverage Form attached to this policy is amended as follows:

    1. The following exclusion is added:

       EXCLUSION OF AN "OTHER ACT OF TERRORISM"

       We will not pay for loss or damage caused directly or indirectly by an "other act of terrorism". Such
       loss or damage is excluded regardless of any other cause or event that contributes concurrently or
       in any sequence to the loss. But this exclusion applies only when one or more of the following are
       attributed to such act:

       a. The terrorism is carried out by means of the dispersal or application of pathogenic or poisonous
            biological or chemical materials; or


       b. Pathogenic or poisonous biological or chemical materials are released, and it appears that one
            purpose of the terrorism was to release such materials; or




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       c. The total of insured damage to all types of property in the United States, its territories and
            possessions, Puerto Rico and            Canada exceeds            $25,000,000. In determining whether the
            $25,000,000 threshold is exceeded, we will include all insured damage sustained by property of
            all persons and entities affected by the terrorism and business interruption losses sustained by
            owners or occupants of the damaged property. For the purpose of this provision, insured
            damage means damage that is covered by any insurance plus damage that would be covered by
            any insurance but for the application of any terrorism exclusions. Multiple incidents of "other
            acts of terrorism" which occur within a 72-hour period and appear to be carried out in concert or
            to have a related purpose or common leadership will be deemed to be one incident.


            With respect to this item, B.1.c. the immediately preceding paragraph describes the threshold
            used to measure the magnitude of an "other act of terrorism" and the circumstances in which
            the threshold will apply, for the purpose of determining whether this exclusion will apply to that
            incident. When the exclusion applies to an "other act of terrorism", there is no coverage under
            this Policy.


    2. Exception Covering Certain Fire Losses

       The following exception to the Exclusion in Paragraph B.1. applies only if indicated and as
       indicated in the Schedule of this endorsement.

       If an "other act of terrorism" results in fire, we will pay for the loss or damage caused by that fire,
       subject to all applicable policy provisions including the Limit of Insurance on the affected property.
       Such coverage for fire applies only to direct loss or damage by fire to Covered Property. Therefore,
       for example, the exception does not apply to insurance provided under business income and/or
       extra expense coverage or endorsements that apply to those coverages.


C. The Liability Coverage Form attached to this policy is amended as follows:

    1. The following exclusion is added:

       This insurance does not apply to:

       TERRORISM

       "Any injury or damage" arising, directly or indirectly, out of an "other act of terrorism". However,
       this exclusion applies only when one or more of the following are attributed to such act:


       a. The total of insured damage to all types of property exceeds $25,000,000. In determining
            whether the $25,000,000 threshold is exceeded, we will include all insured damage sustained
            by property of all persons and entities affected by the terrorism and business interruption losses
            sustained by owners or occupants of the damaged property. For the purpose of this provision,
            insured damage means damage that is covered by any insurance plus damage that would be
            covered by any insurance but for the application of any terrorism exclusions; or


       b. Fifty or more persons sustain death or serious physical injury. For the purposes of this provision,
            serious physical injury means:


            (1) Physical injury that involves a substantial risk of death; or
            (2) Protracted and obvious physical disfigurement; or
            (3) Protracted loss of or impairment of the function of a bodily member or organ; or

       c. The terrorism involves the use, release or escape of nuclear materials, or directly or indirectly
            results in nuclear reaction or radiation or radioactive contamination; or

       d. The terrorism is carried out by means of the dispersal or application of pathogenic or poisonous
            biological or chemical materials; or

       e. Pathogenic or poisonous biological or chemical materials are released, and it appears that one
            purpose of the terrorism was to release such materials.

       With respect to this exclusion, Paragraphs C.1.a. and b. describe the thresholds used to measure
       the magnitude of an incident of an "other act of terrorism" and the circumstances in which the
       threshold will apply for the purpose of determining whether this exclusion will apply to that
       incident.




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   2. The following definition is added:

       a. For the purposes of this endorsement, "any injury or damage" means any injury or damage
            covered under any Coverage Form to which this endorsement is applicable, and includes but is
            not limited to "bodily injury", "property damage" or "personal and advertising injury" as may be
            defined in any applicable Coverage Form.


D. APPLICATION OF OTHER EXCLUSIONS

   The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism
   exclusion, do not serve to create coverage for loss or injury or damage that is otherwise excluded
   under this Policy.


E. CAP ON CERTIFIED TERRORISM LOSSES

   The following limitation applies to property and liability coverage for any one or more "certified acts
   of terrorism" that are not excluded by the terms of Paragraph D.


   If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance
   Act exceed $100 billion in a calendar year and we have met our insurer deductible under the
   Terrorism Risk Insurance Act, we shall not be liable for the payment of any portion of the amount of
   such losses that exceeds $100 billion, and in such case insured losses up to that amount are subject
   to pro rata allocation in accordance with procedures established by the Secretary of the Treasury.




This endorsement is part of your policy. It supersedes and controls anything to the contrary. It is
otherwise subject to all the terms of the policy.



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                  THIS ENDORSEMENT CHANGES THE POLICY.                                  PLEASE READ IT CAREFULLY.




                                                                                                                          7230
                                                                                                                          J

                                                                                                                              1st Edition




                                               SUPPLEMENTARY PAYMENTS

This endorsement modifies insurance provided under the following:




APARTMENT OWNERS LIABILITY COVERAGE FORM

BUSINESSOWNERS COVERAGE FORM

BUSINESSOWNERS LIABILITY COVERAGE FORM

CONDOMINIUM LIABILITY COVERAGE FORM




Paragraph d. or f. Coverage       Extension Ô      Supplementary Payments of the applicable coverage form is deleted and replaced

with the following:



    Coverage Extension Ô        Supplementary Payments



    (1)   We will pay, with respect to any claim we investigate or settle,or any "suit" against an insured we defend:



          (a)   All expenses we incur.



          (b)   Up to $250 for cost of bail bonds required because of accidents or traffic law violations arising out of the use of any

                vehicle to which Business Liability Coverage for "bodily injury" applies. We do not have to furnish these bonds.



          (c)   The cost of bonds to release attachments, but only for bond amounts within our Limit of Insurance. We do not have

                to furnish these bonds.



          (d)   All reasonable expenses incurred by the insured at our request to assist us in the investigation or defense of the claim

                or "suit", including actual loss of earnings up to $250 a day because of time off from work.



          (e)   All court costs taxed against the insured in the "suit". However, these payments do not include attorneys' fees or

                attorneys' expenses taxed against the insured.



          (f)   Prejudgment interest awarded against the insured on that part of the judgment we pay. If we make an offer to pay

                the Limit of Insurance, we will not pay any prejudgment interest based on that period of time after the offer.



          (g)   All interest on the full amount of any judgment that accrues after entry of the judgment and before we have paid,

                offered to pay, or deposited in court the part of the judgment that iswithin our Limit of Insurance.



          These payments will not reduce the limit of liability.



    (2)   If we defend an insured against a "suit" and an indemnitee of the insured is also named as a party to the "suit", we will

          defend that indemnitee if all of the following conditions are met:



          (a)   The "suit" against the indemnitee seeks damages for which the insured has assumed the liability of the indemnitee in

                a contract or agreement that is an "insured contract";



          (b)   This insurance applies to such liability assumed by the insured;



          (c)   The obligation to defend, or the cost of the defense of, that indemnitee, has also been assumed by the insured in the

                same "insured contract";



          (d)   The allegations in the "suit" and the information we know about the "occurrence" are such that no conflict appears

                to exist between the interests ofthe insured and the interests of the indemnitee;



          (e)   The indemnitee and the insured ask us to conduct and control the defense of that indemnitee against such "suit" and

                agree that we can assign the samecounsel to defend the insured and the indemnitee;and



          (f)   The indemnitee:



                (i)   Agrees in writing to:




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                       i.     Cooperate with us in the investigation, settlement or defenseof the "suit";



                       ii.    Immediately    send    us   copies   of   any   demands,      notices,    summonses        or    legal   papers   received    in

                              connection with the "suit";



                       iii.   Notify any other insurer whose coverage is available to the indemnitee; and



                       iv.    Cooperate with us with respect to coordinating other applicable insurance available to the indemnitee;

                              and



                (ii)   Provides us with written authorization to:



                       i.     Obtain records and other information related to the "suit"; and



                       ii.    Conduct and control the defense of the indemnitee in such "suit".



    (3)   So long as the conditions in Paragraph (2) are met, attorneys' fees incurred by us in the defense of that indemnitee,

          necessary litigation expenses incurred by us and necessary litigation expenses incurred by the indemnitee at our

          request will be       paid as Supplementary Payments. Notwithstanding the provisions                         of    Subparagraph       b.(2) of   the

          Contractual Liability Exclusion, such payments will not be deemed to be damages for "bodily injury" and "property

          damage" and will not reduce the Limits of Insurance.



          Our obligation to defend an insured's indemnitee and to pay for attorneys' fees and necessary litigation expenses as

          Supplementary Payments ends when:



          (a)   We have used up the applicable Limit of Insurance in the payment of judgments or settlements; or



          (b)   The conditions set forth above,           or   the terms of    the agreement described           in Paragraph (2)(f) above,          are no

                longer met.




This endorsement is part of your policy.             It supersedes and controls anything to the contrary.                    It is otherwise subject to all

other terms of the policy.




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                                                                     ADDITIONAL CONDITIONS

Applicable only if this policy is issued by the Truck Insurance Exchange or Farmers Insurance Exchange

                                                                     RECIPROCAL PROVISIONS
As used        in these        provisions    the    term    "Underwriters        Association"     means    the       Truck    Underwriters       Association       or the

Farmers Underwriters Association respectively, attorney-in-fact for the Insurance Exchange issuing the policy.

This policy is made and issued in consideration                       of your premium payment to us. It is also issued in consideration of the

information             you gave to us during the application              process, some of which is set out in the policy Declarations,                           and in

consideration            of the Subscription          Agreement,     which is provided          to you and is incorporated              herein   by reference.        You

acknowledge             that you have read, understood              and agree to all the terms and conditions                  of the Subscription          Agreement.

Among        other things, the Subscription                 Agreement      appoints     your Attorney-in-Fact,           authorizes     your Attorney-in-Fact            to

execute       interinsurance          policies   between      you   and    other   subscribers     and    to   perform        various   functions,     and    addresses

compensation of the Attorney-in-Fact.

Nothing in this policy is intended, or shall be construed, to create either:

a. A partnership or mutual insurance association, or

b. Any joint liability.

We may sue or be sued in our own name, as though we were an individual,                                    if necessary to enforce any claims which arise

under this policy. In any suit against us, service of process shall be under the Underwriters Association                                            attorney-in-fact.

Membership              fees which you pay are not part of the premium. They are fully earned when you are granted membership

and coverage is effective.             They are not returnable. However, they may be applied as a credit to membership                                     fees required

you for other insurance which we agree to write.


We hold the Annual Meeting                       of the members       of the Truck Insurance            Exchange        at our Home         Office    at Los Angeles,

California, on the first Tuesday following the first Monday following the 15th day of March of each year at 1:00 p.m. If

this policy is issued            by the Farmers         Insurance    Exchange       such      meeting   is held at the same         place    on the first Monday

following the 15th of March of each year at 2:00 P.M. The Board of Governors may elect to change the time and place of

the meeting. If they do so, you will be mailed                        a written or printed        notice at your last known address at least ten days

before such a time. Otherwise, no notice will be sent to you.

The Board of              Governors      shall   be   chosen    by subscribers         from   among     yourselves.      This will take       place    at the     Annual

Meeting or at any special                meeting       which is held for that purpose.            The Board of Governors shall have full power and

authority        to     establish    such   rules     and   regulations    for   our    management       as    are    not    inconsistent    with    the    subscribers'

agreements.

Your premium for this policy and all payment made for its continuance shall be payable to us at our Home Office or such

location named by us in your premium                         notice. The funds which you pay shall be placed to your credit on our records.

They will be applied                to the payment of your proportion of losses and expenses and to the establishment                                 of reserves and

general surplus. The Board of Governors or its Executive                            Committee      has the authority to deposit, withdraw, invest and

reinvest      such funds. You agree              that any amount          which    the Board of Governors              allocates   to our surplus fund may be

retained by us. Also, after provision is made for all of our liabilities, it may be applied to any purpose deemed proper and

advantageous to you and other policyholders.

This policy is nonassessable.

                                                                       SPECIAL PROVISIONS
(Applicable only if this policy is issued by Mid-Century Insurance Company.)

Policy fees which you pay are not part of the premium.                             They are fully earned when the policy is issued. They are not

returnable. However, they may be applied as a credit to policy fees required of you for other insurance which we agree to

write.

This policy shall not be effective unless countersigned                      on the Declarations page by a duly authorized representative of the

Company named on the Declarations Page.

The Company named on the Declarations has caused this policy to be signed by the officers shown below.

FARMERS INSURANCE EXCHANGE                                      MID-CENTURY INSURANCE COMPANY                               TRUCK INSURANCE EXCHANGE

By Farmers Underwriters Association,                                                                                        By Truck Underwriters Association,

Attorney-in-Fact                                                                                                            Attorney-in-Fact




                                            Secretary                                                                President

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